Case 1:24-cv-00496-JAO-WRP   Document 35-3   Filed 12/23/24   Page 1 of 174
                              PageID.401




      EXHIBIT 2
Case 1:24-cv-00496-JAO-WRP    Document 35-3   Filed 12/23/24   Page 2 of 174
                               PageID.402


                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

ELIJAH PINALES, et al.,                :   Civil No. 24-00496 JAO-WRP
                                       :
     Plaintiffs,                       :
                                       :   DECLARATION OF
            v.                         :   ROBERT J. SPITZER
                                       :
ANNE E. LOPEZ, IN HER OFFICIAL         :
CAPACITY AS THE ATTORNEY               :
GENERAL OF THE STATE OF                :
HAWAI‘I,                               :
                                       :
     Defendant.                        :
                                       :
                                       :


                   DECLARATION OF ROBERT J. SPITZER
 Case 1:24-cv-00496-JAO-WRP          Document 35-3     Filed 12/23/24    Page 3 of 174
                                      PageID.403


                    DECLARATION OF ROBERT J. SPITZER

        I, Robert J. Spitzer, the undersigned, declare as follows:

   1. I have been asked to render an opinion on the history of, and concerns related

to, firearms restrictions pertaining to those under the age of 21.

   2. This declaration is based on my own personal knowledge, research, and

experience, and if I am called to testify as a witness, I could and would testify

competently to the truth of the matters discussed in this Declaration.

   3. I have been retained by the Hawaii Department of the Attorney General to

render expert opinions in this case. I am being compensated at a rate of $500 per

hour.

                    BACKGROUND AND QUALIFICATIONS

   4. I am a Distinguished Service Professor of Political Science Emeritus at the

State University of New York at Cortland. I was also a visiting professor at

Cornell University for thirty years. I am currently an Adjunct Professor at the

College of William and Mary School of Law. I earned my Ph.D. in Government

from Cornell University. I reside in Williamsburg, Virginia. A copy of my

curriculum vitae is attached to this Declaration.

   5. I am the author of 16 books on American politics subjects, including six on

gun policy. I have been studying and writing about gun policy for forty years. My




                                           1
    Case 1:24-cv-00496-JAO-WRP      Document 35-3     Filed 12/23/24   Page 4 of 174
                                     PageID.404


first publication on the subject appeared in 1985.1 Since then, I have published six

books and over one hundred articles, papers, and essays on gun policy. My

expertise includes the history of gun laws, gun policy in American politics, and

related historical, legal, political, and criminological issues. My book, The Politics

of Gun Control, has been in print since its initial publication in 1995. It examines

firearms policy in the United States through the lenses of history, law, politics,

policy, and criminology. The ninth edition of the book was published last fall by

Routledge Publishers (2024). My two most recent books on gun policy, Guns

across America (Oxford University Press, 2015, 2017) and The Gun Dilemma

(Oxford University Press, 2023), both deal extensively with the study of historical

gun laws. I have been reading, studying, and writing about historic gun laws for

over ten years. I am frequently interviewed and quoted in the national and

international media on gun-related matters. For nearly thirty years, I have been a

member of both the National Rifle Association and of Brady United Against Gun

Violence (formerly, the Brady Campaign to Prevent Gun Violence).

     6. I have served as an expert witness in numerous cases in federal and state

court related to firearms regulation.




1
    Robert J. Spitzer, Shooting Down Gun Myths, America (June 8, 1985), 468–69.

                                           2
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 5 of 174
                                    PageID.405


   7. I have co-authored amicus briefs in numerous cases, including Nordyke v.

King, U.S. Court of Appeals, Ninth Circuit, 319 F.3d 1185 (2003); Republic of Iraq

v. Beaty, U.S. Supreme Court, 556 U.S. 848 (2009); McDonald v. Chicago, U.S.

Supreme Court, 561 U.S. 742 (2010); Ezell v. Chicago, U.S. Court of Appeals for

the Seventh Circuit, 651 F.3d 684 (2011); and People of the State of Illinois v.

Aguilar, Illinois Supreme Court, No. 08 CR 12069 (2012).

   8. I have also presented written testimony to the U.S. Congress on “The Second

Amendment: A Source of Individual Rights?” submitted to the Judiciary

Committee, Subcommittee on the Constitution, Federalism, and Property Rights,

U.S. Senate, Washington, D.C., September 23, 1998; “Perspectives on the ‘Stand

Your Ground’ Movement,” submitted to the Judiciary Committee, Subcommittee

on the Constitution, Civil Rights and Human Rights, U.S. Senate, Washington,

D.C., October 29, 2013; and “The Hearing Protection Act to Deregulate Gun

Silencers,” submitted to the Committee on Natural Resources, Subcommittee on

Federal Lands, the U.S. House of Representatives, Hearings on the Sportsmen’s

Heritage and Recreational Enhancement Act (SHARE Act), Washington, D.C.,

September 12, 2017.




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    Case 1:24-cv-00496-JAO-WRP      Document 35-3     Filed 12/23/24   Page 6 of 174
                                     PageID.406


                                      OPINIONS

     I.    INTRODUCTION

     9. In this Declaration I examine the historical record pertaining to how the age

of majority was defined in our past and how that pertains to the history of laws that

restricted minors’ access to firearms and other weapons. This examination supports

the conclusion that the broadly accepted age of majority during the eighteenth and

nineteenth centuries, including but not limited to restrictions on access to weapons,

was 21. In addition, it points out errors in the Plaintiffs’ Memorandum in Support

of Motion for Preliminary Injunction in this case. Specifically, the Memorandum

asserts that “There is no historical tradition of prohibiting the purchase and

ownership of firearms and ammunition by adults under 21.”2 As this account will

show, that claim is incorrect.

     10. Further, the Plaintiffs’ Memorandum relies heavily on the fact that 18 to 20

year olds were subject to militia/military service during the Founding era to argue

that persons of that age had gun rights equivalent to those of adults 21 and over.

Yet this argument fails on two grounds: first, militia/military service was and is a

legal obligation, not a right. The two were and are entirely different things under

the law. Second, a detailed examination of old militia laws from the 1790s



2
 Mem. in Support of Mot. for Prelim. Inj., ECF 2-1 at 2 (“Plaintiffs’
Memorandum” or “the Memorandum”).
                                           4
    Case 1:24-cv-00496-JAO-WRP     Document 35-3     Filed 12/23/24   Page 7 of 174
                                    PageID.407


demonstrates that 18 to 20 year olds subject to militia service were treated as

minors under state laws, not as adults age 21 and older. Thus, even that evidence

demonstrates the “minor” status of those in the militia under 21. Finally, this

account examines old college and university codes of conduct, which further

support the fact that those under 21 were treated as minors.

     II.   MINORS, GUNS, AND CRIME

     11. Considerable contemporary data and analysis supports and confirms the

understanding that young people are more likely to be perpetrators of violent

crime.3 As one recent study has noted: “One of the most robust relationships in

criminology is between age and crime: criminal offending increases in

adolescence, peaks in the late teens or early 20s, and then continually decreases.

This relationship is the foundation for the well-known ‘age-crime curve,’ which

underlies predictions and risk assessments about future offending.”4 The non-profit

fact-checking organization Politifact reported that “experts agreed that general




3
 Charles Puzzanchera, “Trends in Youth Arrests for Violent Crimes,” U.S.
Department of Justice, Juvenile Justice Statistics, August 2022,
https://ojjdp.ojp.gov/publications/trends-in-youth-arrests.pdf.
4
 Magnus Lofstrom, et al., “Are Younger Generations Committing Less Crime?”
Public Policy Institute of California, September 2023,
https://www.ppic.org/publication/are-younger-generations-committing-less-crime/.
See also “The Age-Crime Curve,” Pinkerton.com, July 12, 2022,
https://pinkerton.com/our-insights/blog/age-crime-curve
                                          5
    Case 1:24-cv-00496-JAO-WRP     Document 35-3    Filed 12/23/24   Page 8 of 174
                                    PageID.408


trends from state and FBI data show people ages 18 to 20. . . are likelier to commit

deadly shootings than other age groups.”5

     12. For example, while those between the ages of 18 and 20 comprise less than

4 percent of the population, they are responsible for more than 15 percent of

manslaughter arrests and homicides.6 A U.S. Department of Justice study spanning

the period from 1980 to 2008 reported that those between the ages of 18 and 24

consistently had the highest rate of homicide.7 In 2019, according to FBI data, the

age that committed the largest number of homicides that year was 19, followed by

those age 18.8 According to the gun safety organization Everytown, “Data show

that 18- to 20-year-olds commit gun homicides at triple the rate of adults 21 and


5
 Samantha Putterman, “Ask PolitiFact: What does the data show on deadly
shootings by 18-to-20-year-olds?” Politifact, February 6, 2024,
https://www.politifact.com/article/2024/feb/06/ask-politifact-what-does-the-data-
show-on-deadly-s/
6
  “Crime in the U.S. 2019,” U.S. Department of Justice, Federal Bureau of
Investigation, https://ucr.fbi.gov/crime-in-the-u.s/2019/crime-in-the-u.s.-
2019/topic-pages/tables/table-
38#:~:text=Arrests%2C%20by%20Age%2C%202019%20In%202019%2C%2093.
0%20percent,88.9%20percent%20of%20per-
sons%20arrested%20for%20property%20crimes “Age and Sex Composition in the
United States: 2021,” U.S. Census Bureau,
https://www.census.gov/data/tables/2021/demo/age-and-sex/2021-age-sex-
composition.html
7
  Alexia Cooper and Erica L. Smith, “Homicide Trends in the United States, 1980-
2008,” Bureau of Justice Statistics, U.S. Department of Justice, November 2011, 4,
https://bjs.ojp.gov/content/pub/pdf/htus8008.pdf
8
 FBI, Crime in the United States, 2019, Table 38, https://ucr.fbi.gov/crime-in-the-
u.s/2019/crime-in-the-u.s.-2019/topic-pages/tables/table-38
                                         6
    Case 1:24-cv-00496-JAO-WRP      Document 35-3    Filed 12/23/24    Page 9 of 174
                                     PageID.409


older.”9 Beyond that, it is well understood that society has traditionally assumed a

greater obligation to protect and guide its young. As the account below

demonstrates, that concern has been reflected in American law for centuries.

     III.   HISTORICAL RESTRICTIONS ON MINORS’ ACCESS TO
            WEAPONS

     13. From the colonial era in America through the adoption of the Constitution,

through the nineteenth century and even up until 1971—when the voting age was

changed from 21 to 18 with the 26th Amendment—the generally recognized age of

majority was 21. As legal scholar Vivian Hamilton notes in her study of the

definition of adulthood in the United States, “[t]he immediate historical origins of

the U.S. age of majority lie in the English common law tradition. The American

colonies, then the United States, adopted age twenty-one as the near universal age

of majority. The U.S. age of majority remained unchanged from the country’s

founding well into the twentieth century.”10 Two authoritative state legal manuals

from the 1790s reinforce this point. A legal guide for Connecticut from 1795 by

the noted jurist and legal scholar Zephaniah Swift, A System of the Laws of the

State of Connecticut, stated flatly that “The Period when children arrive to full age,


9
 “How Can We Prevent Gun Violence in American Schools?” Everytown for Gun
Safety, June 6, 2023, https://everytownresearch.org/report/how-can-we-prevent-
gun-violence-in-schools/
10
  Vivian E. Hamilton, “Adulthood in Law and Culture,” Tulane Law Review
91(November 2016): 64.
                                          7
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 10 of 174
                                     PageID.410


are capable of acting for themselves, and are liberated from the government of

their parents, is at the age of twenty-one years, being the same, both males and

females.”11 According to the similarly influential jurist and legal scholar William

Waller Hening in his legal manual for Virginia from 1795, The New Virginia

Justice, the definition of adulthood was the following: “By infant, or minor, is

meant any one who is under the age of 21 years.”12

     14. Similarly, Black’s Law Dictionary notes that “infancy” (the traditional term

“infants” applied to what are now labeled minors) is defined as “the state of a

person who is under the age of legal majority,—at common law, twenty-one years.




11
  Zephaniah Swift, A System of the Laws of the State of Connecticut, 2 vols.
(Windham: John Byrne, 1795), II, 206. Swift also wrote in the same work:
“Persons within the age of twenty-one, are, in the language of the law denominated
infants, but in common speech, minors.” II, 213. Swift was a lawyer, jurist,
Connecticut state legislator, member of Congress, and among other
accomplishments he compiled the first authorized edition of the Laws of the
United States of America. He was called “the pioneer in the development of an
American common law distinct from England.” “Zephaniah Swift's First Legal
Texts in America,” State of Connecticut Judicial Branch, Law Library Services,
https://www.jud.ct.gov/lawlib/history/swift.htm
12
  William Waller Hening, The New Virginia Justice (Richmond, VA: 1795), 258.
Hening was “a Virginia lawyer, legal editor, and representative to the Virginia
House of Delegates” who “steadily contributed to legal literature as an author or
editor.” His New Virginia Justice “was a handbook for magistrates that
incorporated Virginia laws since the Revolution.” “The New Virginia Justice,
Comprising the Office and Authority of a Justice of The Peace, in the
Commonwealth of Virginia,” W&M Law Library,
https://lawlibrary.wm.edu/wythepedia/index.php/New_Virginia_Justice
                                           8
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 11 of 174
                                     PageID.411


. . .”13 As the constitutional scholar James Kent noted in 1854 in his classic

Commentaries, “The necessity of guardians results from the inability of infants to

take care of themselves; and this inability continues, in contemplation of law, until

the infant has attained the age of twenty-one years. The age of twenty-one is the

period of majority for both sexes . . . .The age of twenty-one is probably the period

of absolute majority throughout the United States. . . .”14 And as the noted legal

historian Holly Brewer explains in her award-winning book, By Birth or Consent:

Children, Law, and the Anglo-American Revolution in Authority, the universally

understood age of adulthood at this time was 21,15 a fact reflected in legal guides

and laws of the 1790s, including those of Swift and Hening.16 For example, those

under 21 could not enter into contracts with narrow exceptions.17 Writing in the



13
  Henry C. Black, Black’s Law Dictionary, 6th ed. (St. Paul, MN: West Publishing
Co., 1991; first pub. 1890), 536. Merriam Webster’s Dictionary of Law defines
“infant” as “a person who is not of the age of majority.” (Springfield, MA:
Merriam-Webster, 1996), 243.
14
 James Kent, Commentaries on American Law, 4 vols., 8th ed. (NY: William
Kent, 1854), II, 248.
15
  Holly Brewer, By Birth or Consent: Children, Law, and the Anglo-American
Revolution in Authority (Chapel Hill, NC: University of North Carolina Press,
2005), 132 and passim. Brewer is the Burke Chair of American Cultural and
Intellectual History and Associate Professor at the University of Maryland.
16
     See ¶ 12.
17
  Brewer, By Birth or Consent, Ch. 7. See also Megan Walsh and Saul Cornell,
“Age Restrictions and the Right to Keep and Bear Arms, 1791-1868,” Minnesota
Law Review 108(2024): 3049-3120.
                                          9
 Case 1:24-cv-00496-JAO-WRP        Document 35-3      Filed 12/23/24   Page 12 of 174
                                     PageID.412


late nineteenth century in his book on infants (minors) and the law, the respected

legal commentator Lewis Hochheimer noted that “Full age, at common law, is

twenty-one years. . . . A person below that age is, in legal designation, an infant or

minor.”18 He further observed: the “exercise of the power and duty of the

government to secure to infants its protection and care” extended to “[s]pecific

regulations and prohibitions, designed for the protection of their [infants’] morals

and health and the security of their persons, such as those relating to the sale of

liquors or dangerous weapons. . . .”19

     15. Concerns over the prospect of minors obtaining ready access to firearms

were often expressed in the nineteenth century, especially in the latter half of that

century.20 Voicing a typical sentiment of the time, the Supreme Court of Tennessee

said this in an 1878 decision: “we regard the acts to prevent the sale, gift, or loan of

a pistol or other like dangerous weapon to a minor, not only constitutional as




18
   Lewis Hochheimer, The Law Relating to the Custody of Infants, 3rd ed.
(Baltimore: Harold B. Scrimger, 1899), 1.
19
   Hochheimer, The Law Relating to the Custody of Infants, 3-4.
20
  Patrick J. Charles, Armed in America (Amherst, NY: Prometheus Books, 2018),
156, 404-5.
                                          10
 Case 1:24-cv-00496-JAO-WRP         Document 35-3     Filed 12/23/24    Page 13 of 174
                                      PageID.413


tending to prevent crime, but wise and salutary in all its provisions.”21 At the time,

the legal age for purchasing or owning a firearm in Tennessee was 21.22

     16. This survey of old weapons laws in America as they relate to minors (i.e.,

those who have not reached the age of majority) reveals that they were numerous

and prolific, dating from the 1700s through the early 1900s. As Exhibits B and C

show, at least 46 states enacted laws to keep guns and other dangerous weapons

(usually including fighting knives, types of clubs, and various explosives,

sometimes including ammunition) out of the hands of minors, though the age limits

set in these laws sometimes varied according to specifics discussed below.

     17. Notably, some of the laws to be discussed are municipal laws. These are no

less significant than state laws for three reasons: first, social and public safety

problems arising from weapons typically appeared first in places where large

numbers of people congregated and lived—i.e., cities and towns. These problems

multiplied in the nineteenth century as the U.S. transitioned from an

overwhelmingly rural nation to a majority urban one. Second, given that

municipalities are legal creatures of state governments, localities’ ability to enact

these or other laws presumes that they did so as allowable public policy under state


21
  State v. Callicutt, 69 Tenn. 714, 716-17 (1878),
https://cite.case.law/tenn/69/714/.
22
  NRA v. Bondi, 61 F.4th 1317, 1326 (11th Cir. 2023) citing Warwick v. Cooper, 37
Tenn. 659, 660 (Tenn. 1858).
                                           11
 Case 1:24-cv-00496-JAO-WRP       Document 35-3      Filed 12/23/24   Page 14 of 174
                                    PageID.414


law. Third, the initial enactment and spread of municipal regulations often led to

subsequent enactment of similar state-wide regulations.

   18. The contents of these laws pertaining to minors and weapons establish three

important principles: (i) that the laws went to great lengths to keep guns (mostly

handguns, but sometimes any guns) and other weapons out of the hands of minors;

(ii) that the definition of who constituted a minor varied some during this time and

according to the specific type of weapons restriction, but that the age of maturity

for these weapons laws was most commonly set at 21; and (iii) that the category of

minors was a class not entitled to anything like gun rights.

   19. Moreover, while the specific regulatory mechanisms across the states varied

some, they generally encompassed provisions to criminalize the act of transmitting

guns (whether through sale, gift, trade, or the like) and usually other weapons

(primarily fighting knives and clubs) to minors whether by private individuals or

commercial dealers. Some of the laws stipulated that those under the given age

could have weapons in their possession with parental consent or supervision. Some

of the provisions also extended to barring minor possession or ignition of

gunpowder, firework-type explosives, including percussion caps, and the like. The

inferior legal status of minors is punctuated by the fact that some of these laws also

included other categories of people who were viewed as not entitled to full rights,

including African Americans (enslaved and free before the Civil War), servants,

                                         12
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24    Page 15 of 174
                                     PageID.415


those of “unsound mind,” those who were intoxicated, convicts, and drug addicts.

Some of these restrictions—most notably, those applying to African Americans—

are abhorrent in the modern context, but it would be a mistake to ignore them.

Rather, the fact that minors were often included in a similar prohibited category of

person underscores the fact that minors were treated in the same category as others

with more limited legal rights.

     20. At least 12 laws were enacted in seven states pertaining to minors and

weapons before 1861.23 The earliest law, enacted in New York City in 1763, said

that “if any Children, Youth, apprentices, Servants, or other persons, do fire and

discharge any gun, pistol, leaden-gun, rockets, crackers, squibs, or other fire

works, at any mark, or at random against any fence, pales or other place in any

street, lane or alley, or within any orchard, garden or other inclosure, or in any

place where persons frequent to walk, such person so offending shall forfeit for

every such offense, the sum of forty shillings. . . .”24 In 1803, New York City



23
   In my 2017 article, I noted that only two states had enacted laws pertaining to
minors and weapons up to 1867. That finding was based on research conducted
before 2017. Since that time, more minor laws have come to light, and are reported
here. Robert J. Spitzer, Gun Law History in the United States and Second
Amendment Rights, 80 LAW & CONTEMP. PROB. 55, 59-60 (2017).
24
   Laws, Statutes, Ordinances and Constitutions, Ordained, Made and Established,
by the Mayor, Aldermen, and Commonalty, of the City of New York, Convened in
Common-Council, for the Good Rule and Government of the Inhabitants and
Residents of the Said City Page 11, Image 12 (1763) available at The Making of
Modern Law: Primary Sources. 1763. Ordinances of the City of New York, § VI.
                                          13
 Case 1:24-cv-00496-JAO-WRP         Document 35-3    Filed 12/23/24   Page 16 of 174
                                      PageID.416


enacted a provision to hold parents accountable for any unlawful firearm discharge

by a minor.25 The city also enacted a similar measure in 1859.26

     21. Other early laws and ordinances pertaining to minors and weapons were

enacted in Delaware (1812), South Carolina (1817), Connecticut (1835), Kentucky

(1853, 1859, 1860), Alabama (1856), and Tennessee (1850, 1856, 1858). The

Delaware state law was enacted to prevent firearms firing “within the towns and

villages, and other public places” in the state, and extended its prohibition to any

“child or children” that broke the law, with the parents bearing the penalty for

violation.27 The South Carolina law prohibited the firing of firearms in Columbia,

noting that if such illegal firing were committed “by minors or other disorderly

persons, who have no ostensible property,” the guns in question could be seized. 28




See also A Law for the Better Preventing of Fire, no. 4, § 6, N.Y., LAWS,
STATUTES, ORDINANCES AND CONST. ETC. (1763 John Holt).
25
  Edward Livingston, Laws and Ordinances, Ordained and Established by the
Mayor, Aldermen, and Commonalty of the City of New-York, in Common-
Council Convened, for the Good Rule and Government of the Inhabitants and
Residents of Said City Page 83-84, Image 84-85 (1803) available at The Making of
Modern Law: Primary Sources. 1803. Ordinances of the City of New York, To
Prevent the Firing of guns in the City of New York, § 1.
26
  D. T. Valentine, Ordinances of the Mayor, Aldermen and Commonalty of the
City of New York: Revised A. D. 1859 Adopted by the Common Council Page
235, Image 243 (1859) available at The Making of Modern Law: Primary Sources.
27
     Act of Feb. 4, 1812, 195 Del. Laws 522 (1812), Sec. 2.
28
  Ordinances, of the Town of Columbia, (S. C.) Passed Since the Incorporation of
Said Town: To Which are Prefixed, the Acts of the General Assembly, for
                                      14
 Case 1:24-cv-00496-JAO-WRP       Document 35-3     Filed 12/23/24   Page 17 of 174
                                    PageID.417


The Connecticut law held parents liable for violations by “minors and apprentices”

for firing any gun or “crackers, or other fire works” within the city of New

London.29 The three Kentucky laws applied to two cities. The first penalized

selling gunpowder to those under fifteen without parental consent and also to “free

colored persons.”30 The second and third applied the prohibition to pistols, fighting

knives (including Bowie knives), certain clubs, “or other [concealed] deadly

weapon” to minors and also to any “slave, or free negro.”31 The Alabama law

imposed a fine on anyone who sold, gave or lent a pistol or fighting knife to a

minor.32 The 1850 Tennessee law pertaining to Nashville penalized any individual


Incorporating the Said Town, and Others in Relation Thereto Page 61-61, Image
61-62 (1823) available at The Making of Modern Law: Primary Sources. 1817.
29
 The By-Laws of the City of New London, with the Statute Laws of the State of
Connecticut Relative to Said City Page 47-48, Image 47-48 (1855) available at The
Making of Modern Law: Primary Sources. 1835. Chapter 26.
30
  Oliver H. Strattan, City Clerk A Collection of the State and Municipal Laws, in
Force, and Applicable to the City of Louisville, Ky. Prepared and Digested, under
an Order from the General Council of Said City by Oliver H. Strattan and John M.
Vaughan, City Clerks, which Includes the State Constitution and City Charter, with
Notes of Reference Page 175, Image 176 (1857) available at The Making of
Modern Law: Primary Sources. 1853. As discussed below, minors were often
grouped together with African Americans in laws that limited their ability to obtain
or possess weapons. Though racist and abhorrent, these laws show that historically
minors are treated differently than persons afforded full rights under the law.
31
  1859 Ky. Acts 245, An Act to Amend an Act Entitled “An Act to Reduce to One
of the Several Acts in Relation to the Town of Harrodsburg,” § 23; 1860 Ky. Acts
245, AN ACT to amend an act, entitled “An act to reduce into one the several acts
in relation to the town of Harrodsburg, Ch. 33, § 23.
32
     1856 Ala. Acts 17, To Amend the Criminal Law, §1.
                                         15
 Case 1:24-cv-00496-JAO-WRP         Document 35-3     Filed 12/23/24    Page 18 of 174
                                      PageID.418


who would give to minors “any squib, rocket, cracker, powder, or other

combustible fire-works. . . .”33 Two other Tennessee state laws penalized anyone

who gave to minors any pistol, fighting knife or “like dangerous weapon.”34 The

early laws applying to cities and towns both reflected and presaged the effort to

keep dangerous weapons out of the hands of minors in populated areas. The whole

point of these laws is that they singled out minors as persons who were not entitled

to engage in the activities that would otherwise be legal for adults.

     22. During and following the Civil War, restrictions on minors’ possession and

use of weapons proliferated. For example, an 1875 Indiana law made it

        unlawful for any person to sell, barter, or give to any other person, under the
        age of twenty-one years, any pistol, dirk, or bowie-knife, slung-shot, knucks,
        or other deadly weapon that can be worn, or carried, concealed upon or
        about the person, or to sell, barter, or give to any person, under the age of
        twenty-one years, any cartridges manufactured and designed for use in a
        pistol.35


33
  John M. Lea, The Revised Laws of the City of Nashville, with the Various Acts
of Incorporation and Laws Applicable to the Town and City of Nashville, and a
List of the Different Boards of Mayor and Aldermen, and Other Officers of Said
City from the Year 1806 to 1850, Inclusive Page 68, Image 69 (1850) available at
The Making of Modern Law: Primary Sources.
34
  Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of
Tennessee, of a General and Permanent Nature, Compiled on the Basis of the Code
of Tennessee, With Notes and References, Including Acts of Session of 1870-71
Page 125, Image 794 (Vol. 2, 1873) available at The Making of Modern Law:
Primary Sources. 1856. The law excepted guns for hunting or while traveling.
35
  Edwin Augustine Davis, LL.B., The Statutes of the State of Indiana: Containing
the Revised Statutes of 1852, with the Amendments Thereto, and the Subsequent
Legislation, 246with Notes and References to Judicial Decisions. Second Edition
                                        16
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 19 of 174
                                     PageID.419



Thus, the law criminalized any effort to put any of the named weapons into the

hands of those under 21. Similarly, an 1876 Georgia law applying to those under

21 simply said that “it shall not be lawful for any person or persons knowingly to

sell, give, lend or furnish any minor or minors any pistol, dirk, bowie knife or

sword cane.”36 The law listed no exceptions.

   23. From 1861 to 1880, 12 states enacted 15 laws pertaining to minors and

weapons. From 1881 to 1900, 31 states and the District of Columbia enacted 49

such laws. From 1855 to 1900, at least 19 states and the District of Columbia also

adopted laws that set 21 as the age of maturity.37 From 1901 to 1933, 24 states

enacted 35 laws pertaining to minors and weapons (some states enacted multiple

laws across these time periods).

   24. In terms of age limits (see Table 1 below), while they ranged from a low of

12 to a high of 21, it is clear that 21 was by far the most commonly set age of

majority. Of the 107 laws counted in Table 1 that set a numerical age limit (not

including the 15 laws that did not give a numerical age in the laws’ text or for




Vol. 2 Page 482, Image 493 (1877) available at The Making of Modern Law:
Primary Sources. 1875.
36
   1876 Ga. Laws 112.
37
   Two Kentucky localities enacted two laws in 1859 and 1860 setting 21 as the
relevant age limit, as ruled in a Kentucky court, cited in NRA v. Bondi 61 F.4th
1317, App. 1, 11 (11th Cir. 2023).
                                         17
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 20 of 174
                                     PageID.420


which no known case law provided for one), 46 of them (43%) set the age of

majority at 21 (and in one case 20). When these laws concerning 21-year-olds are

broken down by decades, 4 of them (9%) came before 1861; 18% of them were

enacted from 1861-1880; 49% of them were enacted in the period from 1881-1900;

and 24% during the period from 1901 to 1933.

     25. The next most common age was 16 (21%), followed by age 18 (13%). The

lower age limits tended to have other qualifiers, like the age at which children

could have a gun or go hunting but only when subject to parental supervision.

Listed below are the respective ages of majority that appear in those laws for

which the age was stated or could be discerned.38 Given that American law

regarding the generalized legal status of children was in flux in the nineteenth

century (see below), as were the circumstances giving rise to laws regulating guns

and minors, there is in fact a surprising degree of agreement about the ages

pertaining to weapons as described here. This is especially notable given that

during this time the nation transitioned from an overwhelmingly rural nation

(where children working on a farm, for example, was an accepted practice) to an

industrial nation by the end of the nineteenth century, when children working in




38
  Note that a few laws list multiple ages for different types of restrictions within
the same law.
                                          18
 Case 1:24-cv-00496-JAO-WRP          Document 35-3    Filed 12/23/24   Page 21 of 174
                                       PageID.421


factories and mines, for example, dramatically increased but the notion was also

increasingly abhorrent to society.

                         TABLE 1
     WEAPONS LAWS RESTRICTIONS FOR MINORS BY AGE LIMIT*

 AGE           21    20     18     17     16     15   14    13   12    Unknown
 NUMBER 45           1      14     1      23     11   7     1    4     15
 OF
 LAWS
*Source: Exhibits B and C. Laws that did not designate a numerical age in their
text or that could not be ascertained are in the column “Unknown.”


     26. As noted, the age set also varied depending on the nature of the restriction

(higher age limits on the age for carrying concealable weapons, for example, or

lower age limits for those allowed to hunt or have dangerous but less lethal “toy

guns”39). For example, an 1867 Tennessee law punished anyone “who sells, loans

or gives to any minor a pistol, bowie-knife, dirk, Arkansas toothpick, hunter’s

knife, or like dangerous weapon” to anyone under 21, but made exceptions for “a

gun for hunting or weapon for defense in traveling. . . .”40




39
  Catie Carberry, “The Origin of Toy Guns in America,” Duke Center for
Firearms Law, July 18, 2019, https://firearmslaw.duke.edu/2019/07/the-origin-of-
toy-guns-in-america/
40
  William H. Bridges, Digest of the Charters and Ordinances of the City of
Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
Relating to the City, with an Appendix Page 50, Image 50 (1867) available at The
Making of Modern Law: Primary Sources. 1867.
                                        19
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 22 of 174
                                     PageID.422


     27. What was not in flux, however, was the principle that minors, however

defined, were not eligible to exercise anything like adult rights, including any right

to possess a gun or other dangerous weapon or substance (absent in loco parentis)

in the nineteenth century.41

     28. The rise of weapons laws pertaining to minors in the course of the

nineteenth century is most readily explainable by understanding the profound

changes in American state and society during this time-period. At the start of the

nineteenth century, over 90% of the population in the U.S. was engaged in

agriculture.42 The typical Americans lived and worked on subsistence family

farms. Under those circumstances, children mostly lived at home, under the care of

their parents, and participated in farm work from an early age. Children had no

access to what we would now call “disposable income,” much less anything

resembling a “right” to obtain firearms on their own. Indeed, at the start of the



41
   For example, an 1859 Kentucky state law for the town of Harrodsburg made it
illegal to “sell, give, or loan, any pistol, dirk, bowie-knife, brass-knucks, slung-
shot, colt, cane-gun, or other deadly weapon, which is carried concealed, to any
minor” except for the minor’s parent or guardian. 1859/1860 Ky. Acts 245. An
1883 Missouri law made it a crime to make available to any minor any of the
weapons listed in the law if done “without the consent of the parent or guardian of
such minor. . . .” 1883 Mo. Laws 76.
42
   Statistical Reporting Service, “The Story of U.S. Agricultural Estimates,” U.S.
Department of Agriculture (Washington, D.C.: GPO, April 1969), 1,
https://www.nass.usda.gov/About_NASS/pdf/The%20Story%20of%20U.S.%20Ag
ricultural%20Estimates.pdf
                                          20
 Case 1:24-cv-00496-JAO-WRP         Document 35-3     Filed 12/23/24   Page 23 of 174
                                      PageID.423


1800s the economy was “based primarily on small-scale farming and local

commerce. . . .”43 By the end of the 1800s, however, the nation had “matured into a

far-flung capitalist marketplace entwined with world markets” that “generated

changes in every other area of American life, from politics to the legal system,

from the family to social values. . . .”44 The once primarily rural society “became

[by the end of the 1800s] a highly structured, increasingly centralized, urban-

industrial society buffeted by the imperatives of mass production, mass

consumption, and time-clock efficiency.”45 With the rise of urbanization and

industrialization that characterized the industrial revolution came a concomitant

rise in, and ruthless exploitation of, child labor outside of the home, especially in

industrial and manufacturing sectors that ultimately led to the proliferation of child

labor laws, minimum wage laws, and compulsory education requirements, among

many other changes.46 Urbanization also led to “an increased number of youth on




43
  George Brown Tindall and David E. Shi, America: A Narrative History 6th ed., 2
vols. (NY: W.W. Norton, 2004), I, 444.
44
     Tindall and Shi, America, I, 444-45.
45
     Tindall and Shi, America, II, 802.
46
   Tindall and Shi, America, II, 822-24, 974-76. See also Michael Schuman,
“History of child labor in the United States,” Monthly Labor Review, U.S. Bureau
of Labor Statistics, January 2017,
https://www.bls.gov/opub/mlr/2017/article/history-of-child-labor-in-the-united-
states-part-1.htm
                                            21
 Case 1:24-cv-00496-JAO-WRP          Document 35-3      Filed 12/23/24   Page 24 of 174
                                       PageID.424


the streets” who in turn “became involved in juvenile crime.”47 Stated differently,

“[r]apid urbanization disrupted families, resulting in overcrowding and an increase

in crime, including crimes committed by children.”48

     29. In light of this history, it is little wonder that relatively few weapons laws

concerning minors existed in the eighteenth and early nineteenth centuries, since

minors mostly lived with their parents in circumstances where minors did not

possess the means, ability, inclination, or right to obtain firearms on their own

(aside from any parents or guardians who might make weapons available to

them).49 When massive societal changes altered these circumstances, it is no

surprise that weapons laws regarding minors proliferated, especially in the latter

half of the nineteenth century. The fewer number of restrictions earlier, in the

eighteenth century, was not based on a different public understanding of legal

rights for minors in the eighteenth century as compared with the nineteenth century

(as noted earlier, the accepted age of majority from the eighteenth well into the




47
  Lyle Therese A. Hilotin-Lee, “History of the Juvenile Justice System,” FindLaw,
August 28, 2023, https://www.findlaw.com/criminal/juvenile-justice/development-
of-the-juvenile-justice-system.html
48
  Michele Deitch, “Ch. 1 Historical Perspective,” National Institute of Corrections,
https://info.nicic.gov/dtg/node/9
49
  See Section IV of this Declaration for a discussion of the terms under which
such weapons were provided.
                                            22
 Case 1:24-cv-00496-JAO-WRP         Document 35-3    Filed 12/23/24   Page 25 of 174
                                      PageID.425


twentieth centuries was 21).50 Rather, the rise in laws restricting minors’ access to

weapons arose because of the proliferation of mass produced, cheaper firearms,

which spread to minors in rapidly growing urban areas in the latter part of the

nineteenth century and contributed to rising juvenile crime. This, in turn, resulted

in an array of legal enactments to address the problem, such as the spread of anti-

concealed carry weapons laws, among other enactments.51 As is true of other

firearms and weapons laws, these social problems led to the vast majority of states

adopting an array of laws to protect minors and society, including measures to

keep guns and other weapons from children in the course of the 1800s. As these

data and discussion make clear, states enacted laws to protect minors, including but

not limited to restricting their access to firearms and other dangerous weapons, and

to protect society from minors’ consequent misdeeds. That power was (and is)

extensively exercised.

     IV.    MINORS AND MILITIA SERVICE

     30. The age for militia service in the late 1700s and 1800s was typically defined

as beginning at age 18. For example, the Uniform Militia Act of 1792 enacted by



50
     Cornell, “‘Infants’ and Arms Bearing in the Era of the Second Amendment.”
51
  Spitzer, “Gun Law History in the United States and Second Amendment Rights,”
63-67; Lee Kennett and James LaVerne Anderson, The Gun in America (Westport,
CT: Greenwood Press, 1975), 133-86; Alexander DeConde, Gun Violence in
America (Boston: Northeastern University Press, 2001), 105-18.
                                          23
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 26 of 174
                                     PageID.426


the U.S. Congress defined militia service as applicable to those between the ages of

18 and 45, and it required militia eligible men to obtain, at their own expense, the

necessary military-grade weaponry and accoutrements.52 Plaintiffs’ Memorandum

places great weight on this fact in proposing that those under 21 therefore

possessed adult gun rights equivalent to those 21 and older: “during the Founding

Era individuals between the ages of 18 and 20 had firearm rights.”53 Yet this

assertion fails on two grounds: first, a legal obligation is profoundly different from

a right under law; second, even if one accepts the erroneous assertion that militia

service obligation is somehow relevant to a civilian right under law, an

examination of early militia laws demonstrates that militia members under 21 were

treated as minors, unlike militiamen 21 and older. In fact, arming obligations for

militia members under 21 belonged to their parents or guardians. Stated differently,

the notion that 18-to-20-year-olds could be compelled to enter military or militia

service does not equate to an adult civilian right to buy and own guns, as the many

laws from the 1800s restricting minors’ firearms rights examined above show.


52
  The Uniform Militia Act of 1792, 1 U.S. Stat. 271. In the colonial and
Revolutionary period, some colonies put the minimum age for militia service at
younger than 18.
53
  Plaintiffs’ Mem. at 18. Support for this assertion is based on a citation to David
B. Kopel and Joseph G.S. Greenlee, “The Second Amendment Rights of Young
People,” Southern Illinois University Law Journal, 43(2019), 495-613. This article
commits the same error as the Memorandum by assuming that the obligation of
militia service by those under 21 equaled civilian gun rights.
                                          24
 Case 1:24-cv-00496-JAO-WRP          Document 35-3      Filed 12/23/24    Page 27 of 174
                                       PageID.427


     31. Militia and military service were and are understood to be obligations or

duties, not rights.54 An obligation is, quite simply, something that one must do

under law, as in to submit to military service under circumstances of a military

draft, for example. An obligation is, in other words, “[t]hat which a person is

bound to do or forebear; any duty imposed by law. . . .”55 A right, on the other

hand, is something that one may do by one’s own judgment, or “powers of free

action.”56 One does not implicate the other. Even the portion of the 1792 Militia

Act that required militia-eligible men to keep and maintain “a good musket or

firelock” did so as one of the requirements attendant to military service but, as

described below, for the most part did not apply to minors.

     32. In addition, militia/military service is entirely different from civilian

activities, rights, and actions. Military service occurs through a rigorous, closely

supervised, and coordinated system of hierarchical rank, order, and discipline,

especially with respect to every aspect of firearms in a military context, even when

that involved the ill-trained, poorly disciplined, and haphazard American militias


54
  Saul Cornell, “‘Infants’ and Arms Bearing in the Era of the Second Amendment:
Making Sense of the Historical Record,” Yale Law and Policy Review (Fall 2021),
https://ylpr.yale.edu/inter_alia/infants-and-arms-bearing-era-second-amendment-
making-sense-historical-
record#:~:text=Professor%20Cornell's%20Remark%20offers%20a,into%20an%20
originalist%20legal%20framework
55
     Black, Black’s Law Dictionary, 740.
56
     Black, Black’s Law Dictionary, 919.
                                            25
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 28 of 174
                                     PageID.428


of the late eighteenth and nineteenth centuries.57 For example, Baron von

Steuben’s celebrated manual of drill instruction, prepared at the request of General

George Washington during the Revolutionary War, included detailed instructions

on the handling, use, and care of soldiers’ weaponry.58 Further, it is well

understood that members of the military were and are not necessarily entitled to the

same rights (such as free speech) as civilians.59

     33. Bearing this in mind, an examination of the militia implementation laws of

the 13 states further supports the idea that militia service by 18-20 year olds

conferred no adult right to obtain or own firearms. After passage of the Uniform

Militia Act of 1792 by Congress, each state enacted its own militia law in

conformity with the federal law, with the states including more specific and

detailed implementing provisions not addressed in the federal law. All of these

state militia laws included wording that provided some kind of special




57
  Robert J. Spitzer, The Politics of Gun Control, 9th ed. (NY: Routledge, 2024),
39-41, 46-48.
58
  Frederick William Baron von Steuben, Revolutionary War Drill Manual (NY:
Dover Publications 1985; first pub. in 1779 as Regulations for the Order and
Discipline of the Troops of the United States and approved by Congress), 6, 63-64,
87, 115-16, 143, 145. Von Steuben was inspector general of the Continental Army.
59
  Elizabeth Beaumont, “Rights of Military Personnel,” The First Amendment
Encyclopedia, 2009, https://www.mtsu.edu/first-amendment/article/1131/rights-of-
military-personnel. Members of the military are governed under the Uniform Code
of Military Justice.
                                          26
 Case 1:24-cv-00496-JAO-WRP      Document 35-3     Filed 12/23/24   Page 29 of 174
                                   PageID.429


consideration for militia members under the age of 21 that was consistent with

their status as minors.60


60
  Acts and Laws of the State of Connecticut, in America (Hartford: Hudson &
Goodwin, 1796),
298-299, 308; Laws of the State of Delaware (Newcastle, DE: Samuel and John
Adams, 1798), 1134, 1135; Robert and George Watkins, A Digest of the Laws of
the State of Georgia (Philadelphia: R. Aitkin, 1800), section XVI, pp. 461-62;
William Kilty, The Laws of Maryland (Annapolis: Frederick Green, 1800) 2:
chapter LIII, Sec. XIX,
https://babel.hathitrust.org/cgi/pt?id=njp.32101036883260&seq=460; The
Perpetual Laws of the Commonwealth of Massachusetts (Worcester, MA, Isaiah
Thomas, 1788), p 308; The Laws of the State of New Hampshire (Portsmouth: John
Melcher, 1797), 422; William Patterson, Laws of the State of New Jersey, Revised
and Published Under the Authority of the Legislature (New Brunswick, NJ,
Abraham Blauvelt, 1800), Sec. VI, 438-440; New York’s Militia Acts of 1793 and
1801. The relevant sections are at The Laws of the State of New York, Vol. III
(New York, Thomas Greenleaf, 1798), Sec. VI, 63-64, 66 (from the New York
Militia Act passed March 9, 1793); Laws of the State of New York (Albany:
Charles R. & George Webster, 1802), p. 517,
section 32, 36 (for 1801 law); James Iredell and Francois Xavier Martin, Public
Acts of the
General Assembly of North Carolina, Vol. II (New Bern: Martin & Ogden, 1804),
159, https://archive.org/details/publicactsofgene12nort/page/n669/mode/2up;
James T. Mitchell and Henry Flanders, The Statutes at Large of Pennsylvania from
1682 to 1801, Vol. 14
(Harrisburg, PA: Harrisburg Publishing Co. 1909), Sec. II, 456 (penalties for
failing to comply with the requirements in the militia law are described in Secs.
XV and XXIV of the law); Public Laws of the State of Rhode-Island and
Providence Plantations (Newport, RI: H & O Farnsworth, 1798), 437-39,
https://babel.hathitrust.org/cgi/pt?id=mdp.35112203944048&seq=443; Benjamin
Elliott and Martin Strobel, The Militia System of South Carolina being a Digest of
the Acts of Congress Concerning the Militia, Likewise of the Militia Laws of this
State (Charleston: A.E. Miller, 1835), 23, 81-82,
https://books.googleusercontent.com/books/content?req=AKW5QacEnOgS5u_kU
B3DpYkULtX3ZhjHjIvcTzVgHD5IkaeAM2qLpJAhtANRxsz07cUuIUvLBcpiZp
Q6qIc-kVphez_m4D0vKC_54p2W3qOUWCemlT9KsGPErdTsWIpF6nuL4O_-
pcnyQVvSo8ZvLzPX2_teqdQDeiWQxrOrihNrBzFIY7ZWmTK1nAAITYjGxbIK
                                          27
 Case 1:24-cv-00496-JAO-WRP         Document 35-3     Filed 12/23/24   Page 30 of 174
                                      PageID.430


   34. To break this down in more detail, of the thirteen original states, ten—

Connecticut, Delaware, Maryland, Massachusetts, New Hampshire, New Jersey,

New York, North Carolina, Pennsylvania, Rhode Island—had laws (mostly

enacted in the 1790s) that placed the burden for arming militiamen below the age

of 21 onto parents, masters (employers), other guardians, or local governments.

Vermont and Maine also enacted similar laws during this time.

   35. For example, in a section of Connecticut’s 1796 militia law describing the

financial penalties to be levied against “delinquents” who committed any

“breach”—i.e., soldiers who violated the terms of the militia law—the fines were

to be

        levied on the Goods or Chattels of the respective Delinquents, if upwards of
        twenty-one years of Age—And for the want of such Goods or Chattels
        against the Body of such Delinquent, and against the Goods and Chattels of
        the Parents, Master or Guardians, of such Delinquents as have not arrived at
        the Age of twenty-one Years. . . .61

   36. Delaware’s militia implementation law of 1793 included this special,

protected treatment for militiamen under 21:

        . . . all young men under the age of twenty-one years, and all servants
        purchased bona fide, and for a valuable consideration, though enrolled
        agreeable to the first section of this law, shall be exempted from furnishing


VU9kU4jluEuoJZD7OckHVM7lZqXK9W86S4lh0AIzxj1lcPX6RysNmwLRSMZ
UW7ttr3FU6DqoxhJB9FDhiZSxwiMzLyaCgw; William Waller Hening, The
Statutes at Large; Being a Collection of all the Laws of Virginia (Richmond:
George Cochran, 1823), 483.
61
   Acts and Laws of the State of Connecticut, in America, 308.
                                           28
 Case 1:24-cv-00496-JAO-WRP         Document 35-3     Filed 12/23/24   Page 31 of 174
                                      PageID.431


        the necessary arms, ammunition and accoutrements as are required by the
        fourth section thereof, and shall be exempted from militia duties and fines
        during such minority or servitude, except in cases of rebellion, or an actual
        or threatened invasion of this or any of the neighbouring states.62

     37. In instances where those under 21 came from families or circumstances

without the means to purchase or obtain the necessary weapons, some of the states

enacted laws saying that government monies could be used to purchase muskets,

though the firearms remained the property of the government that purchased them.

For example, in the Rhode Island militia law of 1798, after describing how penalty

fees from militia law violations were to be assessed and spent on sundry militia

expenses, the law added that, for any money left over:

        . . .the residue thereof, if any, shall be paid to the Town-Councils of the
        several towns, to be by them appropriated to the arming and equipping of
        those who are not able to arm and equip themselves.63




62
   Laws of the State of Delaware, 1793, Chap. 36, Sect. 2, 1135, https://heinonline-
org.proxy.wm.edu/HOL/Page?handle=hein.ssl/ssde0090&id=81&collection=ssl&i
ndex= The Delaware militia law of 1785 said that “. . .every apprentice, or other
person of the age of eighteen and under twenty-one years, who hath an estate of the
value of eighty pounds, or whose parent shall pay six pounds annually towards the
public taxes, shall by his parent or guardian respectively be provided with a musket
or firelock. . . .” Any penalty for failing to abide by the terms of the law would
result in a fine to be paid by the militiaman, “or by the parent or guardian of such
as are under twenty-one years. . . .” In the Ninth Year of the Independence of the
Delaware State, May Adjourned Session 1785, 13,
https://heinonline.org/HOL/Page?collection=ssl&handle=hein.ssl/ssde0075&id=11
&men_tab=srchresults
63
   Public Laws of the State of Rhode-Island and Providence Plantations, 438-39.
                                           29
 Case 1:24-cv-00496-JAO-WRP        Document 35-3      Filed 12/23/24   Page 32 of 174
                                     PageID.432


     38. The militia laws of three states—Georgia, South Carolina, and Virginia—

are ambiguous cases with statutory militia wording that might have placed a legal

burden on parents or others legally responsible for militiamen under 21. Yet all

three states did have provisions that provided for more careful treatment of

militiamen under 21.64




64
   The Georgia law said: “. . .every master or other person who hath the command,
government or power over any indented man servant, liable to do militia duty by
this act, shall, at his or her own proper costs and charge furnish and provide every
such indented man servant during his servitude, with the arms, ammunition and
accoutrements directed by this act. . . .” Watkins, A Digest of the Laws of the State
of Georgia, 462. The reference not just to “master” but also “other person who hath
command, government or power” over these persons (noting both males and
females could be the responsible “masters” referencing “at his or her own proper
costs”) could feasibly incorporate the authority of parents over children. The South
Carolina militia laws said: “every master or other person who hath the power over,
government or command of any white apprentice or man servant shall. . .furnish
and provide every such apprentice or man servant liable to do military duty. . .with
the arms and accoutrements directed by the aforesaid act of Congress. . . .” Elliott
and Strobel, The Militia System of South Carolina being a Digest of the Acts of
Congress Concerning the Militia, 23. Terms like “minor” and “apprentice” are
analogous categories of dependent persons, as is the case in the Georgia law. This
section also notes that if the recruit fails to appear or “his arms or accoutrements
shall be found to be deficient” then “the master or other person aforesaid” shall “be
subject to the same forfeitures and penalties as are inflicted” as on other recruits
who commit the same offense. The Virginia militia law included a provision that
segregated militiamen between the ages of 18 and 25 to be formed into “light
companies,” described thusly: “And whereas, it will be of great utility and
advantage in establishing a well disciplined militia, to annex to each regiment a
light company, to be formed of young men, from eighteen to twenty-five years old,
whose activity and domestic circumstances will admit of a frequency of training,
and strictness of discipline, not practicable for the militia in general. . . .” Hening,
The Statutes at Large; Being a Collection of All the Laws of Virginia, 483.
                                          30
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 33 of 174
                                     PageID.433


     39. In addition, in 1797 Vermont adopted a measure requiring that, for

militiamen under 21, “all parents, masters or guardians, shall furnish those of the

said militia who shall be under their care and command, with the arms and

equipments above mentioned, under the like penalties for any neglect.”65 In 1821,

Maine similarly required that “all parents, masters or guardians, shall furnish all

minors enrolled in the militia, who shall be under their care respectively, with the

arms, and equipments, required by this Act” and that “if said minor shall absent

himself from any meeting of the company . . . without sufficient excuse, the said

parent, master or guardian is hereby subjected and made liable to the same




65
  An Act, for regulating and governing the militia of this State, ch. LXXXI, No. 1,
§ 15, 2 Laws Of The State Of Vermont Digested And Compiled 122, 131- 32
(1808; enacted March 20, 1797),
https://books.googleusercontent.com/books/content?req=AKW5Qad0g3k0ZWc7k
Ms-
Nbgcchrb11e61iuMzo9Hc8cuOhldv4UyStdznTaPMMILPcZ3ruAxHtFGc1ueVGJ
k8qabLiqjlIBvuavij9n9b9vqdXojoCt22_EY6o2SiUCL9hgNqR849PJnaI9zm0MM
HRfpjIDgbxxbHID4Fc-
oWqosvO9eHL8Q7zcJnKrQCOQHeymMR65SIFNmbzPkTihxHX0OORlPzo-
SiQ7NNFdpHxQqhX3515LsFzaUnIWyquMs_aVCmKt9DEo6fAq9hqyDTFu1Cjl
Xbl-LG_mkxohbE9aEe9HNksmkW50. See also Vermont Annual Session 1811,
Chap. 112, 139,
https://heinonline.org/HOL/Page?collection=ssl&handle=hein.ssl/ssvt0108&id=13
9&men_tab=srchresults; Vermont Annual Session 1814, Chap. 130, 113-14,
https://heinonline.org/HOL/Page?collection=ssl&handle=hein.ssl/ssvt0114&id=11
3&men_tab=srchresults
                                          31
 Case 1:24-cv-00496-JAO-WRP         Document 35-3      Filed 12/23/24   Page 34 of 174
                                      PageID.434


forfeitures as such minor would be liable to for a like deficiency, neglect or non-

appearance, if such minor were of age. . . .” 66

     40. In short, virtually all state militia laws expressly treated militiamen below

the age of 21 as minors, not as adults 21 and over, as these laws shifted legal

burdens to parents or others exercising similar authority over militiamen under 21.

None of this supported an adult civilian “right” of 18 to 20 year olds to obtain

firearms.

     V.     HISTORICAL WEAPONS RESTRICTIONS ON COLLEGE
            CAMPUSES

     41. One other category of laws and rules bears on the larger idea that minors

under 21 were historically not accorded anything akin to the “gun rights” of adults

21 and older. This category pertains to the legal status of college students. As

historian Saul Cornell noted: “College was one of the very few circumstances

where minors lived outside of their parents’ or a guardian’s direct authority. As a

matter of law, minors attending college traded strict parental authority for an

equally restrictive rule of in loco parentis.”67



66
  An Act to organize, govern, and discipline the Militia of this State, ch. CLXIV, §
34, 1821, Me. Laws 548, 570-71,
https://heinonline.org/HOL/Page?collection=ssl&handle=hein.ssl/ssme0156&id=5
72&men_tab=srchresults
67
  Cornell, “‘Infants’ and Arms Bearing in the Era of the Second Amendment.” See
also Brian Jackson, “The Lingering Legacy of In Loco Parentis: An Historical
Survey and Proposal for Reform,” Vanderbilt Law Review 44(October 1991):
                                       32
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 35 of 174
                                     PageID.435


     42. Admittedly, college education in the modern era is far more widespread and

democratized. As of 2022, over 37 percent of Americans have at least a four year

college degree.68 In 1870, the newly created federal Department of Education (then

a sub-cabinet department) reported that 9000 college degrees had been awarded as

of that year.69 Also in 1870, about 63,000 students were then enrolled in

institutions of higher learning.70 Yet the fact that few Americans attended college

in the eighteenth and nineteenth centuries compared to the present era does not

undercut the significance of college rules restricting students’ access to firearms

and other weapons. As discussed below, public universities overseen by state




1135-64; Steven J. Novak, The Rights of Youth: American Colleges and Student
Revolt, 1798-1815 (Cambridge, MA: Harvard University Press, 1977), 103-5 and
passim. Even during this period, a college education was generally four years in
length, and attracted students in their teens (10).
68
  The Percentage of Americans with College Degrees in 2023,” College
Transitions, August 12, 2023, https://www.collegetransitions.com/blog/percentage-
of-americans-with-college-degrees/
69
  Thomas D. Snyder, ed., 120 Years of American Education: A Statistical Report
(Washington, D.C.: U.S. Department of Education, January 1993), 5,
https://nces.ed.gov/pubs93/93442.pdf
70
  Clair Kluskens, “Census Fun Fact #6 - The Evolving Enumeration of College
Students, 1850-1950,” HistoryHUB, July 4, 2021,
https://historyhub.history.gov/genealogy/census-records/b/census-
blog/posts/census-fun-fact-6---the-evolving-enumeration-of-college-students-
1850-1950. The U. S. population in 1870 was about 38 million. “POP Culture:
1870,” U. S. Census,
https://www.census.gov/history/www/through_the_decades/fast_facts/1870_fast_f
acts.html
                                          33
 Case 1:24-cv-00496-JAO-WRP        Document 35-3     Filed 12/23/24   Page 36 of 174
                                     PageID.436


legislatures in at least 14 states enacted weapons restrictions. Three of these, North

Carolina, South Carolina and Georgia, did so during the Founding period, as did at

least seven private institutions (see Exhibit D). Further, the rules discussed below

enacted by public and private institutions of higher learning applied regardless of

the size of their student bodies, were found throughout the country, and were based

on the universally understood in loco parentis powers exercised by colleges and

universities over their students. The numerous rules governing private campuses

are not public law, to be sure, but they do provide a similar source of information

confirming the widespread understanding that those under 21 were not entitled to

anything resembling adult gun rights. Indeed, college rules from this early period

are a microcosm of societal attitudes concerning the rights (or lack of rights)

pertaining to young people and for that reason alone are highly instructive.

     43. Colleges’ control over their students during this time was based on age, not

merely on the fact that people were living in close proximity to each other. First,

these rules often applied to students whether they lived on campus or off campus.71



71
  E.g., Walter C. Bronson, The History of Brown University, 1714-1914 (Boston:
D.B. Updike, The Merrymount Press, 1914), Student Laws of 1803; Laws and
Regulations of the College of William and Mary, Volume 276 (1830), Regulations
of the Society, 29; Oberlin College, Laws and Regulations of Oberlin College, 11th
ed. (Oberlin, OH: Shankland and Harmon, 1859), 11. Students often sought or
needed housing off campus, even in the 1700s and early 1800s. See David F.
Allmendinger, Jr., Paupers and Scholars: The Transformation of Student Life in
Nineteenth-Century New England (NY: St. Martin’s Press, 1975), 82-90, 98-99.
                                        34
 Case 1:24-cv-00496-JAO-WRP         Document 35-3      Filed 12/23/24    Page 37 of 174
                                      PageID.437


That is, they were codes that applied uniformly to all the students enrolled in their

institutions. For example, an 1810 regulation for Georgia public colleges and

universities said, “no student shall be allowed to keep any gun, pistol, Dagger, Dirk

sword cane or any other offensive weapon in College or elsewhere, neither shall

they or either of them be allowed to be possessed of the same out of the college in

any case whatsoever.”72 In fact, these codes typically regulated or proscribed a

wide range of student behaviors extending far beyond firearms restrictions both on

campus and off, providing further evidence of colleges’ plenary in loco parentis

authority over students.

     44. Second, experts on early American higher education make perfectly clear

that college faculty and administrators functioned in the manner of, and with

authority comparable to, parents. This is the very definition of in loco parentis: to

act “[i]n the place of a parent; instead of a parent; charged . . .with a parent’s rights,

duties, and responsibilities.”73

     45. For example, a study of American college life in the 1700s and 1800s noted

that “Teachers assumed the position of parents.”74 As early as the mid-1700s,


72
   Georgia Public Colleges and Universities, The Minutes of the Senatus
Academicus of the State of Georgia, 1799–1842, at 86 (1810),
https://firearmslaw.duke.edu/laws/the-minutes-of-the-senatus-academicus-of-the-
state-of-georgia-1799-1842-at-86-1810/
73
   Black, Black’s Law Dictionary, 542.
74
     Allmendinger, Paupers and Scholars, 114.
                                           35
 Case 1:24-cv-00496-JAO-WRP        Document 35-3      Filed 12/23/24   Page 38 of 174
                                     PageID.438


“[c]olonial [college] faculties had assumed without question their authority over

students. . . .”75 This translated into a college campus system where faculty and

administrators exercised “an intimate, ‘parental’ system of ordering the lives of

students. ‘Parental’ government was more than a metaphor. . . . The ‘parental’

system extended over students an intimate supervision of residence, diet, company-

keeping and manners” that was “[m]ore rigorous in its substitution of faculty for

family than modern conceptions of in loco parentis. . . .”76 Another analysis of

college life makes the same point. “During the colonial period and the early years

of the Republic, higher education was conducted . . . . in an environment that

mirrored the families students left behind. . . . The dominant legal philosophy

courts used to describe this familial relationship was the doctrine of in loco

parentis. College authorities stood in the place of parents to the students entrusted

to their care.”77




75
  David F. Allmendinger, Jr., “The Dangers of Ante-Bellum Student Life,”
Journal of Social History 7(Autumn 1973): 75.
76
     Allmendinger, “The Dangers of Ante-Bellum Student Life,” 79-80.
77
  Brian Jackson, “The Lingering Legacy of "In Loco Parentis": An Historical
Survey and Proposal for Reform,” Vanderbilt Law Review 44(October 1991):
1135-36. Moreover, as Jackson further notes, the fundamentals of this system
persisted: “Even when college life changed in the late nineteenth and early
twentieth centuries, the traditional legal interpretation of the student-university
relationship remained relatively constant as courts continued to defer to almost
every expression of institutional authority.” (1136)
                                           36
 Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24    Page 39 of 174
                                      PageID.439


     46. The age range of college students in the late 1700s and 1800s generally

coincided with the age range of college students today: roughly 18-22.78 My

excavation and examination of laws and campus rules pertaining to college

students and dangerous weapons uncovered a considerable series of them (see

Exhibit D), extending to both public and private colleges and universities. This is

despite the fact that relatively little attention has been given to this subject, there is

no central repository of such college policies to my knowledge, and many of these

measures have been found in old reprints of campus policies which have been

subject to far less modern examination and digitization as compared with old state

laws. In all, at least 14 state university systems (some applying to multiple

campuses within their states) and at least 54 private colleges imposed firearms

restrictions (see Exhibit D). In no instance did I uncover a campus student

discipline policy that did not include an anti-firearm restriction.

     47. In 1655, Harvard College (Mass.) enacted a campus policy saying in part

that “noe students shall be suffered to have [a g]un in his or theire chambers or



78
  Allmendinger studied twelve New England colleges from 1751 to 1860, and
compiled data on the ages of those graduating from those institutions. While the
age of graduation included a scattering of students who graduated younger than 18
and older than 28, the most common age of students at graduation was consistently
from ages 20 to 22. Paupers and Scholars, 131-38. See also Joseph F. Kett, Rites
of Passage: Adolescence in America 1790 to the Present (NY: Basic Books, 1977).
Then and now, colleges included a few younger students and those older than 22
who for various reasons sought out a college education at a later age.
                                         37
 Case 1:24-cv-00496-JAO-WRP        Document 35-3      Filed 12/23/24   Page 40 of 174
                                     PageID.440


studies, or keepeing for theire use any where else in the town. . . .”79 Yale College

(Ct.) enacted a similar measure in 1745 and 1795.80

     48. Among public universities subject to state laws, the state University systems

of North Carolina (1799, 1838),81 University of South Carolina (1807, 1848),82

Georgia (1810),83 Ohio University (1814),84 Virginia (1824),85 University of

Delaware (1828),86 College of William and Mary (Va., 1830),87 Miami University



79
   A Copy of the Laws of Harvard College, 1655, at 10; Thirdly concerneing penall
lawes. . . . 8. See also 1824, Laws of Harvard College, ch. 6, § 1, no. 2.
80
   Franklin Bowditch Dexter, Biographical Sketches of the Graduates of Yale
College: May 1745-May 1763, Annals, at 8 (1745); 14; The Laws of Yale-College,
in New-Haven, in Connecticut, Enacted by the President and Fellows, the Sixth
Day of October, A.D. 1795 (New Haven: Thomas Green and Son, 1800), Chapter
VIII. p. 26.
81
   University of North Carolina, Public Colleges and Universities, 1799,
https://docsouth.unc.edu/unc/uncbk1018/uncbk1018.html; Acts of the General
Assembly and Ordinances of the Trustees, for the Organization and Government of
the University of North Carolina, Laws for the Government of the University, at 15
Chapter V (1838), CHAPTER V, 13.
82
   Edwin L. Green, A History of the University of South Carolina (Columbia, SC:
The State Company, 1916), p. 220.
83
   The Minutes of the Senatus Academicus of the State of Georgia, 1799–1842, at
86 (1810).
84
   Thomas N. Hoover, The History of Ohio University (Athens, OH: Ohio
University Press, 1954), 57. Also
https://ohiomemory.org/digital/collection/p267401coll36/id/16772; Thomas N.
Hoover, The History of Ohio University (Athens, OH: Ohio University Press,
1954), 57.
85
   University of Virginia Board of Visitors Minutes, 6-7 (October 4–5, 1824).
86
   Academy minutes, April 17, 1828; American Watchman, August 1, 1828;
https://sites.udel.edu/uarm/the-university-of-delaware-chapter-2/
87
   Laws and Regulations of the College of William and Mary, Volume 276 (1830),
Regulations of the Society, 29.
                                          38
 Case 1:24-cv-00496-JAO-WRP       Document 35-3     Filed 12/23/24   Page 41 of 174
                                    PageID.441


of Ohio (1843),88 University of Iowa (1848),89 the College of New Jersey/Rutgers

College/Drew University (1853, 1854, 1871),90 the University of Alabama

(1861),91 the University of Kentucky (1865, 1890-1891),92 Purdue University

(Indiana, 1874),93 the University of Mississippi (1878, 1880, 1892),94 the

University of Vermont (1885),95 and the Michigan State Agricultural College




88
   The Laws of Miami University, for The Government of the Faculty and Students
(Rossville, OH: J.M. Christy, 1843), p. 15;
https://digital.lib.miamioh.edu/digital/collection/univdocs/id/3116/rec/3
89
   Merle Curti and Vernon Carstensen, The University of Wisconsin: A History,
1848-1925 (Madison, WI: University of Wisconsin Press, 1949), 196.
90
  Mercer Beasley Revision of the Statutes of New Jersey: Published under the
Authority of the Legislature; by Virtue of an Act Approved April 4 1871.Page 236-
237, Image 282-283 (Trenton, 1877) available at The Making of Modern Law:
Primary Sources. 1871.
91
   1861, Regulations for the University of Alabama, art. 11, nos. 131-132 & art. 13,
nos. 175-179 (Southern Methodist Publishing House).
92
   James F. Hopkins, The University of Kentucky: Origins and Early Years
(Lexington, KY: University of Kentucky Press, 1951), p. 167; Kentucky
University, Catalogue of Kentucky University, Lexington, Kentucky, 1890-1891,
23.
93
  Robert W. Topping, A Century and Beyond: The History of Purdue University
(West Lafayette, IN: Purdue University Press, 1988), p. 86.
94
  1878 Miss. Laws 176, An Act To Prevent The Carrying Of Concealed Weapons
And For Other Purposes, ch. 46, § 4; Josiah A. Patterson Campbell, The Revised
Code of the Statute Laws of the State of Mississippi: With References to Decisions
of the High Court of Errors and Appeals, and of the Supreme Court, Applicable to
the Statutes Page 776-777, Image 776-777 (1880); R.H. Thompson, The Annotated
Code of the General Statute Laws of the State of Mississippi 327, § 1030 (1892).
95
 1885 Laws of the University of Vermont, ch. 4, § 4234; ch. 6, §§ 4, 9.
CHAPTER IV.
                                     39
 Case 1:24-cv-00496-JAO-WRP         Document 35-3    Filed 12/23/24   Page 42 of 174
                                      PageID.442


(1891)96 all adopted strict measures against having, keeping, firing, and/or carrying

weapons on campus, and sometimes extending to student housing, or student

behavior, off campus. Note that some of these encompass state university systems

covering multiple campuses.

      49. Similar measures existed on private campuses. In addition to Harvard and

Yale, other private campuses with such codes included Union College (N.Y.,

1802),97 Brown University (R.I.; 1803, 1865),98 Middlebury College (Vt., 1803,

1839),99 Hampden-Sidney College (Va., 1805),100 Hamilton College (N.Y.,




96
   1891, Michigan State Agricultural College Rules and Laws, “Order,” nos. 67 &
69 (sine nomine).
97
   Wayne Somers, Encyclopedia of Union College History (Schenectady, NY:
Union College Press, 2003), p. 533.
98
   Walter C. Bronson, The History of Brown University, 1714-1914 (Boston: D.B.
Updike, The Merrymount Press, 1914), 183, From the college rules for the conduct
of students, Laws of 1803.
99
   The Laws of Middlebury-College, 1803 (Middlebury, VT: Huntington & Fitch,
1804), p. 16.
https://www.jstor.org/stable/community.28479483?seq=16; The Laws Of
Middlebury College (Middlebury, VT: People’s Press, 1839), 16-18. Chapter 7—
Of Crimes and Misdemeanors, §§ 1, 11; 1839 Laws of Middlebury College, ch. 7,
§§ 1, 11. CHAPTER VII.
100
  John L. Brinkley, On this Hill: A Narrative History of Hampden-Sydney
College, 1774-1994 (Hampden-Sidney, VA: Hampden-Sidney, 1994), p. 65.
                                          40
 Case 1:24-cv-00496-JAO-WRP       Document 35-3     Filed 12/23/24   Page 43 of 174
                                    PageID.443


1813),101 Bowdoin College (Me., 1817),102 Princeton University (N.J. 1819),103

Columbian College (now George Washington University, D.C., 1824),104

University of Cambridge (Mass., 1825),105 Cumberland College (Tenn., 1825),106

Furman University (S.C., 1826),107 Trinity College (Ct., 1826),108 McKendree

College (Il., 1828),109 Dickinson College (Pa., 1830),110 College of Louisiana




101
    Documentary History of Hamilton College (Clinton, NY: Hamilton College,
1922), The Laws of Hamilton College, 1813, Chapter VIII, Of Crimes and
Misdemeanors. XII.
102
    Laws of Bowdoin College, 1817. Ernst Christian Helmreich, Religion at
Bowdoin College: A History (Brunswick, ME: Bowdoin College, 1981), 39,
https://digitalcommons.bowdoin.edu/cgi/viewcontent.cgi?article=1005&context=b
owdoin-histories
103
    At the time Princeton was known as the College of New Jersey, 1819, Laws of
the College of New Jersey, ch. 17, § 9; ch. 19, § 10.
104
    1824, Laws of the Columbian College, District of Columbia, ch. 5, § 2, no. 10.
105
    1825, Statutes and Laws of the University in Cambridge, ch. 7, § 76, no. 3.
CHAP. VII.
106
    1825, Laws of Cumberland College, ch. 12, §§ 6 & 7 (Office of the Whig).
107
    W.J. McGlothlin, Baptist Beginnings in Education: A History of Furman
University (Nashville, TN: Sunday School Board of the Southern Baptist
Convention, 1926), p. 115.
108
    Laws of Washington College [renamed Trinity College in 1845],
https://digitalrepository.trincoll.edu/cgi/viewcontent.cgi?article=1414&context=bul
letin
109
    Centennial, McKendree College With St. Clair County History, 1828-1928
(Lebanon, IL: McKendree College, 1928), p. 238;
https://archive.org/details/centennialmckend00mcke/page/238/mode/2up?q=gambli
ng
110
    The statutes of Dickinson College, as revised and adopted by the Board of
Trustees, April 16, 1830, 22-23, Chapter VI.
                                        41
 Case 1:24-cv-00496-JAO-WRP      Document 35-3     Filed 12/23/24   Page 44 of 174
                                   PageID.444


(1830, 1839),111 Mississippi Presbytery and Oakland College (Miss., 1831),112

Colby College (Me., 1832),113 Wake Forest University (N.C., 1834),114 Allegheny

College (Pa., 1834),115 Lafayette College (Pa., 1837),116 LaGrange College (Ala.,

1837),117 the University of Nashville (Tenn., 1837),118 Georgetown University




111
  Laws for the Government of the College of Louisiana, 1839, CHAPTER IX.
112
  Constitution & Laws of the Institution of Learning Under the Care of the
Mississippi Presbytery, Oakland College (Miss.), at 10 (1831), Chapter XI.
113
   Waterville College, Laws of Waterville College, Maine (later renamed Colby
College, located in Waterville), (Hallowell, ME: Glazier, Masters, & Co., 1832),
11.
114
  George Washington Paschal, History of Wake Forest College (Wake Forest, NC:
Wake Forest College, 1935), p. 136.
115
    Ernest Ashton Smith, Allegheny—A Century of Education, 1815-1915
(Meadville, PA: The Allegheny College History Company, 1916), p. 401;
https://books.googleusercontent.com/books/content?req=AKW5QadC9Mb3YgQw
vgNd85fNiTqzRMDGkW3x5vKIB_nq46GrUPRMPxXftjaeLXwOnTyc-
_6vho0bcCaH72dIaYTrbfImGjLWJgBADFHIx9gY183akY30Htm0gbgWT6xc_B
cSzkySAH5K_62VpZkkeWFrsO_aojPtnK9yoGcwFSgGNhwPzBoROwVcuFamm
CUD3ZkBX1aJQlnflioVWf6eMecUpfXD6EcvC2LYAS7pB76rUDsZAgEowZjXI
f3TF2OKbaSIxUas8GdV2R3gN51Vcmw22hBw2MCYBg
116
    David B. Skillman, The Biography of a College: Being the History of the First
Century of the Life of Lafayette College (Easton, PA: Lafayette College, 1932), p.
130.
117
   “Circular Letter of the Faculty of La Grange College” (Tuscumbia), North
Alabamian, May 5, 1837;
https://www.newspapers.com/image/308403735/?terms=%22the%20faculty%22&
match=1
118
  Law of the University of Nashville for the moral conduct of the students, in
American Annals of Education and Instruction for the Year 1837, at 185 (1837).
                                        42
 Case 1:24-cv-00496-JAO-WRP       Document 35-3     Filed 12/23/24   Page 45 of 174
                                    PageID.445


(Washington, D.C., 1839),119 Randolph-Macon College (Va., 1839),120 Kemper

College (Mo., 1840),121 Marietta College (Ohio, 1840),122 Davidson College (N.C.,

1845-46),123 Denison University (Ohio, 1847),124 Emory University (Ga., 1847),125

Dartmouth College (N.H., 1849),126 Beloit College (Wisc. 1850),127 Illinois

College (1850),128 Gettysburg College (Pa., , 1839, 1852),129 New York




119
  Robert E. Curran, A History of Georgetown University, 3 vols. (Washington,
D.C.: Georgetown University Press, 2010), I, p. 195.
120
    James Edward Scanlon, Randolph-Macon College: A Southern History
(Charlottesville, VA: University Press of Virginia, 1983), p. 63-64.
121
    The Laws of Kemper College, Near St. Louis, Missouri 9 (1840), Chapter VIII.
Miscellaneous. . . . 6.
122
    1840, Laws of Marietta College, ch. 7, no. 15 (G. W. Tyler & Co.).
123
    Cornelia Rebekah Shaw, Davidson College (NY: Fleming H. Revell Press,
1923), APPENDIX IX, OLD RULES, from the second catalog issued, that for
1845-46. . . . 4.
124
    Francis W. Shepherdson, Denison University: 1831-1931 (Granville, OH:
Denison University, 1931), p. 55;
https://babel.hathitrust.org/cgi/pt?id=mdp.39015058689640&seq=69&q1=fire
125
  Henry M. Bullock, A History of Emory University (Atlanta, GA: Cherokee
Publishing Co., 1972), p. 134.
126
   Laws of Dartmouth College (Hanover, NH: Dartmouth Press, 1849), p. 11;
https://babel.hathitrust.org/cgi/pt?id=umn.31951002082852o&seq=7&q1=fire
127
  1850 Laws of Beloit College, ch. 4, § 2.
128
  Laws of Illinois College, 1850, in Transactions of the Illinois State Historical
Society for the Year 1906, at 245, 1850, Chapter XII.
129
   Charles H. Glatfelter, A Salutary Influence: Gettysburg College, 1832-1985, 2
vols. (Gettysburg, PA: Gettysburg College, 1987), I, p. 153;
https://gettysburg.contentdm.oclc.org/digital/collection/GBNP01/id/64513/rec/1
                                          43
 Case 1:24-cv-00496-JAO-WRP       Document 35-3     Filed 12/23/24   Page 46 of 174
                                    PageID.446


Conference Seminary (1851),130 Tufts University (Mass., 1852),131 Westminster

College (Mo., 1852),132 Franklin and Marshall College (Pa., 1853),133 Jefferson

County Institute (N.Y., 1853),134 Amherst College (Mass., 1855),135 North-Western

Christian University (Ind., 1857),136 Oberlin College (Ohio, 1859),137 LaGrange

Synodical College (Tenn., 1859),138 Albion College and Wesleyan Seminary




130
    1851, Catalogue of the Officers and Students in the New York Conference
Seminary, “By-Laws,” no. 11 (Gray & Sprague).
131
    Russell E. Miller, Light on the Hill: A History of Tufts College 1852-1952
(Boston, MA: Beacon Press, 1966), p. 397.
132
    M.M. Fisher, History of Westminster College, 1851-1903 (Columbia, MO: E.W.
Stephens, 1903), p. 85; https://tile.loc.gov/storage-
services/public/gdcmassbookdig/historyofwestmin00fish/historyofwestmin00fish.p
df
133
    Joseph Henry Dubbs, History of Franklin and Marshall College (Lancaster, PA:
Franklin and Marshall College, 1903), p. 229.
134
    1853, Catalogue of the Officers and Students of the Jefferson County Institute,
“Abstract of By-Laws,” no. 12 (Clark & Fayel).
135
    1855, The Laws and Regulations of Amherst College, ch. 9, § 7. CHAPTER IX.
136
    1857, Charter and By-Laws of the North-Western Christian University, “An
Ordinance for the Government of the University,” § 20, no. 5 (Indianapolis Journal
Company).
137
    Oberlin College, Laws and Regulations of Oberlin College, 11th ed. (Oberlin,
OH: Shankland and Harmon, 1859), 11.
138
   1859, Code of Laws for the Government of La Grange Synodical College, ch.
10, §§ 2-9. CHAPTER X.
                                     44
 Case 1:24-cv-00496-JAO-WRP        Document 35-3    Filed 12/23/24   Page 47 of 174
                                     PageID.447


(Mich., 1860),139 McKenzie College (Tex., 1860),140 Centre College (Ky., 1861),141

Grinnell College (Iowa, 1865),142 Duke University (N.C., 1869),143 Howard

College (Ala., 1870),144 Vanderbilt University (Tenn., 1874),145 Williams College

(Mass., 1878),146 Agricultural & Mechanical College of Kentucky (1882),147 and

the Agricultural and Mechanical College for the Colored Race (N.C., 1896).148

      50. These many examples strongly indicate that such policies were common, if

not ubiquitous, on campuses during this time. I reach this conclusion both because




139
  Eighteenth Annual Catalogue of the Officers and Students of the Albion Female
College, and Wesleyan Seminary (Michigan) 32 (1860-1861), 1860.
140
   “Laws of McKenzie College,” in Education in Texas: Source Materials, comp.
Fredrick Eby, University of Texas Bulletin, Education Series No. 2 (April 25,
1918): 392-93.
141
    Laws of the Centre College of Kentucky, Located at Danville (Frankfort, KY:
A.G. Hodges & Co., 1861), p. 5; https://sc.centre.edu/sc/digital/pdf/laws1861.pdf
142
    John Scholte Nollen, Grinnell College (Cedar Rapids, IA: The State Historical
Society of Iowa, 1953) [ca. 1865], p. 72.
143
    1869, Catalogue of Trinity College, “Discipline,” no. 4 (Episcopal Methodist
Office) [Duke was formerly known as Trinity].
144
    Mitchell B. Garrett, “Sixty Years of Howard College,” 1842-1902, Howard
College Bulletin, LXXXV (October 1927): 81;
https://archive.org/details/sixtyyearsofhowa00garr/page/n7/mode/2up
145
    Edwin Mims, History of Vanderbilt University (Nashville, TN: Vanderbilt
University Press, 1946), p. 126.
146
    1878, Laws of Williams College, ch. 3, § 3.
147
    1882, Regulations of the Agricultural & Mechanical College of Kentucky, art.
7, no. 156 (Major, Johnston & Barrett).
148
    1896, By-Laws Ordained by the Board of Trustees of the Agricultural and
Mechanical College for the Colored Race, Admission and Deportment of Students,
no. 14 (Reece & Elam).
                                         45
 Case 1:24-cv-00496-JAO-WRP           Document 35-3     Filed 12/23/24   Page 48 of 174
                                        PageID.448


of the length of this list and because in every instance where I was able to obtain an

actual code of student conduct for campuses in the 1700s and 1800s, the codes

included provisions banning or otherwise restricting guns. I found no instance of a

student code of conduct from this period lacking a no-guns provision. Finally, in

addition to the law and policy regulations pertaining to the college campuses listed

here, there is an entire additional category of statutes from the time that barred the

carrying or possession of firearms and other weapons from schools and educational

institutions more generally.149 This compilation of college student discipline codes

restricting firearms lends strong additional support to the idea that weapons

restrictions were commonly understood to apply to those under the age of 21, and

that minors had nothing resembling a “right” to obtain or have firearms.

      V. CONCLUSION

      51. State and local restrictions that were designed to restrict or regulate guns

and other dangerous weapons in the hands of minors emerged in the eighteenth



149
   For example: 1870 Tex. Laws 63; Laws of Missouri, Passed at the Session of
the Thirtieth General Assembly, Begun and Held at the City of Jefferson,
Wednesday, January 8, 1879: Regular Session (Jefferson City, MO: Carter &
Regan, 1879), 90-91; An Act to Prohibit the Discharge of Firearms in the
Immediate Vicinity of Any Courthouse, Church, or Building Used for School or
College Purposes, §§ 1-3, Approved April 30, 1879,
https://firearmslaw.duke.edu/assets/1879,-mo,-sess.-laws,-act-of-april-30,-1879,--
1-3.pdf; 1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24
Of The Revised Statutes Of Missouri, Entitled “Of Crimes And Criminal
Procedure,” § 1; 1889 Ariz. Sess. Laws 16-17.
                                             46
 Case 1:24-cv-00496-JAO-WRP          Document 35-3    Filed 12/23/24   Page 49 of 174
                                       PageID.449


century, and were ubiquitous in the nineteenth century. The universally understood

age of adulthood during this time was 21, which was also the most common age set

in legislation pertaining to firearms restrictions (noting that lower ages were set in

many laws for various firearms-related activities, such as hunting, or with

permission of parents).

      52. The relative paucity of such regulations pertaining to minors before the time

examined here was not based on any belief that those below the age of 21 were

somehow adults with full rights. Far from it. Historians and legal sources make

clear that minors in the eighteenth and nineteenth centuries (defined as those

younger than 21) decidedly did not have such full rights.150 The right to vote, for

example, was generally set at 21 by the time of the Revolutionary period and

thereafter in the U.S.151 The critical change leading to a proliferation of age-based

restrictions on gun purchase and ownership that occurred in the mid-to-late

nineteenth century was a general consequence of profound societal shifts from

overwhelmingly agrarian life, where children generally lived and worked at home



150
  Cornell, “‘Infants’ and Arms Bearing in the Era of the Second Amendment”;
Hamilton, “Adulthood in Law and Culture.”
151
   John Adams noted as much, for example, in the 1770s. Joseph J. Ellis, The
Cause: The American Revolution and its Discontents, 1773-1783 (NY: W.W.
Norton, 2021), 69. The minimum voting age of 21 was not reduced until Georgia
became the first state to do so in 1943. “The Voting Age,” CQ Researcher,
https://library.cqpress.com/cqresearcher/document.php?id=cqresrre1944090900
                                           47
 Case 1:24-cv-00496-JAO-WRP        Document 35-3      Filed 12/23/24   Page 50 of 174
                                     PageID.450


in a rural setting and therefore under direct parental control, to urban,

industrialized life where children increasingly worked, were schooled, and often

spent significant time outside of the home in population centers.

   53. As noted here, the fact that at least 46 states enacted age-based restrictions

(most commonly for those between 18 and 21) on weapons ownership or use by

minors during the time period examined here reflects a societal understanding that

concerns about safety and judgment when minors had access to dangerous

weapons were no less significant at that time than in the present day. As noted

above, militia service was an obligation, not a right. Yet even in the context of

militia service, the evidence presented here demonstrates that militia members

under 21 were subject to parental involvement and control, with parents

maintaining legal responsibility, as compared with those 21 and older. This is yet

further evidence that 21 was the defined age of majority with respect to weapons.

Finally, the in loco parentis authority colleges and universities exercised over their

student populations provides further evidence that those under 21 did not possess

adult gun rights when they were students.

   54. Many historical questions are ambiguous. But this one is not: historically

speaking, adult gun rights did not accrue to those under 21.




                                          48
Case 1:24-cv-00496-JAO-WRP   Document 35-3   Filed 12/23/24   Page 51 of 174
                               PageID.451
Case 1:24-cv-00496-JAO-WRP   Document 35-3   Filed 12/23/24   Page 52 of 174
                               PageID.452




       EXHIBIT A
 Case 1:24-cv-00496-JAO-WRP           Document 35-3      Filed 12/23/24    Page 53 of 174
                                        PageID.453




                                       EXHIBIT A
                                                                                  April 2024
                                    Curriculum Vitae

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Education:     A.B. (Political Science), summa cum laude, SUNY College at Fredonia, 1975.
               M.A. Cornell University, 1978.
               Ph.D. Cornell University, 1980.

Positions Held:

       Adjunct Professor, College of William and Mary School of Law, Spring 2023-present.
       Affiliated Scholar, Research Scholar of Public Policy, College of William and Mary,
       2023-present.
       Affiliated Scholar, Government Department, College of William and Mary, 2023-present.
       Department Chair, SUNY Cortland, 2008-2020.
       Interim Department Chair, SUNY Cortland, 2004-2005.
       Distinguished Service Professor, SUNY Cortland, 1997-2021.
       Visiting Professor, Cornell University, Spring, 2009, Spring 1993; Summers 1980, 1988-
               1990, 1992-2017.
       Professor, SUNY Cortland, 1989 to 1997.
       Continuing Appointment, SUNY Cortland, 1986.
       Associate Professor, SUNY Cortland, 1984 to 1989.
       Department Chair, SUNY Cortland, 1983 to 1989.
       Visiting Professor, SUNY College of Technology, Utica-Rome, Graduate Division, 1985,
               1986, 1988.
       Copy Editor, Administrative Science Quarterly, 1982 to 1983.
       Adjunct Professor, Tompkins-Cortland Community College, 1982-83.
       Assistant Professor, SUNY Cortland, 1979 to 1984.
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 Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24     Page 54 of 174
                                       PageID.454




      Instructor, Cornell University, 1979.
      Instructor, Eisenhower College, 1978-1979.
      Research Assistant, Theodore J. Lowi and Benjamin Ginsberg, 1976-1978.
      Reporter (Stringer), Buffalo Courier-Express; Dunkirk Evening Observer, 1974-75.


Honors:

      Fellow, the Royal Society for Arts, Manufactures and Commerce (RSA), London,
      England, 2020.
      Founding member, Regional Gun Violence Research Consortium, coordinated with the
      Rockefeller Institute of Government. Consortium of gun policy experts from eight states
      to advance research on gun policy, 2018-present.
      Member, SUNY Research Council, an advisory council to the SUNY Board of Trustees,
      SUNY System Administration, campus leadership teams, and the leadership team of the
      Research Foundation (RF) for SUNY, 2018-2021.
      Member, Scholars Strategy Network, 2015-present. Created to improve public policy and
      strengthen democracy by connecting scholars and their research to policymakers, citizens
      associations, and the media.
      Winner, Pi Sigma Alpha (the national political science honors society) Chapter Advisor
      of the Year Award for 2013.
      Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2010.
      Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2005.
      Winner, State University of New York’s Chancellor’s Excellence in Scholarship and
              Creative Activities Award, 2003.
      SUNY Cortland Nominee, National Scholar Competition of the Honor Society of Phi
              Kappa Phi, 1994-95.
      Winner, New York State/United University Professions Excellence Award, 1991, for
              "outstanding professional performance and superior service."
      Member, New York State Commission on the Bicentennial of the U.S. Constitution,
              1986-1990.
      Member, New York State Ratification Celebration Committee for U.S. Constitution
      Bicentennial, 1987-88.
      Member, National Bicentennial Competition on the Constitution and the Bill of Rights,
              1987-1991.
      Who's Who in the World, 1996.
      Dictionary of International Biography, 1995.
      Who's Who in the East, 1995-96; 1997-98
      Ex officio member, Cortland County Bicentennial Committee, 1987-89.
      Chair, SUNY Cortland Bicentennial Committee, 1987-89.
      Phi Eta Sigma, SUNY Cortland, 1994.
      Phi Kappa Phi, SUNY Cortland, 1990.
      Men of Achievement (1986)
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 Case 1:24-cv-00496-JAO-WRP            Document 35-3       Filed 12/23/24     Page 55 of 174
                                         PageID.455




       Contemporary Authors, vol. 112 (1985) and subsequent updates.
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       International Who's Who in Education, Winter 1985-86.
       Herbert H. Lehman Graduate Fellowship, 1975-79.
       Who's Who Among Students in American Universities and Colleges, 1974-75.
       Phi Beta Kappa Club, SUNY College at Fredonia, 1975.
       Phi Alpha Theta (History), SUNY College at Fredonia, 1974.
       Phi Mu Alpha Sinfonia, (Music), SUNY College at Fredonia, 1973.


Research Fellowships and Projects:

       Individual Development Awards, SUNY Cortland, 2001, 2003, 2005, 2006, 2007, 2008,
       2009, 2014, 2017, 2020.
       Title “F” Leave with pay, Spring 1994.
       Professional Development and Quality of Working Life Award, 1989, 1993, 1998, 1999.
       National Endowment for the Humanities (NEH) Research Grant for Study of the
       Constitution, 1986. Project Proposal: “The Presidential Veto: Constitutional Antecedents
       and Modern Applications.”
       SUNY Cortland Faculty Research Program Grant, “The Presidential Veto, 1986.
       Consultant for Reporting Research Corporation, “Quality of Earnings Report,” Thornton
       L. O’Glove, author; research on presidential veto use, 1984-1987.
       SUNY University Awards Program Research Fellowship, “The Right to Life Party and
       New York State Politics, 1983.
       SUNY Cortland Faculty Research Program Fellowship, “New York State Parties and
       Politics,” 1980.


Publications and Papers:

       BOOKS:

       The Presidency and Public Policy: The Four Arenas of Presidential Power (University,
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       Congress in the making of domestic policy. Revised version of doctoral dissertation.

       The Right to Life Movement and Third Party Politics (Westport, CT: Greenwood Press,
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       state-based Right to Life Party.

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Case 1:24-cv-00496-JAO-WRP          Document 35-3        Filed 12/23/24      Page 56 of 174
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    Editor, The Bicentennial of the U.S. Constitution: Commemoration and Renewal
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    given at SUNY Cortland pertaining to the Constitution's Bicentennial. Contributors
    include Senator Daniel Patrick Moynihan, Theodore J. Lowi, Judith A. Best, and Robert
    Spitzer.

    President and Congress: Executive Hegemony at the Crossroads of American
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    simultaneously by co-publishing agreement in paper by McGraw-Hill, and hardcover by
    Temple. An analytic survey and critique of presidential-congressional relations. Received
    Honorable Mention for the Richard Neustadt Award for Best Book on the Presidency for
    1993.

    Editor, Media and Public Policy (New York: Praeger, 1993). Published in Praeger's
    Political Communications Series, edited by Robert E. Denton, Jr. A collection of original
    essays dealing with various aspects of media's impact on public policy. Contributors
    include Doris Graber, Julio Borquez, Wenmouth Williams, Marion Just, Ann Crigler,
    Michael Hawthorne, Dean Alger, Jerry Medler, Michael Medler, Montague Kern, Robert
    Sahr, Holli Semetko, Edie Goldenberg, Patrick O'Heffernan, and Robert Spitzer.

    The Politics of Gun Control (New York: Chatham House, 1995; 2nd edition, 1998; 3rd
    edition, CQ Press, 2004; 4th ed. 2008; 5th ed., Paradigm/Routledge Publishers 2012; 6th
    ed., Routledge, 2015, 7th ed., 2018; 8th ed. 2021; 9th ed. 2024). A comprehensive political
    and policy analysis of the gun issue that applies policy theory to the key elements of the
    gun debate, including analysis of the Second Amendment, cultural-historical factors,
    interest group behavior, criminological consequences, legislative and executive politics.

    Editor, Politics and Constitutionalism: The Louis Fisher Connection, (Albany, NY:
    SUNY Press, 2000). A collection of original essays inspired by the works of Louis
    Fisher. Contributors include Neal Devins, Nancy Kassop, Dean Alfange, David Adler,
    Loch Johnson, Michael Glennon, Louis Fisher, and Robert Spitzer. Published as part of
    the SUNY Press Book Series on American Constitutionalism. Nominated by SUNY Press
    for the 2001 Silver Gavel Award of the American Bar Association.

    The Right to Bear Arms: Rights and Liberties Under the Law (Santa Barbara, CA: ABC-
    CLIO, 2001). An extensive analysis of the Second Amendment “right to bear arms” from
    legal, historical, and political perspectives. Published as part of the “America’s
    Freedoms” Series edited by Donald Grier Stephenson.

    Essentials of American Politics, co-authored with Benjamin Ginsberg, Johns Hopkins;
    Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 2002; 2nd edition,
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    The Presidency and the Constitution: Cases and Controversies, co-authored with Michael
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    Saving the Constitution from Lawyers: How Legal Training and Law Reviews Distort
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    Press, 2015; revised paperback ed. 2017); revised paperback edition published 2017.
    Argues that our understanding of the gun issue as it has evolved in the U.S. is upside
    down, looking at gun law history, the Second Amendment, stand your ground laws, and
    New York State gun laws.

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    rights, despite the fact that such a movement is contrary to our gun history by examining
    assault weapons, ammunition magazines, silencers, gun brandishing, and the Second
    Amendment sanctuary movement.

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    Books include:
           Daniel Hoffman, Our Elusive Constitution, (1997)
           Martin Sheffer, God and Caesar: Belief, Worship, and Proselytizing Under the
           First Amendment, (1999)
           Daniel Levin, Representing Popular Sovereignty: The Constitution in American
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                                    PageID.458




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    (Santa Barbara, CA: ABC-CLIO, 2003; second ed. 2011). Winner of the Booklist
    Editors’ Choice Award for 2003, American Library Association.

    Member, Board of Editors, Issues: Understanding Controversy and Society, ABC-CLIO,
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    Sandy Maisel (New York: Garland Pub., 1991): American Labor Party, Benjamin Bubar,
    closed primary, Conservative Party, cross-endorsement rule, Free Soil Party, Greenback
    Party, Liberal Party, Liberty Party, John V. Lindsay, Allard K. Lowenstein, open
    primary, Right to Life Committee, Right to Life Party, Prohibition Party, Alex Rose, split
    ticket voting, telethons, Mary Jane Tobin.

    Author of "Thought Boxes" for Theodore J. Lowi and Benjamin Ginsberg, American
    Government: Freedom and Power (NY: W.W. Norton, 1990, 1992, 1994, 1996, 1998); 50
    for 1st ed.; 30 additional for 2nd ed., 45 additional for 3rd ed.; 29 for 4th ed., 26 for 5th.

    "Executive Vetoes," in Encyclopedia of the American Legislative System, ed. by Joel
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    "Is the Separation of Powers Obsolete?" in The Presidency Reconsidered, ed. by Richard
    W. Waterman (Itasca, IL: F.E. Peacock, 1993); also in Understanding the Presidency, ed.
    by James Pfiffner and Roger Davidson (NY: Longman, 1997; 2nd ed. 2000; 3rd ed. 2002;
    4th ed. 2006).

    Seven entries in the Encyclopedia of the American Presidency, ed. by Leonard W. Levy
    and Louis Fisher (NY: Simon and Schuster, 1994), including “Council on Environmental
    Quality,” “Office of Intergovernmental Relations,” “Presentation Clause,” “Signing
    Statements,” “Item Veto,” “Pocket Veto,” “Regular Veto”.

    Two entries in the Encyclopedia of the United States Congress, ed. by Donald C. Bacon,
    Roger H. Davidson, and Morton Keller (NY: Simon and Schuster, 1994), including
    “Separation of Powers” and “Presidential Veto”.

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    the Conduct of American Foreign Policy, ed. by David Gray Adler, with an introduction
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    "Multi-Party Politics in New York," in Multi-Party Politics and American Democracy,
    ed. by Paul Herrnson and John Green (Rowman & Littlefield, 1997; revised for second
    edition, 2002).

    Author of “Cultures” and “Debates” boxes for Benjamin Ginsberg, Theodore Lowi, and
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                                           23
Case 1:24-cv-00496-JAO-WRP         Document 35-3        Filed 12/23/24     Page 76 of 174
                                     PageID.476




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                                          25
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                                           26
Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24      Page 79 of 174
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    "Election Laws, Registration and Voting: Some Recommendations," Testimony
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    "New York's Multi-Party System," a presentation given before members of the Mexican
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Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24     Page 80 of 174
                                      PageID.480




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    N.Y., October 29, 1982.

    "Comments and Recommendations on `The New York State Assembly: The Need for
    Improved Legislative Management,'" co-authored with Henry Steck, prepared for the
    New York State Assembly Republican Study Group, September, 1985.

    "Registration, Voting, and the New York Election Law," Testimony presented before the
    Governor's Task Force to Encourage Electoral Participation, World Trade Center, New
    York City, December 21, 1987.

    "The Pocket Veto and Sine Die Adjournments," Testimony presented to the Rules
    Committee, Subcommittee on the Legislative Process, House of Representatives,
    Washington D.C., July 26, 1989.

    "Issues Pertaining to the Pocket Veto," Testimony presented to the Judiciary Committee,
    Subcommittee on Economic and Commercial Law, House of Representatives,
    Washington, D.C., May 9, 1990.

    "The Stealth Veto: Does the President Already Possess Item Veto Powers?" Testimony
    presented to the Judiciary Committee, Subcommittee on the Constitution, U.S. Senate,
    Washington, D.C., June 15, 1994.

    “The Hidden History of the Second Amendment,” The National Press Club, Washington,
    D.C., May 12, 1998.

    “The Second Amendment: A Source of Individual Rights?” Testimony presented to the
    Judiciary Committee, Subcommittee on the Constitution, Federalism, and Property
    Rights, U.S. Senate, Washington, D.C., September 23, 1998.

    “The Gun Industry: The NRA’s Silent Partner,” National Press Briefing, Atlanta, GA,
    February 2, 1999.

    “Program Review: SUNY Oswego Political Science Department,” prepared as part of the
    department’s review and assessment process, March 2001.

    Meeting on Executive Order 13233, pertaining to presidential records access, hosted by
    Alberto Gonzales, Office of Legal Counsel, the White House, Washington, D.C.,
    December 7, 2001.

    Article (“Lost and Found: Researching the Second Amendment,” Chicago-Kent Law
    Review, 2000) cited as controlling authority by the U.S. Court of Appeals, Ninth Circuit,
    in the case of Silveira v. Lockyer (312 F.3d 1052; 9th Cir. 2002); 2002 U.S. App. LEXIS
                                             28
Case 1:24-cv-00496-JAO-WRP           Document 35-3         Filed 12/23/24      Page 81 of 174
                                       PageID.481




    24612.

    Coauthor, amicus curiae brief in the case of Nordyke v. King, U.S. Court of Appeals,
    Ninth Circuit, 319 F.3d 1185 (2003).

    White House meeting on changing standards regarding FOIA requests, access to
    Executive Branch documents, and presidential library design, hosted by White House
    Counsel Alberto Gonzales and White House Staff Secretary Brett Kavanaugh,
    Washington, D.C., July 17, 2003.

    Invited participant and panelist, “National Research Collaborative Meeting on Firearms
    Violence,” hosted by the Firearm and Injury Center at the University of Pennsylvania,
    and the Joyce Foundation, Philadelphia, PA, June 15-17, 2005.

    Program Review Report, SUNY Geneseo Political Science Department, March, 2009.

    Coauthor with Louis Fisher, amicus curiae brief in the case of Republic of Iraq et al. v.
    Beaty et. al., U.S. Supreme Court, filed March 25, 2009; case decided June 8, 2009 (556
    U.S. 848; 2009).

    Testimony on bills to enact early voting and other state voting reform measures before
    the New York State Senate Standing Committee on Elections, Syracuse, NY, May 14,
    2009.

    Co-author, amicus brief in the cases of NRA v. City of Chicago and McDonald v.
    Chicago, U.S. Supreme Court, argued March 2, 2010, decided June 28, 2010, 561 U.S.
    742 (2010).

    Consultant for plaintiffs in Conservative Party of New York and Working Families Party
    v. NYS Board of Elections (10 Civ. 6923 (JSR)), 2010, U.S. District Court for the
    Southern District of New York.

    Co-author, amicus brief in the case of Ezell v. Chicago, U.S. Court of Appeals for the
    Seventh Circuit, 651 F.3d 684 (2011).

    Co-author, amicus brief in the case of People of the State of Illinois v. Aguilar, Illinois
    Supreme Court, No. 08 CR 12069, 2012.

    Invited panelist and contributor to conference and report, Institute of Medicine and the
    National Research Council of the National Academies, “Committee on Priorities for a
    Public Health Research Agenda to Reduce the threat of Firearm-Related Violence,”
    National Academies Keck Center, 500 Fifth St., NW, Washington, DC, April 23, 2013.

                                             29
Case 1:24-cv-00496-JAO-WRP           Document 35-3        Filed 12/23/24     Page 82 of 174
                                       PageID.482




     “Perspectives on the ‘Stand Your Ground’ Movement,” Testimony submitted to the U.S.
     Senate Committee on the Judiciary, Subcommittee on the Constitution, Civil Rights and
     Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public Safety
     Implications of the Expanded Use of Deadly Force,” Washington, D.C., October 29,
     2013.

     Testimony on the Hearing Protection Act to deregulate gun silencers submitted to the
     U.S. House of Representatives Committee on Natural Resources, Subcommittee on
     Federal Lands, for Hearings on the Sportsmen’s Heritage and Recreational Enhancement
     Act (SHARE Act), Washington, D.C., September 12, 2017.

     Expert testimony submitted for the State of Massachusetts, Office of Attorney General, in
     the case of Worman v. Baker, No. 1:17-cv-10107-WGY, United States District Court for
     the District of Massachusetts, submitted September 15, 2017, challenging Massachusetts
     state assault weapons restrictions. In 2019 the U.S. Court of Appeals for the First Circuit
     upheld the Massachusetts law (922 F.3d 26).

     Member, Regional Gun Violence Research Consortium Organizing Committee, a Task
     Force organized by NY Governor Andrew Cuomo and the State Department of Education
     to research and investigate the causes of gun violence in a multi-state effort. February
     2018.

     Program Review Report, SUNY New Paltz Political Science and International Relations
     Departments, April 2019.

     Consultant on Facebook policies and actions regarding gun issues, Quonundrums Market
     Research for Facebook, August 17, 2021.

     Several of my publications cited in the case ruling of Duncan v. Bonta, U.S. Court of
     Appeals for the Ninth Circuit, November 30, 2021.


PAPERS AND PRESENTATIONS (NOT INCLUDING THOSE GIVEN ON THE
CORTLAND CAMPUS):

     "The President as Policy-Maker: The Arenas of Presidential Power from 1954 to 1974,"
     American Political Science Association, Washington, D.C., August 28-31, 1980.

     "The Right-to-Life Movement as a Third Party: The Policy Environment and Movement
     Politics," American Political Science Association, New York City, September 3-6, 1981.
     Reprinted by Rockefeller Institute for Governmental Studies Working Papers, Vol. I, No.
     4, September, 1982.

                                             30
Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24     Page 83 of 174
                                     PageID.483




    "Viable Democracy or the French Fourth Republic: Multi-Party Politics in New York,"
    New York State Political Science Association, Albany, April 6, 1984.

    "The Right-to-Life Movement as Partisan Activity," American Political Science Associa-
    tion, Washington, D.C., August 30 - September 2, 1984.

    "Biting the Bullet: Gun Control and Social Regulation," American Political Science
    Association, New Orleans, La., August 29 - September 1, 1985.

    "The Presidential Veto," Northeastern Political Science Association, Boston, MA,
    November 13-15, 1986.

    "Perspectives on the Presidential Veto Power: Antecedents and Evolution," Bicentennial
    Conference on the Presidency, co-sponsored by the Center for the Study of the
    Presidency, the Chautauqua Institution and Gannon University, Erie, PA, April 24-26,
    1987.

    "The Transformation of a Kingly Power: The Presidential Veto, Past and Present,"
    American Political Science Association, Chicago, IL, September 3-6, 1987.

    "The Pocket Veto: Expanding Presidential Prerogatives Through the Back Door,"
    American Political Science Association, Washington, D.C., September 1-4, 1988.

    "Liberalism and Juridical Democracy; or What's Interesting About Interest Group
    Liberalism," Western Political Science Association, Newport Beach, CA., March 22-24,
    1990.

    "Separation of Powers and the War Power," presentation sponsored by the Federalist
    Society, Cornell University School of Law, April 20, 1990.

    "Is the Separation of Powers Obsolete? An Inquiry into Critiques of the Congressional-
    Presidential Balance of Power," American Political Science Association, Washington,
    D.C., August 29-September 1, 1991.

    "Hate Speech and the College Campus," conference on Two Hundred Years of Free
    Expression, SUNY Oneonta, October 2-3, 1992.

    "From Presidential Shield to `Go Ahead, Make My Day': The Presidential Veto and the
    Constitutional Balance of Power," featured paper presenter for Fall 1992 Symposium on
    American Constitutionalism, Southwest Texas State University, San Marcos, TX,
    October 30, 1992.

    "The Reagan Presidency and the Veto Power: Symbols and Actions of the `Make-My-
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Case 1:24-cv-00496-JAO-WRP           Document 35-3        Filed 12/23/24      Page 84 of 174
                                       PageID.484




    Day' President," Southern Political Science Association, Savannah, GA, November 3-6,
    1993.

    "Tenure, Speech, and the Jeffries Case: A Functional Analysis," conference on academic
    Freedom and Tenure, sponsored by New York City Bar Association and Pace University
    Law School, New York City, March 8, 1994.

    "`It's My Constitution, and I'll Cry If I Want To': Constitutional Dialogue, Interpretation,
    and Whim in the Inherent Item Veto Dispute, " American Political Science Association,
    Chicago, August 31-September 3, 1995. Winner, 1996 Presidency Research Group
    Founders’ Award for Best Paper on the Presidency presented at the 1995 APSA. Paper
    received mention in the Washington Post, September 24, 1995.

    "Guns and Violence," presentation before Bryn Mawr Presbyterian Church Task Force on
    Violence, Bryn Mawr, PA, October 8, 1995.

    "Guns, Militias, and the Constitution," Distinguished Lecture Series, Utica College, Utica
    NY, March 26, 1996.

    "The Right to Bear Arms: A Constitutional and Criminological Analysis of Gun
    Control," the Cornell University School of Law, October 8, 1996.

    "The Veto King: The `Dr. No' Presidency of George Bush," Conference on the
    Presidency of George Bush, Hofstra University, Hempstead, NY, April 17-19, 1997.

    "Saving the Constitution from Lawyers," American Political Science Association,
    Washington, D.C., August 28-31, 1997.

    “Revolution, the Second Amendment, and Charlton Heston,” Gettysburg College,
    Gettysburg, PA, October 30, 1997.

    “Recent Developments in The Politics of Gun Control,” Gettysburg College, Gettysburg,
    PA, November 10, 1998.

    “The Second Amendment, Disarmament, and Arms Control,” Communitarian Summit,
    the Washington National Airport Hilton, Arlington, VA, February 27-28, 1999.

    “The Argument Against Clinton’s Impeachment,” Hyde Park Session, American Political
    Science Association, Atlanta, September 2-5, 1999.

    “Gun Politics After Littleton,” Gettysburg College, Gettysburg, PA, November 9, 1999.

    “Lost and Found: Researching the Second Amendment,” Symposium on “The Second
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Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24      Page 85 of 174
                                     PageID.485




    Amendment: Fresh Looks,” Chicago-Kent Law School and the Joyce Foundation,
    Chicago, April 28, 2000.

    “The Independent Counsel and the Presidency After Clinton,” American Political Science
    Association, Washington, D.C., August 31-September 3, 2000.

    “From Columbine to Santee: Gun Control in the 21st Century,” Idaho State University,
    Pocatello, Idaho, April 19, 2001.

    “Gun Control in the New Millennium,” Gettysburg College, Gettysburg, PA, November
    13, 2001.

    “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” A Presidency
    Transformed By Crises: The George W. Bush Presidency, SUNY Fredonia, NY, October
    17-18, 2002.

    “Gun Control and the Bush Presidency,” Gettysburg College, Gettysburg, PA, November
    21, 2002.

    “The Ashcroft Justice Department and the Second Amendment,” American Bar
    Association Annual Meeting, San Francisco, August 8-11, 2003.

    “The Bush Presidency and 9/11,” Keynote Address, Conference on 9/11, Cazenovia
    College, NY, September 11, 2003.

    “Report of the National Task Force on Presidential Communication to Congress,” co-
    author, Tenth Annual Texas A&M Conference on Presidential Rhetoric, George Bush
    Presidential Library and Conference Center, College Station, TX, March 4-7, 2004.

    “Don’t Know Much About History, Politics, or Law: Comment,” Conference on The
    Second Amendment and the Future of Gun Regulation, co-sponsored by the Fordham
    School of Law, the Second Amendment Research Center, and the John Glenn Institute
    for Public Service and Public Policy of the Ohio State University, April 13, 2004, New
    York City.

    “Bush vs. Kerry: Election of the Century?” Colgate University, Hamilton, NY, October
    20, 2004.

    “The Commander-in-Chief Power and Constitutional Invention in the Bush
    Administration,” a paper presented at a Conference on “Is the Presidency Dangerous to
    Democracy?”, Loyola Marymount University, Los Angeles, CA, February 7, 2005.

    Participant, “The Wheler Family Address on International Relations,” Academic
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Case 1:24-cv-00496-JAO-WRP         Document 35-3        Filed 12/23/24     Page 86 of 174
                                     PageID.486




    Conference on World Affairs, Cazenovia College, Cazenovia, NY, September 9, 2005.

    “What Ever Happened to Gun Control?”, Gettysburg College, Gettysburg, PA, November
    1, 2005.

    “Clinton and Gun Control: Boon or Bane?” a paper presented at the 11th Presidential
    Conference on William Jefferson Clinton, Hofstra University, Hempstead, NY,
    November 10-12, 2005.

    “George W. Bush and the Unitary Executive,” Keynote Address for “Quest,” SUNY
    Oswego Scholars Day, April 19, 2006.

    “Resolving Conflict with Intractable Foes: The Lessons of International Relations
    Theory Applied to the Modern Gun Control Debate,” Bryant University, Smithfield, RI,
    April 24, 2006.

    “The Unitary Executive and the Commander-in-Chief Power,” Conference on
    Presidential Power in America: The Constitution, the Defense of a Nation and the
    National Ethos, Massachusetts School of Law Conference Series, Andover, MA, October
    14-15, 2006.

    “The 2006 Elections,” LeMoyne College, Syracuse, NY, November 29, 2006.

    “In Wartime, Who Has the Power?” Symposium on Presidential Power and the Challenge
    to Democracy, Idaho State University, Pocatello, ID, April 26, 2007.

    “Saul Cornell’s Second Amendment: Why History Matters,” Conference on Firearms, the
    Militia and Safe Cities: Merging History, Constitutional Law, and Public Policy, Albany
    Law School, Albany, NY, October 18-19, 2007.

    “Gun Control and the 2008 Elections,” Third Annual Harry F. Guggenheim Symposium
    on Crime in America, John Jay College, New York City, December 3-4, 2007.

    “The Post-Cold War Vice Presidency,” Cornell Adult University, Cornell University,
    Ithaca, NY, July 31, 2008.

    “Is the Presidency Constitutional?” Roundtable panel on Restoring the Constitutional
    Presidency, APSA, Boston, August 28-31, 2008.

    “The Future of the American Presidency,” Board of the Bristol Statehouse, Bristol, RI,
    November 30, 2008.

    “Is the Constitutional Presidency Obsolete? The Future of the American Presidency,”
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Case 1:24-cv-00496-JAO-WRP        Document 35-3       Filed 12/23/24     Page 87 of 174
                                    PageID.487




    Symposium on The Future of the American Presidency, Regent University, Virginia
    Beach, VA, February 6, 2009.

    “The Failure of the Pro-Gun Control Movement,” SUNY Oneonta, March 19, 2009.

    “The Post-Bush Presidency and the Constitutional Order,” American Political Science
    Association, Toronto, Canada, September 3-6, 2009.

    “Inventing Gun Rights: The Supreme Court, the Second Amendment, and Incorporation,”
    SUNY Geneseo, March 24, 2010.

    “Intelligence Don’t Matter,” Keynote Address to Phi Kappa Phi Induction Ceremony,
    SUNY Cortland, April 17, 2010.

    “The Law and Politics of Gun Control after Tucson,” 6th Annual Harry Frank
    Guggenheim Symposium on Crime in America, conference on “Law and Disorder:
    Facing the Legal and Economic Challenges to American Criminal Justice,” John Jay
    College of Criminal Justice, CUNY, New York City, January 31-February 1, 2011.

    “Looking Ahead to the 2012 Elections,” Tompkins County Democratic Committee,
    Ithaca, NY, August 7, 2011.

    “Growing Executive Power: The Strange Case of the ‘Protective Return’ Pocket Veto,”
    American Political Science Association, Seattle, WA, September 1-4, 2011.

    “Gun Control and the Second Amendment,” OASIS Conference, Syracuse, NY, October
    3, 2011

    “Comparing the Constitutional Presidencies of George W. Bush and Barack Obama: War
    Powers, Signing Statements, Vetoes,” conference on “Change in the White House?
    Comparing the Presidencies of George W. Bush and Barack Obama,” Hofstra University,
    Hempstead, NY, April 19, 2012.

    “Watergate After 40 Years: Dick Cheney’s Revenge,” American Political Science
    Association, New Orleans, LA, August 30-September 2, 2012.

    “The Media, American Elections, and Democracy,” OASIS, Syracuse, NY, October 22,
    2012.

    “Hot Button Issues in the 2012 Presidential Campaign,” Hiram College Conference on
    the 2012 Elections, Hiram, Ohio, November 15-17, 2012.

    “Gun Legislation and Obstacles to Effective Gun Control,” Metropolitan Black Bar
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Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24     Page 88 of 174
                                     PageID.488




    Association, New York City Bar Association, November 29, 2012.

    “Guns and America,” Syracuse University, Syracuse, NY, February 19, 2013.

    “The Constitution Between Opponents,” conference on “The State of the Presidency,”
    Andrus Center for Public Policy, Boise State University, Boise, ID, February 28, 2013.

    “Gun Policy at a Crossroads,” Thursday Morning Roundtable, Syracuse, NY, March 7,
    2013.

    “Gun Policy Cycles and History,” Pediatric Grand Rounds at the Upstate Golisano
    Children’s Hospital, Syracuse, NY, March 13, 2013.

    “Gun Law and the Constitution,” Monroe County Bar Association, Rochester, NY,
    March 21, 2013.

    “The Architecture of the Gun Control Debate,” Goldfarb Center for Public Affairs, Colby
    College, Waterville, ME, April 2, 2013.

    “The Campbell Debates: This Assembly Supports the NY SAFE Act,” Syracuse
    University, April 5, 2013.

    “What has Sandy Hook Changed? The Evolving Gun Debate,” Reisman Lecture Series,
    Cazenovia College, Cazenovia, NY, April 17, 2013.

    “Gun Policy Change: Infringing Rights, or Following History?” Jefferson Community
    College, Watertown, NY, April 18, 2013.

    “Under the Gun,” Conference on “Gun Violence, Gun Laws, and the Media,” Center on
    Media, Crime and Justice, John Jay College of Criminal Justice, New York, May 14-15,
    2013.

    “Five Myths of the Gun Debate,” Lawman of the Year, Cortland County Lawman
    Committee, Cortland, NY, May 20, 2013.

    “Gun Law History,” Sterling Historical Society, Sterling, NY, June 27, 2013.

    “Analyzing the New York SAFE Act,” League of Women Voters Forum, Cortland, NY,
    September 12, 2013.

    “Constitution Day, the Second Amendment, and Guns,” OASIS, Syracuse, NY,
    September 16, 2013.

                                           36
Case 1:24-cv-00496-JAO-WRP        Document 35-3       Filed 12/23/24    Page 89 of 174
                                    PageID.489




    “The Second Amendment and Guns in America,” Values, Arts, and Ideas Series
    Constitution Day Speaker, Manchester University, North Manchester, Indiana, September
    17, 2013.

    “Live By History, Die By History: The Second Amendment, Heller, and Gun Policy,”
    Georgetown University, Washington, DC, October 18, 2013.

    “American Gun Policy,” “Gun Violence: A Comparative Perspective,” and “American
    History and Foreign Policy, 1960-1990,” King’s College, London, England; Southbank
    Centre, “Superpower Weekend,” November 8-11, 2013.

    “Gun Politics and the Electoral Process,” Oneida County Women’s Democratic Club and
    County Committee, Utica, NY, November 17, 2013.

    “The Second Amendment and the Hidden History of Gun Laws,” Institute for Legislative
    Studies, University of North Carolina, Greensboro, NC, November 20-21, 2013.

    “The Future of Gun Regulation After Newtown,” Fordham University, New York, NY,
    January 21, 2014.

    “The 2014 Elections: The End of the Obama Era?” 22nd Annual Chautauqua, Homer, NY,
    August 3, 2014.

    “New York State and the NY SAFE Act: A Case Study in Strict Gun Laws,” conference
    on “A Loaded Debate: The Right to Keep and Bear Arms in the 21st Century,” Albany
    Law School, Albany, NY, October 9, 2014.

    “Is Gun Control Un-American or at Least Unconstitutional?” Temple Concord, Syracuse,
    NY, October 14, 2014.

    “The American Gun Debate is Under Water,” TEDxCortland Talk, Hathaway House,
    Solon, NY, October 25, 2014.

    “The Unitary Executive and the Bush Presidency,” Conference on the Presidency of
    George W. Bush,” Hofstra University, Hempstead, NY, March 24-26, 2015.

    “Assessing the Obama Presidency,” Western Political Science Association, Las Vegas,
    NV, April 1-3, 2015.

    “Gun Laws, Gun Policies, and the Second Amendment,” Central New York Council of
    the Social Studies Professional Development Day Conference, Carnegie Conference
    Center, Syracuse, NY, October 20, 2015.

                                         37
Case 1:24-cv-00496-JAO-WRP        Document 35-3       Filed 12/23/24     Page 90 of 174
                                    PageID.490




    “The 2016 Elections,” The Cornell Club of Cortland County, November 17, 2015,
    Cortland, NY.

    “Gun Law History in the U.S. and Second Amendment Rights,” Conference on The
    Second Amendment: Legal and Policy Issues, New York University Law School and the
    Brennan Center for Justice, New York City, April 8, 2016.

    “The Presidential Elections,” The Century Club, June 7, 2016, Syracuse, NY.

    “The 2016 Elections,” Chautauqua, August 3, 2016, Homer, NY.

    “The 2016 Elections” Cortland Rotary, Cortland, N.Y. September 20, 2016.

    “The 2016 Elections,” Cortland Community Roundtable, October 6, 2016.

    “TrumPocalypse 2016,” Finger Lakes Forum, Geneva, N.Y., October 16, 2016.

    “The 2016 Elections,” Homer Congregational Church, Homer, N.Y., October 30, 2016.

    “Had Enough? Only Five More Days,” OASIS, November 3, 2016, Syracuse, N.Y.

    “Guns for Everyone?” OASIS, November 14, 2016, Syracuse, N.Y.

    “College and Life: Really the Same,” SUNY Cortland Commencement Address, May 14,
    2017.

    “Sizing Up the Trump Presidency,” Cortland County Democratic Party, June 1, 2017.

    “Understanding Impeachment,” Ladies Literary Society, Lafayette, NY, June 7, 2017.

    “Guns Across America,” Ithaca College, Ithaca, NY, September 21, 2017.

    Guest panelist, “Gun Studies Symposium,” University of Arizona, Tucson, AZ, October
    20, 2017.

    “Gun Policy and Schools After Parkland,” SUNY Student Assembly Annual Conference,
    Syracuse, NY, April 7, 2018.

    “Gun Laws, History, and the Second Amendment: What Does the Constitution Allow?”
    Clemson University, SC, April 17, 2018.

    “Gun Violence and the History of Gun Laws,” League of Women Voters of Tompkins
    County, Ithaca, NY, May 23, 2018.
                                         38
Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24     Page 91 of 174
                                      PageID.491




    “The Unknown History of Gun Laws in America,” Madison-Chenango Call to Action,
    Hamilton, NY, June 20, 2018.

    “It’s All Academic: The Meaning of the Second Amendment Versus Heller,” Conference
    on “The Second Amendment: Its Meaning and Implications in Modern America,”
    Lincoln Memorial University School of Law, Knoxville, TN, January 18, 2019.

    “Mulling Over the Mueller Report,” Indivisible Cortland County, Homer, NY, June 15,
    2019.

    “Gun Accessories and the Second Amendment: Assault Weapons, Magazines, and
    Silencers,” Symposium on Gun Rights and Regulation Outside the Home, Duke
    University, Durham, NC, September 27, 2019.

    “Gun Policy 101: What Policymakers and the Public Need to Know,” Rockefeller
    Institute of Government, Albany, NY, October 1, 2019.

    Guest expert, Federalist Society Teleforum on New York State Rifle and Pistol
    Association v. NYC, November 22, 2019.

    “To Brandish or Not to Brandish: The Consequences of Gun Display,” Duke University
    Law School Conference on Historical Gun Laws, June 19, 2020 (virtual).

    “The 2020 Elections,” Cortland Country Club, October 14, 2020.

    Panelist, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
    Chicago, April 14-17, 2021 (virtual).

    “Gun Violence,” Beaches Watch, Florida, August 4, 2021 (virtual).

    “Challenging Conversations: Gun Control,” Lockdown University (virtual), April 5,
    2022.

    “Scholars’ Circle: Gun Control,” June 30, 2022 (virtual).

    “Gun Rules and Regulations,” Clubhouse AverPoint, July 2, 2022 (virtual).

    “A Nation in Crisis: Are Guns the Problem?” Center for Ethics and Human Values’ Civil
    Discourse Forum, The Ohio State University, Columbus, OH, September 23, 2022.

    “Explaining the 2022 Midterm Elections,” OSHER Lifelong Learning Institute at the
    College of William and Mary, Williamsburg, Va., October 13, 2022.
                                         39
Case 1:24-cv-00496-JAO-WRP          Document 35-3         Filed 12/23/24      Page 92 of 174
                                      PageID.492




    “The Gun Rights 2.0 Movement: Public Policy Consequences,” 2022 National Research
    Conference on Firearm Injury Prevention, Omni Shoreham Hotel, Washington, D.C.,
    November 29-December 1, 2022.

    “Gun Law History in America,” OSHER Lifelong Learning Institute at the College of
    William and Mary, Williamsburg, Va., February 16, 2023.

    “The Obama Presidency and Gun Policy,” Paper Presented for Hofstra University’s 13th
    Presidential Conference on The Barack Obama Presidency, Hempstead, NY, April 19-21,
    2023. Archived with selected conference papers at: https://www.hofstra.edu/cultural-
    center/obama/; https://www.hofstra.edu/sites/default/files/2024-02/spitzer-paper.pdf

    “Gun Law History and Virginia,” League of Women Voters, Williamsburg, Va., June 22,
    2023.

    “Gun Policy in the U.S.: Past, Present, Future,” College of William and Mary,
    Williamsburg, Va., September 21, 2023.

    “Historical Gun Laws Pertaining to Minors,” 2023 Cooper-Walsh Colloquium,
    Conference on Public Health, History, and the Future of Gun Regulation After Bruen,
    Fordham University School of Law, New York City, NY, October 12-13, 2023.

    “Presidential Impeachment: What It Is, How It Works, Why It Matters,” OSHER
    Lifelong Learning Institute at the College of William and Mary, Williamsburg, Va.,
    October 19, 2023.

    “The Politics of Gun Control,” TORCH Club of Williamsburg, VA, January 16, 2024.

    “Gun Law History in America and Virginia,” OSHER Lifelong Learning Institute at the
    College of William and Mary, Williamsburg, Va., February 21, 2024.


    PANEL PARTICIPATION:

    Discussant, "Historical Transformations of Political Institutions in the U.S.," Social
    Science History Association, Rochester, N.Y., November 7-9, 1980.

    Chair, "The Political Economy of Single Issue Movements," 1981 American Political
    Science Association, New York City, September 3-6.

    Discussant, "New York Republicans: An Emerging Majority Party?", New York State
    Political Science Association, Albany, N.Y., April 2-3, 1982.
                                           40
Case 1:24-cv-00496-JAO-WRP         Document 35-3        Filed 12/23/24     Page 93 of 174
                                     PageID.493




    Round table panel member, "Perspectives on the Reagan Administration," New York
    State Political Science Association, New York, N.Y., April 8-9, 1983.

    Discussant, "Toward a Theory of the Chief Executive," 1983 American Political Science
    Association, Chicago, Ill., September 1-4, 1983.

    Chair and Discussant, "Political Parties and Party Organization," 1984 American Political
    Science Association, Washington, D.C., August 30 - September 2, 1984.

    Discussant, "Reforming the Presidential Selection Process,” New York State Political
    Science Association, New York, N.Y., April 25-26, 1985.

    Chair, "Theoretical Approaches to Policy Concerns," American Political Science
    Association, New Orleans, La., August 29 - September 1, 1985.

    Discussant, "Perspectives on Presidential Influence," American Political Science
    Association, New Orleans, La., August 29 - September 1, 1985.

    Discussant, "The Item Veto," American Political Science Association, New Orleans, La.,
    August 29 - September 1, 1985.

    Chair, "Mobilizing Interests on National Policies," American Political Science
    Association, Washington, D.C., August 28-31, 1986.

    Discussant, "The News Media and American Politics," American Political Science
    Association, Washington, D.C., August 28-31, 1986.

    Chair, "Perspectives on the Bicentennial of the U.S. Constitution," New York State
    Political Science Association, New York City, April 3-4, 1987.

    Discussant, "The Presidency in Comparative Perspective," and "Media and Models of
    Public Policy-Making," American Political Science Association, Atlanta, Aug. 31 - Sept.
    3, 1989.

    Discussant, "Presidents and Economic Interests," American Political Science
    Association, Washington, D.C., August 29 - September 1, 1991.

    Panel Chair, "The Presidential Role in Policy Making," American Political Science
    Association, Chicago, September 3-6, 1992.

    Discussant, "Presidential Influence on Congress," American Political Science
    Association, Washington, D.C., September 2-5, 1993.
                                            41
Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24     Page 94 of 174
                                     PageID.494




    Discussant, "Bureaucratic Politics," Southern Political Science Association, November 3-
    6, 1993.

    Discussant, "The President's Extra-Constitutional Power," American Political Science
    Association, New York City, September 1-4, 1994.

    Discussant, "Roundtable on the President and Congress in a Republican Age," Western
    Political Science Association, San Francisco, March 14-16, 1996.

    Chair, "Militias, the Second Amendment, and the State: Constitutional, Social, and
    Historical Implications," American Political Science Association, San Francisco, August
    29-September 1, 1996.

    Chair, "Roundtable on Teaching the Presidency," American Political Science
    Association, August 29-September 1, 1996.

    Chair, "The Constitutionalism and Presidentialism of Louis Fisher," American Political
    Science Association, Washington, D.C., August 28-31, 1997.

    Chair, “The President as Legislative Leader,” American Political Science Association,
    Boston, September 3-6, 1998.

    Chair, Roundtable on “Memo to the President,” American Political Science Association,
    Atlanta, September 2-5, 1999.

    Discussant, “Firearms in the U.S.,” Midwest Political Science Association, Chicago,
    April 27-30, 2000.

    Chair and discussant, Roundtable on “Is the Presidency Changed?” APSA, San
    Francisco, August 30-September 2, 2001.

    Chair and discussant, “Presidential Use of Strategic Tools,” APSA, Boston, August 29 -
    Sept. 1, 2002.

    Discussant, “Executing the Constitution,” APSA, Boston, August 29 - Sept. 1, 2002.

    Chair, “Marketing the President,” APSA, Philadelphia, August 28-31, 2003.

    Discussant, “Media Coverage of the Presidency,” APSA, Philadelphia, August 28-31,
    2003.

    Chair and discussant, “Does Presidential Leadership in Foreign Policy Matter?” APSA,
                                           42
Case 1:24-cv-00496-JAO-WRP          Document 35-3      Filed 12/23/24     Page 95 of 174
                                      PageID.495




    Chicago, September 2-5, 2004.

    Roundtable member, “The Ins and Outs of Obtaining a Book Contract,” APSA, Chicago,
    September 2-5, 2004.

    Discussant, “Presidential Power: Lessons From the Past,” APSA, Washington, D.C.,
    September 1-4, 2005.

    Chair and Discussant, “The Unitary Executive in a Separated System,” APSA,
    Philadelphia, August 31-September 3, 2006.

    Panel chair, “The Culpability of Congress,” Conference on Presidential Power in
    America: The Constitution, the Defense of a Nation and the National Ethos,
    Massachusetts School of Law Conference Series, Andover, MA, October 14-15, 2006.

    Panel chair, “Keeping the Modern Presidency in Check and Balance,” APSA, Chicago,
    August 30-September 2, 2007.

    Discussant, “Presidential Endings: George W. Bush and the Final Two Years,” APSA,
    Chicago, August 30-September 2, 2007.

    Discussant, “Staffing and Decisionmaking in the White House,” APSA, Boston, August
    28-31, 2008.

    Panel Chair, “Early Assessments of the Obama Presidency,” APSA, Washington, D.C.,
    September 2-5, 2010.

    Discussant, “Historical Perspectives on the Presidency,” APSA, Chicago, August 29-
    Sept. 1, 2013.

    Discussant, “Politics and Presidential Travel,” APSA, Washington, D.C., August 27-31,
    2014.

    Discussant, “The Obama Presidency and Constitutional Law,” APSA, San Francisco,
    Sept. 3-6, 2015.

    Discussant, “Presidents, the Courts and the Law,” APSA, Philadelphia, Sept. 1-4, 2016.

    Discussant, “Executive Power and Democratic Functioning in the Trump Era,” APSA,
    Boston, MA, August 30-September 2, 2018.

    Panel chair, “Assessing the Presidency of Donald Trump,” APSA, Washington, DC,
    August 29-September 1, 2019.
                                           43
Case 1:24-cv-00496-JAO-WRP         Document 35-3        Filed 12/23/24     Page 96 of 174
                                     PageID.496




    Roundtable, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
    April 17, 2021 (virtual).

    Roundtable, “Guns and the Political Moment: Political Violence, Self-Defense, and
    Reckoning with Race,” Midwest Political Science Association, Chicago, April 7, 2022.


    BOOK REVIEWS:

    The American Presidency, by Richard M. Pious, reviewed in The Journal of Politics,
    November, 1979.

    The Politics of Mistrust, by Aaron Wildavsky and Ellen Tenenbaum, reviewed in
    Administrative Science Quarterly, December, 1981.

    Review essay, The President as Policymaker, by Laurence E. Lynn and David DeF.
    Whitman, review essay in Administrative Science Quarterly, March, 1982.

    PL94-142: An Act of Congress, by Erwin L. Levine and Elizabeth M. Wexler, reviewed
    in the American Political Science Review, June, 1982.

    Pure Politics and Impure Science, by Arthur M. Silverstein, reviewed in Administrative
    Science Quarterly, June, 1984.

    Review essay, The President's Agenda, by Paul Light, reviewed in Administrative
    Science Quarterly, September, 1984.

    The Evolution of American Electoral Systems, by Paul Kleppner, et al., reviewed in the
    American Political Science Review, December, 1983.

    A Case of Third Party Activism, by James Canfield, reviewed in Perspective, July-
    August, 1984.

    Winners and Losers: Campaigns, Candidates and Congressional Elections, by Stuart
    Rothenberg, reviewed in the American Political Science Review, December, 1984.

    The Political Presidency, by Barbara Kellerman, reviewed in Perspective, January-
    February, 1985.

    Presidents and Promises, by Jeff Fishel, reviewed in the American Political Science
    Review, December, 1985.

                                           44
Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24      Page 97 of 174
                                      PageID.497




    The Elections of 1984, ed. by Michael Nelson, reviewed in Perspective, May/June, 1985.

    Economic Conditions and Electoral Outcomes, by Heinz Eulau and Michael S. Lewis-
    Beck, reviewed in Perspective, May/June, 1986.

    Presidential Transitions: Eisenhower Through Reagan, by Carl M. Brauer, in
    Perspective, January/February, 1987.

    Religion and Politics in the United States, by Kenneth D. Wald, in Journal for the
    Scientific Study of Religion, September, 1988.

    Abortion and Divorce in Western Law, by Mary Ann Glendon, in The Annals of the
    American Academy of Political and Social Science, September, 1988.

    The American Political Economy, by Douglas Hibbs, in Perspective, Spring, 1988.

    God in the White House, by Richard G. Hutcheson, Jr., in Perspective, Fall, 1988.

    The Reagan Legacy, Charles O. Jones, ed., in Social Science Quarterly, June, 1989.

    Dilemmas of Presidential Leadership From Washington Through Lincoln by Richard
    Ellis and Aaron Wildavsky, in Perspective, September, 1989.

    Taming the Prince by Harvey Mansfield, Jr., in Governance, April, 1990.

    Public Policy and Transit System Management, ed. by George M. Guess, in Perspective,
    Spring, 1991.

    The Myth of Scientific Public Policy, by Robert Formaini, in Perspective, Winter, 1992.

    The Bush Presidency: First Appraisals, ed. by Colin Campbell and Bert Rockman in
    Public Administration Review, May/June, 1992.

    The Illusion of a Conservative Reagan Revolution, by Larry Schwab, in Policy Currents,
    May, 1992.

    The Vital South: How Presidents Are Elected, by Earl Black and Merle Black, in
    Perspective, Fall, 1993.

    The Presidential Pulse of Congressional Elections, by James E. Campbell, in The Journal
    of American History, March, 1995.

    Out of Order, by Thomas Patterson, in Presidential Studies Quarterly, Summer, 1994.
                                          45
Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24    Page 98 of 174
                                      PageID.498




    Congress, the President, and Policymaking, by Jean Schroedel, in the American Political
    Science Review, December, 1994.

    The President and the Parties, by Sidney Milkis, in Governance, January 1995.

    The Myth of the Modern Presidency, by David K. Nichols, PRG Report, Spring, 1995.

    The End of the Republican Era, by Theodore Lowi, The Journal of American History,
    December, 1995.

    Strategic Disagreement: Stalemate in American Politics by John B. Gilmour, in
    Governance (9), 1996.

    Rivals For Power: Presidential-Congressional Relations, by James Thurber, in American
    Political Science Review, March, 1997.

    American Presidential Elections, ed. by Harvey Schantz, in Perspectives, Spring 1997.

    The Power of Separation by Jessica Korn, in Congress & the Presidency, Spring 1997.

    Strong Presidents by Philip Abbott, in Perspective, Fall 1997.

    Other People’s Money: Policy Change, Congress, and Bank Regulation, by Jeffrey
    Worsham, in Perspectives, Spring 1998.

    A Third Choice, in Journal of American History, December 1998.

    Politics, Power and Policy Making: The Case of Health Care Reform in the 1990s, by
    Mark Rushefsky and Kant Patel in Perspectives, Winter 1999.

    The Paradoxes of the American Presidency, by Thomas Cronin and Michael Genovese,
    for the American Political Science Review, March 1999.

    Republic of Denial, by Michael Janeway, for Perspectives, Spring 2000.

    The Art of Political Warfare, by John Pitney, Rhetoric and Public Affairs, Summer 2001.

    Arming America, by Michael Bellesiles, Congress Monthly, January/February 2002.

    Gun Violence in America by Alexander DeConde, Law and Politics Book Review,
    August 2001; also in Historynewsnetwork.org, 8/01.

                                            46
Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24     Page 99 of 174
                                     PageID.499




    Presidents as Candidates, by Kathryn D. Tenpas, in Rhetoric and Public Affairs, Spring
    2002.

    The Trouble With Government, by Derek Bok, Perspectives, Spring 2002.

    King of the Mountain, by Arnold M. Ludwig, Rhetoric and Public Affairs, Winter 2002.

    Power, the Presidency, and the Preamble, by Robert M. Saunders, Presidential Studies
    Quarterly, December 2002.

    Presidents, Parliaments, and Policy, ed. by Stephen Haggard and Mathew McCubbins,
    Perspectives, Winter 2003.

    The Modern American Presidency, by Lewis L. Gould, Rhetoric and Public Affairs.

    Watergate: The Presidential Scandal that Shook America, by Keith W. Olson,
    Perspectives, Summer 2003.

    The Militia and the Right to Arms, or, How the Second Amendment Fell Silent, by H.
    Richard Uviller and William G. Merkel, Journal of American History, March 2004.

    Power Without Persuasion: The Politics of Direct Presidential Action, by William G.
    Howell, Perspectives on Politics, June 2004.

    The George W. Bush Presidency: An Early Assessment, ed. By Fred Greenstein,
    Perspectives, Spring 2004.

    The Invention of the United States Senate, by Daniel Wirls and Stephen Wirls,
    Perspectives, Summer 2004.

    The Mythic Meanings of the Second Amendment, by David C. Williams, Law and
    Politics Book Review, April 2004.

    Empowering the White House, by Karen M. Hult and Charles E. Walcott, Rhetoric and
    Public Affairs, Fall 2005.

    Defining Americans: The Presidency and National Identity, by Mary E. Stuckey,
    Perspectives, Spring 2005.

    Presidential Leadership: Rating the Best and Worst in the White House, ed. By James
    Taranto and Leonard Leo, Rhetoric and Public Affairs, Summer 2006.

    A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
                                         47
Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24      Page 100 of 174
                                      PageID.500




     America, by Saul Cornell, American Journal of Legal History, October 2006.

     The Founders’ Second Amendment: Origins of the Right to Bear Arms, by Stephen
     Halbrook, Law and Politics Book Review 18(October 2008).

     Out of the Shadow: George H.W. Bush and the End of the Cold War, by Christopher
     Maynard, Journal of American History (September 2009).

     Guns, Democracy, and the Insurrectionist Idea, by Joshua Horwitz, Law and Politics
     Book Review 19(June 2009).

     Talking Together, by Lawrence Jacobs, Fay Lomax Cook, and Michael Delli Carpini,
     dailykos.com, posted June 20, 2009, with Glenn Altschuler.

     Accidental Presidents, by Philip Abbott, Presidential Studies Quarterly, June 2010.

     The Co-Presidency of Bush and Cheney, by Shirley Anne Warshaw, Congress and the
     Presidency, 2010.

     Crisis and Command: The History of Executive Power from George Washington to
     George W. Bush, by John Yoo, Presidential Studies Quarterly (December 2010).

     Declaring War: Congress, the President, and What the Constitution Does Not Say, by
     Brien Hallett, Law and Politics Book Review 22(November 2012).

     Congress vs. the Bureaucracy: Muzzling Agency Public Relations, by Mordecai Lee, The
     Journal of American History (December 2012).

     Arming and Disarming, by R. Blake Brown, Law and History Review (November 2013).

     Reclaiming Accountability: Transparency, Executive Power, and the U.S. Constitution,
     by Heidi Kitrosser, Congress and the Presidency 42(2015).

     The Six-Shooter State: Public and Private Violence in American Politics by Jonathan
     Obert and The Lives of Guns ed. by Jonathan Obert, Andrew Poe and Austin Sarat,
     Perspectives on Politics 17(September 2019).

     The Toughest Gun Law in the Nation by James B. Jacobs and Zoe Fuhr, Criminal Law
     and Criminal Justice Books, March 2020.

     Warped Narratives: Distortion in the Framing of Gun Policy by Melissa K. Merry,
     Perspectives on Politics 18(September 2020).

                                            48
Case 1:24-cv-00496-JAO-WRP         Document 35-3       Filed 12/23/24     Page 101 of 174
                                     PageID.501




     The Uses and Misuses of Politics: Karl Rove and the Bush Presidency by William G.
     Mayer, Presidential Studies Quarterly (December 2022).


SELECTED MEDIA APPEARANCES/QUOTATIONS:

     NBC’s “Today Show”; ABC’s “Good Morning America” and “Network Nightly News”;
     PBS’s “News Hour”; CNN’s “Lou Dobbs,” “NewsStand,” “CNN & Co.” CNN’s HLN,
     and “Insight”; CNBC’s “Upfront Tonight”; MSNBC’s “Countdown with Keith
     Olbermann,” “All In With Chris Hayes,” “Ali Velshi”; “Fresh Air With Terry Gross,”
     “The Diane Rehm Show,” 1A with Joshua Johnson, NPR; NHK Television (Japan);
     CGTN (China), documentary films “Guns and Mothers” (PBS, 2003), “Under the Gun”
     (Katie Couric Film Company, Epix, 2016), “The Price of Freedom” (Flatbush
     Pictures/Tribeca Films, 2021). Quoted in or by the New York Times, the Washington
     Post, Time Magazine, Newsweek, Der Spiegel (Germany), USA Today, the Los Angeles
     Times, the Wall Street Journal, the Christian Science Monitor, the Boston Globe, the
     Chicago Tribune, the Philadelphia Inquirer, the Miami Herald, Houston Chronicle, the St.
     Louis Post-Dispatch, San Francisco Chronicle, the Dallas Morning News, the Baltimore
     Sun, the Detroit Free Press, the Seattle Post-Intelligencer, Newsday, the Denver Post,
     Kansas City Star, Dallas News, Pittsburgh Post-Gazette, New Orleans Times Picayune,
     Orlando Sentinel, Columbus Dispatch, Buffalo News, San Jose Mercury News, Albany
     Times-Union, St. Petersburg Times, Arkansas Democrat-Gazette, Newark Star-Ledger,
     Bergen Record, Congress Daily, The Hill, CQ Report, Rolling Stone, The Nation, Ladies
     Home Journal, the National Journal, The Spectator, Legal Times, Financial Times,
     Toronto Globe, al Jazeera, Reuters, Bloomberg News, Knight Ridder, AP, Gannett,
     Newhouse, Scripps Howard, McClatchy, Hearst, the BBC (Britain), CBC (Canada), the
     Voice of America, Radio Free Europe, ABC News Online, Fox News Online, National
     Public Radio, CBS Radio, media outlets in South Korea, India, Brazil, Denmark, Spain,
     France, Norway, Germany.

     Regular panelist on “The Ivory Tower,” a weekly public affairs program broadcast on
     WCNY-TV, Syracuse, NY, from 2002-2021. A half hour discussion of the week’s events
     conducted by five academics from area colleges.


PROFESSIONAL ASSOCIATIONS:

     Scholars Strategy Network.
     American Political Science Association.
     Center for the Study of the Presidency.
     Presidents and Executive Politics Section (formerly the Presidency Research Group),
            APSA; served on Governing Board of PRG, 1991 to 2003.
     New York Political Science Association.
                                             49
Case 1:24-cv-00496-JAO-WRP           Document 35-3        Filed 12/23/24     Page 102 of 174
                                       PageID.502




       Pi Sigma Alpha.
       Phi Kappa Phi.


TEACHING AREAS:

       American Government: courses taught include Law and Politics, Introduction to
             American Government, The Legislative Process, Political Parties and Social
             Movements, The American Presidency, Media and Politics, Gun Control Politics
             and Policy, State and Local Government, Abortion Politics, Elections and
             American Politics, Media and War, internships in Washington, D.C., Albany, and
             Cortland County, Seminars on the Decline of Parties and Third Parties, American
             Institutions, Current Developments in American Politics, and Introduction to
             College Life.

              Public Policy: courses taught include Politics and Policy, Introduction to Public
              Policy, Gun Policy. Areas of interest include policy theory, policy formation and
              decisionmaking, and policy implementation.


TEACHING-RELATED AWARDS:

       Three-time recipient of the SUNY Cortland Student Government Association
       Outstanding Faculty Award (the "DiGiusto Award"), 1987, 1991, and 2003, for
       "Outstanding Service to Students." (The only faculty member ever to win this award
       more than once.)


OTHER PROFESSIONAL ACTIVITIES

External Reviewer, University of Michigan-Dearborn, Project to Expand Promotion and Tenure
Guidelines (PTIE) to Inclusively Recognize Innovation and Entrepreneurial Impact, 2021.

Member, Howard Penniman Graduate Scholarship Selection Committee, Pi Sigma Alpha, 2018.

Member, Advisory Board of Pi Sigma Alpha Undergraduate Journal of Politics, 2014-2016.

Executive Council, Pi Sigma Alpha National Board, 2014-18.

Fund and organizing leader for American Political Science Association’s new Distinguished
Teaching Award, 2011-12.

Chair, Presidency Research Group Task Force on Membership and Recruitment, 2007-08.
                                            50
Case 1:24-cv-00496-JAO-WRP            Document 35-3        Filed 12/23/24     Page 103 of 174
                                        PageID.503




Chair, Richard E. Neustadt Award Committee for Best Book on the Presidency published in
       2005, Presidency Research Group, 2006.

President, Presidency Research Group, American Political Science Association, 2001-2003;
       Vice-President 1999-2001.

Chair, Best Paper Award Committee, Presidency Research Group, American Political Science
       Association, for 1991 and 1992 conferences.

Member, Governing Board of the Presidency Research Group of the American Political Science
     Association, 1991-2003.

Editor, PRG Report, 1993-1997.

Board of Editors, State University of New York Press, 1993-1996; 1997-2000. Board Chair,
       1998-2000.

Member, Leonard D. White Award Committee for Best Dissertation in Public Administration,
     American Political Science Association, 1995.

Conference Organizing Committee, "Presidential Power: Forging the Presidency for the 21st
       Century," Columbia University, November 15-16, 1996.

Chair, E.E. Schattschneider Award Committee, best doctoral dissertation in American Politics,
       American Political Science Association, 1997.

Secretary/Treasurer, Presidency Research Group, 1997-99.

Book and article reviews for Houghton Mifflin, Cengage Learning, Random House, McGraw-
Hill, St. Martins, W.W. Norton, Oxford University Press, Cambridge University Press,
University of Chicago Press, University of California Press, Princeton University Press, Cornell
University Press, UNC Press, Pearson Longman, Allyn & Bacon, Palgrave/Macmillan,
University of New Mexico Press, Texas A&M University Press, Chatham House, CQ Press,
HarperCollins, SUNY Press, Thompson Wadsworth, University of Michigan Press, University of
Missouri Press, Westview Press, Brooking Institution, Rowman and Littlefield, Routledge,
University of Alabama Press, American Political Science Review, PS, Comparative Politics,
American Journal of Political Science, Policy Studies Journal, Policy Studies Review, Political
Science Quarterly, the Journal of Politics, Western Political Quarterly, Polity, Social Science
Quarterly, Political Behavior, American Politics Quarterly, Political Communication, Legislative
Studies Quarterly, Government and Policy, Congress and the Presidency, Social Science Journal,
Journal of Policy History, Political Research Quarterly, Presidential Studies Quarterly, Politics
and Policy, and the National Science Foundation.
                                                51
Case 1:24-cv-00496-JAO-WRP          Document 35-3       Filed 12/23/24    Page 104 of 174
                                      PageID.504




SELECTED COMMUNITY SERVICE

Administrative Law Judge/Hearing Officer for Cortland County Board of Health, 1994-present;
for Tompkins County, 1997-present; for Chenango County, 1997-present; for Madison County,
2006-2021.

Member, City of Cortland Planning Commission, 2009-2012.

Chair, SUNY Press Board of Editors, 1998-2000 (board member 1993-96, 1997-2000).
Board President, Cortland County Arts Council, 1989-1990 (board member, 1987-1990).

Chair, Homer Zoning Board of Appeals, 1995-1997; board member 1988-1997.

Board member, Cortland County Landmark Society, 1989-1995.

Chair, Planning Committee on Codes and Safety for the village of Homer's (N.Y.) Odyssey 2010
Project, 1996.




                                            52
Case 1:24-cv-00496-JAO-WRP   Document 35-3   Filed 12/23/24   Page 105 of 174
                               PageID.505




       EXHIBIT
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 106 of 174
                                          PageID.506


                                          EXHIBIT B

                 GUN/WEAPONS RESTRICTIONS FOR MINORS

ALABAMA

1856 Ala. Acts 17, To Amend the Criminal Law, §1. (855 Ala. Laws 17)
That anyone who shall sell or give or lend, to any male minor, a bowie knife, or knife or
instrument of the like kind or description, by whatever name called, or air gun or pistol, shall, on
conviction be fined not less than three hundred, nor more than one thousand dollars.

George Washington Stone, The Penal Code of Alabama, Montgomery, 1866 Page 63, Image 63
(1866) available at The Making of Modern Law: Primary Sources. 1866
Miscellaneous Offenses § 204. Selling or giving fire-arms to minor. – Any person who sells,
gives, or lends to any boy under eighteen years of age, any pistol, or bowie-knife, or other knife
of like kind or description, must, on conviction, be fined not less than fifty, nor more than five
hundred dollars.

Wade Keyes, The Code of Alabama, 1876: with References to the Decisions of the Supreme
Court of the State upon the Construction of the Statutes; and in Which the General and
Permenent Acts of the Session of 1876-7 have been Incorporated Page 901, Image 917 (1877)
available at The Making of Modern Law: Primary Sources. 1877
Offenses Against Public Health, etc. § 4230 (3751). Selling, giving, or lending, pistol or bowie
knife, or like knife, to boy under eighteen. – Any person who sells, gives, or lends, to any boy
under eighteen years of age, any pistol, or bowie knife, or other knife of like kind or description,
must on conviction, be fined not less than fifty, nor more than five hundred dollars.

ARIZONA

Laws regulating the sale of firearms to minors and Native Americans, Title 10, §§ 342 & 362 of
AZ Penal Code in The Revised Statutes of Arizona Territory (1901).
Sec. 342. Any person who shall sell or give to any minor under the age of fourteen years, or to
any person for the use of such minor, any firearms, or toy pistols from which dangerous and
explosive substances may be discharged, shall be deemed guilt...

CALIFORNIA

L. W. Moultrie, City Attorney, Charter and Ordinances of the City of Fresno, 1896 Page 37,
Image 35 (1896) available at The Making of Modern Law: Primary Sources. 1896
Misdemeanors. Section 53. No junk-shop keeper or pawnbroker shall hire, loan or deliver to any
minor under the age of 18 years any gun, pistol or other firearm, dirk, bowie-knife, powder, shot,
bullets or any weapon, or any combustible or dangerous material, without the written consent of
the parent or guardian of such minor.

CONNECTICUT


                                                 2
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 107 of 174
                                          PageID.507


The By-Laws of the City of New London, with the Statute Laws of the State of Connecticut
Relative to Said City Page 47-48, Image 47-48 (1855) available at The Making of Modern Law:
Primary Sources. 1835
Chapter 26. A ByLaw in relation to the Firing of Guns and Pistols, within the limits of the city of
New-London, and making parents and guardians, and masters, liable for breaches of by-laws by
minors and apprentices. Be it ordained by the mayor and aldermen, and common council and
freemen of the city of New-London, That no gun or pistol shall be fired at any time within the
limits of said city, unless on some public day of review, and then by order of the officers of the
military companies of said city, or by permission of the mayor, or one of the aldermen of said
city; and whosoever shall fire any gun or pistol, contrary to the form and effect of this by-law,
shall for every such offence, forfeit and pay the sum of two dollars, to be recovered by due
process in any court in said city, proper to try the same. § 2. And whereas the firing of guns and
pistols, crackers, or other fire works is most frequently done by apprentices and minors under
age, who are unable to pay the forfeiture incurred by the by-law of this city – be it also ordained
that where any minor or apprentice shall be guilty of any breach of the by-laws relating to the
firing of guns, pistols, crackers, or other fire-works, the parent, guardian, or master of such minor
or apprentice, shall be liable to pay the forfeitures incurred by said by-law, and the same shall be
recoverable of any parent, guardian or master, by action of debt brought on said by law, before
any court in said city proper to try the same. And it shall be the duty of the city attorney and
lawful for any other person to prosecute for said penalty; and one-half of said penalty shall go to
the informer, or the person prosecuting for the same, and the other half to the use of the city.

Henry Dutton, A Revision of Swift’s Digest of the Laws of Connecticut. Also, Practice, Forms
and Precedents, in Connecticut Page 564, Image 565 (Vol 1, 1871) available at The Making of
Modern Law: Primary Sources. 1871
Of Trespass on the Case. A person, before he trusts a gun with an incautious person, is bound to
render it perfectly innoxious. Where the defendant negligently and imprudently entrusted a
loaded gun to a young mulatto girl, who discharged it against the son of the plaintiff, and
severely wounded him by which the plaintiff lost his service and was put to great expense for his
cure, the defendant was subjected to 100 pounds damages.

Charter of the City of New Haven Page 142-143, Image 241-242 (1881) available at The Making
of Modern Law: Primary Sources. 1881
Charter of the City of New Haven. Trade. § 18. No person shall sell to any child under the age of
sixteen years, without the written consent of the parent or guardian of such child, any cartridge or
fixed ammunition of which any fulminate is a component part, or any gun, pistol or other
mechanical contrivance arranged for the explosion of cartridge, or of any fulminate.

DELAWARE

Act of Feb. 4, 1812, 195 Del. Laws 522 (1812)
An Act to prevent the discharging of fire-arms within the towns and villages, and other public
places within this State, and for other purposes.
SEC. 1. Be it enacted by the Senate and House of Representatives of the State of Delaware, in
General Assembly met, That from and after the first day of June next, if any person or persons
shall presume to fire or discharge any gun, ordnance, musket, fowling-piece, fusee or pistol,

                                                 3
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 108 of 174
                                          PageID.508


within any of the towns or villages of this State, or within the limits thereof; of where the limits
cannot be ascertained, within one quarter of a mile of the center of such town or village, shall fire
or discharge any gun, ordnance, musket, fowling piece, fusee or pistol, within or on any of the
greens, streets, alleys or lanes of any of the towns and villages within this State, whereon any
buildings are or shall be erected, or within one hundred yards of any mill-dam, over or across
where any of the main public or State roads may go or pass; every person or persons so
offending, shall be fined or punished as hereinafter directed.
SEC. 2. And be it enacted by the authority aforesaid, That if any free white person or persons, or
the child or children of any such person or persons, shall fire or discharge any gun, ordnance,
musket, fowling-piece, fusee or pistol, within any, or at any of the places or limits aforesaid,
every such person or persons, or the child or children of every such person or persons, shall
forfeit and pay for every such offence, any sum, not exceeding five dollars, to be recovered from
the person or persons, or from the parent of such child or children, before any justice of the peace
of this State, on his own view, or on the oath or affirmation of any one or more credible
witnesses, to be recovered as debts under forty shillings are recoverable by the laws of the State.
SEC. 3. And be it enacted by the authority aforesaid, That if any free negro or mulatto, or the
child or children of any such free negro or mulatto, or any manumitted negro or mulatto, or any
servant or servants, slave or slaves, apprentice or apprentices, of any person or persons
whatsoever, shall fire or discharge any gun, ordnance, musket, fusee, fowling-piece or pistol,
within the limits herein before described, and be thereof convicted by the view of any one justice
of the peace, or on the oath or affirmation of one or more credible witnesses, every person so
offending, shall forfeit and pay any sum, not exceeding five dollars: Provided nevertheless, That
in all and every case where the money is not immediately paid on such conviction, into the hands
of the justice before whom such conviction is had, it shall and may be lawful, and the said justice
is hereby directed and commanded to commit such person or persons to the fail of his county,
there to remain, until the forfeitures and costs are paid.
SEC. 4. And be it enacted by the authority aforesaid, That all fines and forfeitures incurred under
this law, shall be paid over for the use of the poor of the county where the offence shall have
been committed.
SEC. 5. Provided nevertheless, and be it enacted by the authority aforesaid, That nothing in this
act shall extend, or be construed to prevent any such firing, on any day or days of public
rejoicing, or where it is authorized by any law of this State, or where it shall be deemed by the
justice before whom the information is lodged, that the necessity of the case required the same.

Revised Statutes of the State of Delaware, of Eight Hundred and Fifty-Two. As They Have Since
Been Amended, Together with the Additional Laws of a Public and General Nature, Which Have
Been Enacted Since the Publication of the Revised Code of Eighteen Fifty-Two. To the Year of
Our Lord One Thousand Eight Hundred and Ninety-Three; to Which are Added the
Constitutions of the United States and of this State, the Declaration of Independence, and
Appendix Page 987, Image 1048 (1893) available at The Making of Modern Law: Primary
Sources. 1881
An Act Providing for the Punishment of Persons Carrying Concealed Deadly Weapons, § 1. That
if any person shall carry concealed a deadly weapon upon or about his person other than an
ordinary pocket knife, or shall knowingly sell a deadly weapon to a minor other than an ordinary
pocket knife, such person shall, upon conviction thereof, be fined not less than twenty-five nor
more than one hundred dollars or imprisoned in the county jail for not less than ten nor more

                                                 4
Case 1:24-cv-00496-JAO-WRP               Document 35-3        Filed 12/23/24       Page 109 of 174
                                           PageID.509


than thirty days, or both at the discretion of the court: Provided, that the provisions of this section
shall not apply to the carrying of the usual weapons by policemen and other peace officers. § 2.
That if any person shall, except in lawful self-defense discharge any firearm in any public road in
this State, shall be deemed guilty of a misdemeanor and upon conviction thereof shall be
punished by fine not exceeding fifty dollars or by imprisonment not exceeding one month, or
both at the discretion of the court. 16 Del. Laws 716 (1881).

1881 Del. Laws 987, An Act Providing for the Punishment of Persons Carrying Concealed
Deadly Weapons, ch. 548, § 1.
That if any person shall carry concealed a deadly weapon upon or about his person other than an
ordinary pocket knife, or shall knowingly sell a deadly weapon to a minor other than an ordinary
pocket knife, such person shall, upon conviction thereof, be fined not less than twenty-five nor
more than two hundred dollars or imprisoned in the county jail for not less than ten nor more
than thirty days, or both at the discretion of the court: Provided, that the provisions of this section
shall not apply to the carrying of the usual weapons by policemen and peace officers.

Vol. 26 Del. Laws 28, 28- 29 (1911)
Section 3. It shall be unlawful for any person or per- sons, or a member of any firm, or the agents
or officers of any corporation to sell to a minor, or any intoxicated person, any revolver, pistol,
or revolver or pistol cartridges, stiletto, steel or brass knuckles, or other deadly weapons, made
especially for the defense of one’s person.

1918–1919 Del. Laws 484, Minors Under Fifteen Not to Use Gun Unless Accompanied by an
Adult, § 2382 A. Sec. 25 A. 1918
It shall be unlawful for any minor under fifteen years of age to hunt game birds or game animals
anywhere in this state with a rifle or shotgun of any kind unless accompanied by an adult
lawfully hunting.

Vol. 30 Del. Laws 55, 55-56 (1919)
Section 222. It shall be unlawful for any person or persons, or a member of any firm, or the
agents or officers of any corporation to sell to a minor or any intoxicated person, any revolver,
pistol, or revolver or pistol cartridges, stiletto, steel or brass knuckles, or other deadly weapons
made for the defense of one’s person.
It shall be the duty of any person or persons, firm, company or corporation desiring to engage in
the business aforesaid, to keep and maintain in his place of business at all times a book which
shall be furnished him by the Clerk of the Peace of the County wherein he does business, in
which said book lie shall enter the date of the sale, the name and address of the person
purchasing any such deadly weapon, the number and kind of deadly weapon so purchased, the
color of the person so purchasing the same, and the apparent age of the purchaser, and the names
and addresses of at least two freeholders resident in the County wherein the sale is made, who
shall positively identify the purchaser before the sale can be made; Provided, that no clerk,
employee or other person associated with the seller shall act as one of the identifying freeholders.
This book shall at all times be open for inspection by any Judge, Justice of the Peace, Police
Officer, Constable, or other Peace Officer of this State.

DISTRICT OF COLUMBIA

                                                  5
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 110 of 174
                                         PageID.510



Washington D.C. 27 Stat. 116 (1892)
CHAP. 159.–An Act to punish the carrying or selling of deadly or dangerous weapons within the
District of Columbia, and for other purposes.
Be it enacted by the Senate and House of Representatives of the United States of America in
Congress assembled, That it shall not be lawful for any person or persons within the District of
Columbia, to have concealed about their person any deadly or dangerous weapons, such as
daggers, air-guns, pistols, bowie-knives, dirk knives or dirks, blackjacks, razors, razor blades,
sword canes, slung shot, brass or other metal knuckles.
SEC. 2. That it shall not be lawful for any person or persons within the District of Columbia to
carry openly any such weapons as hereinbefore described with intent to unlawfully use the same,
and any person or persons violating either of these sections shall be deemed guilty of a
misdemeanor, and upon conviction thereof shall, for the first offense, forfeit and pay a fine or
penalty of not less than fifty dollars nor more than five hundred dollars, of which one half shall
be paid to any one giving information leading to such conviction, or be imprisoned in the jail of
the District of Columbia not exceeding six months, or both such fine and imprisonment, in the
discretion of the court: Provided, That the officers, non-commissioned officers, and privates of
the United States Army, Navy, or Marine Corps, or of any regularly organized Militia Company,
police officers, officers guarding prisoners, officials of the United States or the District of
Columbia engaged in the execution of the laws for the protection of persons or property, when
any of such persons are on duty, shall not be liable for carrying necessary arms for use in
performance of their duty: Provided, further, that nothing contained in the first or second sections
of this act shall be so construed as to prevent any person from keeping or carrying about his
place of business, dwelling house, or premises any such dangerous or deadly weapons, or from
carrying the same from place of purchase to his dwelling house or place of business or from his
dwelling house or place of business to any place where repairing is done, to have the same
repaired, and back again: Provided further, That nothing contained in the first or-second sections
of this act shall be so construed as to apply. to any person who shall have been granted a written
permit to carry such weapon or weapons by any judge of the police court of the District of
Columbia, and authority is hereby given to any such judge to grant such permit for a period of
not more than one month at any one time, upon satisfactory proof to him of the necessity for the
granting thereof; and further, upon the filing with such judge of a bond, with sureties to be
approved by said judge, by the applicant for such permit, conditioned to the United States in such
penal sum as said judge shall require for the keeping of the peace, save in the case of necessary
self defense by such applicant during the continuance of said permit, which bond shall be put in
suit by the United States for its benefit upon any breach of such condition.
SEC. 3. That for the second violation of the provisions of either of the preceding sections the
person or persons offending shall be proceeded against by indictment in the supreme court of the
District of Columbia, and upon conviction thereof shall be imprisoned in the penitentiary for not
more than three years.
SEC. 4. That all such weapons as hereinbefore described which may be taken from any person
offending against any of the provisions shall, upon conviction of such person, be disposed of as
may be ordered by the judge trying the case, and the record shall show any and all such orders
relating thereto as a part of the judgment in the case.
SEC. 5. That any person or persons who shall, within the District of Columbia, sell, barter, hire,
lend or give to any minor under the age of twenty-one years any such weapon as hereinbefore

                                                 6
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 111 of 174
                                          PageID.511


described shall be deemed guilty of a misdemeanor, and shall, upon conviction thereof, pay a
fine or penalty of not less than twenty dollars nor more than one hundred dollars, or be
imprisoned in the jail of the District of Columbia not more than three months. No person shall
engage in or conduct the business of selling, bartering, hiring, lending, or giving any weapon or
weapons of the kind hereinbefore named without having previously obtained from the
Commissioners of the District of Columbia a special license authorizing the conduct of such
business by such person, and the said Commissioners are hereby authorized to grant such license,
without fee therefor, upon the filing with them by the applicant therefor of a bond with sureties,
to be by them approved, conditioned in such penal sum as they shall fix to the United States for
the compliance by said applicant with all the provisions of this section; and upon any breach or
breaches of said condition said bond shall be put in suit by said United States for its benefit, and
said Commissioners may revoke said license. Any person engaging in said business without
having previously obtained said special license shall be guilty of a misdemeanor and upon
conviction thereof shall be sentenced to pay a fine of not less than one hundred dollars nor more
than five hundred dollars, of which one half shall be paid to the informer, if any, whose
information shall lead to the conviction of the person paying said fine. All persons whose
business it is to sell barter, hire, lend or give any such weapon or weapons shall be and they
hereby, are, required to keep a written register of the name and residence of every purchaser,
barterer, hirer, borrower, or donee of any such weapon or weapons, which register shall be
subject to the inspection of the major and superintendent of Metropolitan Police of the District of
Columbia, and further to make a weekly report, under oath to said major and superintendent of
all such sales, barterings, hirings, lendings or gifts. And one half of every fine imposed under this
section shall be paid to the informer, if any, whose information shall have led to the conviction
of the person paying said fine. Any police officer failing to arrest any person guilty in his sight or
presence and knowledge, of any violation of any section of this act shall be fined not less than
fifty nor more than five hundred dollars.
SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be, and the same
hereby are, repealed.

Washington D.C. 47 Stat. 650, 651-652 (1932)
CARRYING CONCEALED WEAPONS
SEC. 4. No person shall within the District of Columbia carry concealed on or about his person,
except in his dwelling house or place of business or on other land possessed by him, a pistol,
without a license therefor issued as hereinafter provided, or any deadly or
dangerous weapon.
EXCEPTIONS
SEC. 5. The provisions of the preceding section shall not apply to marshals, sheriffs, prison or
jail wardens, or their deputies, policemen or other duly appointed law-enforcement officers, or to
members of the Army, Navy, or Marine Corps of the United States or of the National Guard or
Organized Reserves when on duty, or to the regularly enrolled members of any organization duly
authorized to purchase or receive such weapons from the United States, provided such members
are at or are going to or from their places of assembly or target practice, or to officers or
employees of the United States duly authorized to carry a concealed pistol, or to any person
engaged in the business of manufacturing, repairing or dealing in firearms, or the agent or
representative of any such person having in his possession, using, or carrying a pistol in the usual
or ordinary course of such business or to any person while carrying a pistol unloaded and in a

                                                  7
Case 1:24-cv-00496-JAO-WRP             Document 35-3         Filed 12/23/24      Page 112 of 174
                                         PageID.512


secure wrapper from the place of purchase to his home or place of business or to a place of repair
or back to his home or place of business or in moving goods from one place of abode or business
to another.
ISSUE OF LICENSES TO CARRY
SEC. 6. The superintendent of police of the District of Columbia may, upon the application of
any person having a bona fide residence or place of business-within the District of Columbia or
of any person having a bona fide residence or place of business within the United States and a
license to carry a pistol concealed upon his person issued by the lawful authorities of any State or
subdivision of the United States, issue a license to such person to carry a pistol within the
District of Columbia for not more than one year from date of issue, if it appears that the applicant
has good reason to fear injury to his person or property or has any other proper reason for
carrying a pistol and that he is a suitable person to be so licensed. The license shall be in
duplicate, in form to be prescribed by the Commissioners of the District of Columbia and shall
bear the name, address, description, photograph, and signature of the licensee and the reason
given for desiring a license. The original thereof shall be delivered to the licensee, and the
duplicate shall be retained by the superintendent of police of the District of Columbia and
preserved in his office for six years.
SELLING TO MINORS AND OTHERS
SEC. 7. No person shall within the District of Columbia sell any pistol to a person who he has
reasonable cause to believe is not of sound mind, or is a drug addict, or is a person who has been
convicted in the District of Columbia or elsewhere of a crime of violence or, except when the
relation of parent and child or guardian and ward exists, is under the age of eighteen years.

FLORIDA

1881 Fla. Laws 87, An Act to Prevent the Selling, Hiring, Bartering, Lending or Giving to
§ 1. it shall be unlawful for any person or persons to sell, hire, barter, lend or give to any minor
under sixteen years of age any pistol, dirk or other arm or weapon, other than an ordinary pocket-
knife, or a gun or rifle used for hunting, without the permission of the parent of such minor, or
the person having charge to such minor, and it shall be unlawful for any person or persons to sell,
hire, barter, lend or give to any person or persons of unsound mind any dangerous weapon, other
than an ordinary pocket-knife. § 2. Any person or persons so offending shall be deemed guilty of
a misdemeanor, and upon conviction thereof shall be fined not less than twenty nor more than
fifty dollars, or imprisoned in the county jail not more than three months.

GEORGIA

1876 Ga. Laws 112.
Section I. That from an after the passage of this Act it shall not be lawful for any person or
persons knowingly to sell, give, lend or furnish any minor or minors any pistol, dirk, bowie knife
or sword cane. Any person found guilty of a violation of this Act shall be guilty of a
misdemeanor, and punished as prescribed in section 4310 of the Code of 1873: Provided, that
nothing herein contained shall be construed as forbidding the furnishing of such weapons under
circumstances justifying their use in defending life, limb or property. Sec. II. Repeals conflicting
laws.



                                                 8
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 113 of 174
                                          PageID.513


1920 Ga. Laws 134, § 2. 1910
(forbids the sale of pistols to minors and makes the violations of the statute a misdemeanor). See
Spires v. Goldberg, 26 Ga. App. 530 (1921).

HAWAII

1927 Haw. Sess. Laws 209-217, AN ACT Regulating the Sale, Transfer and Possession of
Certain Firearms and Ammunitions, and Amending Sections 2136, 2137, 2138, 2139, 2140,
2141, 2142, 2143, 2146 and 2147 of the Revised Laws of Hawaii 1925 (the “Small Arms Act”),
§ 8.
Section 8. Selling to minors. No person shall sell, barter, hire, lend, or give any pistol or revolver
to any person under the age of eighteen years.

1933 Haw. Sess. Laws 37-38, An Act Regulating the Sale, Transfer, and Possession of Firearms
and Ammunition, § 4.
§ 4. No person residing or doing business or temporarily sojourning within the Territory shall
take possession of any fire arm of any description, whether usable or unusable, serviceable or
unserviceable, modern or antique, registered under prior Acts or unregistered, or of any
ammunition of any kind or description, except shotgun ammunition, either through sale, gift,
loan, bequest, or otherwise, whether procured in the Territory or imported by mail, express,
freight, or otherwise, until he shall first have procured from the chief of police of the city and
county of Honolulu or the sheriff of the county, other than the city and county of Honolulu,
wherein is his place of business, or if there be no place of business, his residence, or if there be
neither place of business nor residence, his place of sojourn, a permit to acquire as prescribed
herein. The chief of police of the city and county of Honolulu or the sheriffs of the several
counties, other than the city and county of Honolulu, are hereby authorized, within their
discretion, to issue permits, within their respective jurisdictions, to acquire rifles, pistols, and
revolvers to citizens of the United States, of the age of twenty years or more, and to duly
accredited official representatives of foreign nations. Permits to acquire ammunition for rifles,
pistols and revolvers acquired prior to the effective date of this Act and registered in accordance
with the provisions hereof, may be granted persons [sic] of the age of twenty years or more
irrespective of citizenship. Permits to acquire shotguns may be granted to persons of the age of
sixteen years or more, irrespective of citizenship. Applications for such permits shall be signed
by the applicant upon forms to be specified by the bureau of crime statistics, and shall be signed
by the issuing authority. One copy of such permit shall be retained by the issuing authority, as a
permanent official record. Such permit shall be void unless used within ten days after the date of
issue. In all cases where possession is acquired from another person in the Territory the permit
shall be signed in ink by the holder thereof and shall thereupon he delivered to and taken up by
the person selling, loaning, giving or delivering the firearm or ammunition, who shall make entry
thereon setting forth in the space provided therefor the name of the person to whom the firearm
or ammunition was delivered, and the make, style, caliber, and number, as applicable. He shall
then sign it in ink and cause it to he delivered or sent by registered mail to the issuing authority
within forty-eight hours. In case receipt of such firearms or ammunition is had by mail, express,
freight, or otherwise, from sources outside the Territory, the person to whom such permit has
been issued, shall make the prescribed entries thereon, sign in ink, and cause it to be delivered or
sent by registered mail to the issuing authority within forty-eight hours after taking possession of

                                                  9
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 114 of 174
                                          PageID.514


the firearms or ammunition. No person shall sell, give, loan, or deliver into the possession of
another any firearm or ammunition except in accordance with the Provisions of this section. Any
person acquiring a firearm or ammunition under the provisions of this section shall, within five
days of acquisition, register same in the manner prescribed by Section 3 of this Act. No fee shall
be charged for permits under this section. Any person who violates any provision of this section
shall be punished by a fine of not more than five hundred dollars ($500.00) or imprisonment for
not more than one year, or by both.

IDAHO

1909 Id. Sess. Laws 6, An Act To Regulate the Use and Carrying of Concealed Deadly Weapons
and to Regulate the Sale or Delivery of Deadly Weapons to Minors Under the Age of Sixteen
Years to Provide a Penalty for the Violation of the Provisions of this Act, and to Exempt Certain
Persons, § 1.
If any person . . . or shall have or carry any such weapon upon or about his person when
intoxicated, or under the influence of intoxicating drinks, or shall, directly or indirectly, sell or
deliver, loan or barter to any minor under the age of sixteen (16) years any such weapon, without
the consent of the parent or guardian of such minor, he shall upon conviction, be punished by a
fine of not less than twenty-five dollars ($25.00) nor more than two hundred dollars ($200.00), or
by imprisonment in the county jail for a period of not less than twenty (20) nor more than sixty
(60) days, or by both such fine and imprisonment: Provided, however, that it shall be a good
defense to the charge of carrying such concealed weapons if the defendant shall show that he has
been threatened with great bodily harm or had good reason to carry the same in the necessary
defense of his person, family home or property.

ILLINOIS

Proceedings of the Common Council of the City of Chicago Page 140, Image 185 (Vol. 5, 1874)
available at The Making of Modern Law: Primary Sources. 1873
Ordinances of Chicago: An Ordinance Prohibiting the Sale to or Furnishing Minors with
Firearms. § 1. That no person within said city shall sell to or in any manner furnish any minor
with any gun, pistol, revolver, or other firearms; and any person offending against this ordinance
shall on conviction be fined in a sum not less than twenty-five dollars nor more than one hundred
dollars for each offense.

Harvey Bostwick Hurd, Late Commissioner, The Revised Statutes of the State of Illinois. 1882.
Comprising the “Revised Statutes of 1874,” and All Amendments Thereto, Together with the
General Acts of 1875, 1877, 1879, 1881 and 1882, Being All the General Statutes of the State, in
Force on the First Day of December, 1882 Page 375, Image 392 (1882) available at The Making
of Modern Law: Primary Sources. 1881
Deadly Weapons: Selling or Giving to Minor. § 54b. Whoever, not being the father, guardian, or
employer or the minor herein named, by himself or agent, shall sell, give, loan, hire or barter, or
shall offer to sell, give, loan, hire or barter to any minor within this state, any pistol, revolver,
derringer, bowie knife, dirk or other deadly weapon of like character, capable of being secreted
upon the person, shall be guilty of a misdemeanor, and shall be fined in any sum not less than
twenty-five dollars ($25), nor more than two hundred ($200).

                                                 10
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24       Page 115 of 174
                                          PageID.515



Samuel A. Ettelson, Opinions of the Corporation Counsel and Assistants from May 1, 1915, to
June 30, 1916 Page 458-459, IMage 458-459 (Vol. 7, 1916) available at The Making of Modern
Law: Primary Sources. 1914
Ordinance of May 25, 1914, § 4a. It shall be unlawful for any person, firm or corporation to sell,
barter or give away to any person within the City of Chicago, any pistol, revolver, derringer,
bowie knife, dirk or other weapon of like character which can be concealed on the person, except
to licensed dealers and to persons who have secured a permit for the purchase of such articles
from the general superintendent of police as hereinafter required; provided, this section shall not
apply to sales made of such articles which are delivered or furnished outside the City of Chicago.
§ 5. It shall be unlawful for any person to purchase any pistol, revolver, derringer, bowie knife,
dirk or other weapon of like character, which can be concealed on the person, without first
securing from the General Superintendent of Police a permit so to do. Before any such permit is
granted, an application in writing shall be made therefor, setting forth in such application the
name, address, age, height, weight, complexion, nationality and other elements of identification,
of the person desiring such permit, and the applicant shall present such evidence of good
character as the General Superintendent of Police in his discretion may require. § 6. It shall be
the duty of the General Superintendent of Police to refuse such permit to (a) All persons having
been convicted of any crime. (b) all minors. “Otherwise, in case he shall be satisfied that the
applicant is a person of good moral character, it shall be the duty of the General Superintendent
of Police to grant such permit, upon the payment of a fee of one dollar. § 8. Any person, firm or
corporation violating any of the provisions of this ordinance, shall be fined not less than Fifty
Dollars ($50.00) nor more than Two hundred Dollars ($200.00) for each offense, and every
purchase, sale or gift of any weapon mentioned in this ordinance shall be deemed a separate
offense.

Samuel Irwin, Reports of Cases At Law And In Chancery 566 (vol. #278, Chicago, Ill, 1917).
1917
It shall be the duty of the general superintendent of police to refuse such permit to (a) all persons
having been convicted of any crime; (b) all minors. Otherwise, in case he shall be satisfied that
the applicant is a person of good moral character, it shall be the duty of the general
superintendent of police to grant such permit upon the payment of a fee of one dollar.

INDIANA

Edwin Augustine Davis, LL.B., The Statutes of the State of Indiana: Containing the Revised
Statutes of 1852, with the Amendments Thereto, and the Subsequent Legislation, 246with Notes
and References to Judicial Decisions. Second Edition Vol. 2 Page 482, Image 493 (1877)
available at The Making of Modern Law: Primary Sources. 1875
An Act to prohibit the sale, gift or bartering of deadly weapons or ammunition therefor, to
minors. § 1. Be it enacted by the General Assembly of the State of Indiana, That it shall be
unlawful for any person to sell, barter, or give to any other person, under the age of twenty-one
years, any pistol, dirk, or bowie-knife, slung-shot, knucks, or other deadly weapon that can be
worn, or carried, concealed upon or about the person, or to sell, barter, or give to any person,
under the age of twenty-one years, any cartridges manufactured and designed for use in a pistol.
§ 2. Be it further enacted, That any person who shall violate any of the provisions of the

                                                 11
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 116 of 174
                                          PageID.516


foregoing section shall be deemed guilty of a misdemeanor, and upon conviction thereof, shall be
fined in any sum not less than five dollars, nor more than fifty dollars.

The Revised Statutes of the State of Indiana, the Revision of 1881 and All General Laws Enacted
to that Revision (1888) Section 1986-87, Furnishing Deadly Weapon to Minor. 1881
Sec. 1986. It shall be unlawful for any person to sell, barter or give to any other person under the
age of twenty-one years any pistol, dirk or bowie-knife, slung-shot, knucks or other deadly
weapon that can be worn or carried concealed upon or about the person, or to sell¸ barter or give
to any person under the age of twenty-one years any cartridges manufactured and designed to be
used in a pistol. 1987. Any person who shall violate any of the provisions of this section shall be
deemed guilty of a misdemeanor, and, on conviction hall be fined not less than five dollars nor
more than fifty dollars.

1905 Ind. Acts 688, Weapon— Furnishing to Minor, § 450.
It shall be unlawful for any person to sell, barter or give to any other person under the age of
twenty-one years any pistol, dirk or bowie-knife, slung-shot, knucks or other deadly weapon that
can be worn or carried concealed upon or about the person, or to sell¸ barter or give to any
person under the age of twenty-one years any cartridges manufactured and designed to be used in
a pistol or revolver. Any person who shall violate any of the provisions of this section shall be
deemed guilty of a misdemeanor, and, on conviction hall be fined not less than five dollars nor
more than fifty dollars.

1925 Ind. Acts 496, ch. 207, An Act to Regulate and Control the Possession, Sale, and Use of
Pistols and Revolvers in the State of Indiana
Sec 8. Any person or persons who shall, within the State of Indiana, sell, barter, hire, lend, or
give to any minor under the age of twenty-one years, any pistol or revolver shall be deemed
guilty of a misdemeanor and shall upon conviction thereof be fined not more than one hundred
dollars, or be imprisoned for not more than three months, or both, except for uses as hereinbefore
provided.

1929 Ind. Acts 139, Criminal Offenses—Commission of or Attempt to Commit Crime While
Armed with Deadly Weapon, ch.55, § 1.
Be it enacted by the general assembly of the State of Indiana, That any person who being over
sixteen years of age, commits or attempts to commit either the crime of rape, robbery, bank
robbery, petit larceny or grand larceny while armed with a pistol, revolver, rifle, shotgun,
machine gun or any other firearm or any dangerous or deadly weapon, or while any other person
present and aiding or assisting in committing or attempting ot commit either of said crimes is
armed with any of said weapons, shall be guilty of a seperate felony in addition to the crimes
above named and upon conviction shall be imprisoned for a determinate period of not less than
ten years nor more than twenty years . . . .

IOWA

1884 Iowa Acts 86.
Section 1. That it shall be unlawful for any person to knowingly sell, present or give any pistol,
revolver or toy pistol to any minor. Sec. 2. Any violation of this act shall be punishable by a fine

                                                 12
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 117 of 174
                                          PageID.517


of not less than twenty-five nor more than one hundred dollars or by imprisonment in the county
jail of not less than ten nor more than thirty days. Sec. 3. This act being deemed of immediate
importance shall be in full force and take effect from and after its publication in the Iowa State
Leader and Iowa State Register, newspapers published at Des Moines, Iowa.


Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and Containing
the Statutes Applicable to Cities of the First-Class, Organized under the Laws of Iowa Page 168-
169, Image 171-172 (1887) available at The Making of Modern Law: Primary Sources. 1887.
Ordinances, City of Council Bluffs, Shooting Gallery, § 5. No person shall carry on or take part
in carrying on any pistol gallery or shooting gallery without license therefor from said city, and
the charge for such license shall be ten dollars per month, or fifty dollars per annum. §6. No
licensee or his employee, or any person in charge of any pin alley, ball alley, pistol gallery or
shooting gallery, shall at any time, without gain or profit, permit or allow any minor to be or
remain in or about the same to play thereat, under penalty of the same fine and forfeiture as set
forth in section 2 of this chapter.

Annotated Code of the State of Iowa Containing All the Laws of a General Nature Enacted by
The Twenty-Sixth General Assembly at the Extra Session, Which Adjourned July 2, 1897 Page
1955, Image 787 (Vol. 1, 1897) available at The Making of Modern Law: Primary Sources. 1897
§ 5004. Selling Firearms to Minors. No person shall knowingly sell, present or give any pistol,
revolver or toy pistol to any minor. Any violation of this section shall be punished by a fine of
not less than twenty-five nor more than one hundred dollars, or by imprisonment in the county
jail not less than ten nor more than thirty days.


KANSAS

1883 Kan. Sess. Laws 159, An Act to Prevent Selling, Trading or Giving Deadly Weapons or
Toy Pistols to Minors, and to Provide Punishment Therefor, ch. 106, §§ 1-2.
§ 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol, revolver or toy
pistol, by which cartridges or caps may be exploded, or any dirk, bowie-knife, brass knuckles,
slung shot, or other dangerous weapons to any minor, or to any person of notoriously unsound
mind, shall be deemed guilty of a misdemeanor, and shall, upon conviction before any court of
competent jurisdiction, be fined not less than five nor more than one hundred dollars. § 2. Any
minor who shall have in his possession any pistol, revolver or toy pistol, by which cartridges
may be exploded, or any dirk, bowie-knife, brass knuckles, slung shot or other dangerous
weapon, shall be deemed guilty of a misdemeanor, and upon conviction before any court of
competent jurisdiction shall be fined not less than one nore more than ten dollars.

Sam Kimble Revised Ordinances of the City of Manhattan and Rules of the Council Page 49-50,
Image 51-52 (1887) available at The Making of Modern Law: Primary Sources. 1887
Ordinances of Manhattan, KS; Offenses Against the Public Peace, Health and Safety, Toy
Pistols, §13. Any person who shall give, trade, loan or otherwise furnish any pistol, revolver, or
toy pistol by which cartridges or caps may be exploded, or any dirk, bowie-knife sling shot or
toy known as “rubber sling shot” or other dangerous weapon, to any minor or to any person of

                                                 13
Case 1:24-cv-00496-JAO-WRP               Document 35-3        Filed 12/23/24       Page 118 of 174
                                           PageID.518


notoriously unsound mind, shall be deemed guilty of a misdemeanor, and shall upon conviction
before the Police Judge be fined not less than five nor more than one hundred dollars. § 14.
Having Possession of the Same. Any minor who shall have in his possession any pistol, revolver,
or toy pistol by which cartridges may be exploded or any dirk, bowie knife, brass knuckles, slung
shot or toy known as “rubber sling shot” or other dangerous weapons shall be deemed guilty of a
misdemeanor and upon conviction shall be fined not less than one nor more than ten dollars.

KENTUCKY

Oliver H. Strattan, City Clerk A Collection of the State and Municipal Laws, in Force, and
Applicable to the City of Louisville, Ky. Prepared and Digested, under an Order from the
General Council of Said City by Oliver H. Strattan and John M. Vaughan, City Clerks, which
Includes the State Constitution and City Charter, with Notes of Reference Page 175, Image 176
(1857) available at The Making of Modern Law: Primary Sources. 1853
No. 68. An Ordinance as to Retailing Gun Powder. No person shall retail gunpowder to minors
under fifteen years of age, or free colored persons, without authority from his parent or guardian,
or to slaves without authority from his master. Any person doing so in either case, shall be fined
twenty dollars.

1859/1860 Ky. Acts 245, AN ACT to amend an act, entitled “An act to reduce into one the
several acts in relation to the town of Harrodsburg, Ch. 33, § 23.
If any person, other than the parent or guardian, shall sell, give, or loan, any pistol, dirk, bowie-
knife, brass-knucks, slung-shot, colt, cane-gun, or other deadly weapon, which is carried
concealed, to any minor, or slave, or free negro, he shall be fined fifty dollars.

1873 Ky. Acts 359
Ky. Gen. Stat. ch. 29, Art. 29, § 1, at 359 (Edward I. Bullock & William Johnson eds., 1873).
Passed 1873.
ARTICLE XXIX.
Deadly Weapons.
§ I. If any person shall carry concealed a deadly weapon upon or about his person other than an
ordinary pocket knife, or shall sell a deadly weapon to a minor other than an ordinary pocket
knife, such person shall, upon indictment and conviction, be fined not less than twenty-five nor
more than one hundred dollars, and imprisoned in the county jail for not less than ten nor more
than thirty days, in the discretion of the court or jury trying the case.
§ 2. That it shall be the duty of all ministerial officers in this State to apprehend such violator
within their knowledge of this act, and to take such persons before a magistrate of the county in
which said offense was committed; and if said magistrate shall, upon hearing the evidence,
believe such accused person guilty of the offense charged, he shall require such accused person
to give such bail as will insure his or her appearance at the next term of the circuit court for said
county, to answer any indictment found against him or her in said court for said offense
§ 3. If any such officer shall knowingly and willfully fail or refuse to discharge the duties
imposed and required of him under this act, he shall, upon indictment found by the grand jury of
his county, and on conviction, be fined in a sum of not less than one hundred nor more than five
hundred dollars.



                                                  14
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 119 of 174
                                         PageID.519


s 4. That if judgment shall be confessed under this article, the penalty shall be the highest
punishment imposed herein.
§ 5. Carrying concealed deadly weapons shall be lawful in the following cases: 1st. When the
person has reasonable grounds to believe his person or the person of some of his family, or his
property is in immediate danger from violence or crime; 2d. By sheriffs, constables, marshals,
policemen, and other ministerial officers, when necessary for their protection in the discharge of
their official duties.

Carrying Weapons or Sale to Minors Prohibited, Amendment to Ordinance No. 11—Crimes and
Punishment, §§ 7-9 in Ordinances, Charter and Laws for the Government of the City of
Frankfort, Kentucky (1876)
“Sec. 7. Any person who shall discharge any gun or pistol within the city, unless in the lawful
defense of his person, family, or property, shall be fined ten dollars for each offense; but this
provision shall not apply to gunsmiths who discharge firearms on their own premises in the
pursuit of their regular business.
Sec. 8. Any person who shall, within the city, carry concealed a deadly weapon, other than an
ordinary pocket-knife, shall be fined, for each offense, not less than twenty-five nor more than
one hundred dollars: Provided, That it shall be a sufficient defense to a prosecution for a
violation of this provision to establish—
   That the person charged had reasonable grounds to believe his person, or the person of some
member of his family, or his property, was in danger from violence or crime.
   That he was a Sheriff, Constable, Marshal, Policeman, Officer or Guard of the Penitentiary, or
carrier of the United States mail, and that such weapon was a necessary precaution to his
protection in the efficient discharge of such public or official duty; or,
III. That he was required, by his business or occupation, to travel during the night-time. (Sec. 8
repealed by sec. 9.)
9. That section 8 of the published Ordinances of the said city, and an Ordinance approved March
24, 1869, pertaining to carrying concealed deadly weapons, be, and the same are hereby,
repealed, and the following be substituted in lieu thereof: If any person shall carry concealed a
deadly weapon upon or about his person, other than an ordinary pocket-knife, or shall sell a
deadly weapon to a minor, other than an ordinary pocket-knife, such person shall, upon
conviction, be fined not less than twenty-five nor more than one hundred dollars, in the
discretion of the court or jury trying the case. Carrying concealed deadly weapons shall be lawful
in the following cases: 1st. When the person has reasonable grounds to believe his person or the
person of some of his family, or his property, is in immediate danger from violence or crime. 2d.
By Sheriffs, Constables, Marshals, Policemen, and other ministerial officers, when necessary for
their protection in the discharge of their official duties[.]—Approved April 8, 1876.”
Ordinances, Charter and Laws for the Government of the City of Frankfort, Kentucky:
Ordinances Approved December 1st, 1890, and in Force from and after That Date (Frankfort,
KY: G. A. Lewis, Printer, 1891), 22-24. Ordinance No. 11: Crimes and Punishment, §§ 7-9.
Amended April 8, 1876.

LOUISIANA




                                                15
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 120 of 174
                                          PageID.520


1890 La. Acts 39, An Act Making it a Misdemeanor for Any Person to Sell, Give or Lease, to
Any Minor, Any Pistol, Bowie-Knife, Dirk or Any Weapons, Intended to be Carried or Used as a
Concealed Weapon, § 1.
. . . [I]t shall be unlawful, for any person to sell, or lease or give through himself or any other
person, any pistol, dirk, bowie-knife or any other dangerous weapon which may be carried
concealed to any person under the age of twenty-one years.

John Q. Flynn Flynn’s Digest of the City Ordinances, Together with the Constitutional
Provisions, Acts of the General Assembly, and Decisions of the Courts Relative to the
Government of the City of New Orleans Page 545, Image 617 (1896) available at The Making of
Modern Law: Primary Sources. 1893
Ordinances of the City of New Orleans. Offences, Misdemeanors and Nuisances. § 1342. It shall
be unlawful for any one to sell, or lease, or give through himself or any other person, any pistol,
dirk, bowieknife, toy pistol for which cartridges are used, or any other dangerous weapon which
may be carried concealed, to any person under the age of eighteen years. § 1343. That any person
violating the provisions of this ordinance shall be deemed guilty of a misdemeanor and shall be
liable to a fine not exceeding twenty-five dollars or imprisonment for a period not exceeding
thirty days, or both, at the discretion of the Recorder having jurisdiction.


MAINE

Seth L. Haarrabee, The Charter and Ordinances of the City of Portland , Me.Page 136, Image
150 (1892) available at The Making of Modern Law: Primary Sources. 1892
Nuisances. Sale of blank cartridges and pistols prohibited. § 4. No person shall sell to any child
under the age of sixteen years, without the written consent of a parent or guardian of such child,
any blank cartridge, or any pistol, or mechanical contrivance specially arranged or designed for
the explosion of the same and any person violating the provisions of this ordinance shall be liable
to a penalty of not less than fifty, and not exceeding one hundred dollars, to be recovered on
complaint to the use of the City of Portland.

MARYLAND

1882 Md. Laws 656
Section 1. Be it enacted by the General Assembly of Maryland, That it shall be unlawful for any
person or persons within the State of Maryland to manufacture or sell, barter or give away the
cartridge toy pistol to any one whomsoever Sec. 2. Be it enacted, That it shall be unlawful for
any person, be he or she licensed dealer or not, to sell, barter or give away any firearm
whatsoever or other deadly weapons, except shotgun, fowling pieces and rifles, to any person
who is a minor under the age of twenty-one years. Any person or persons violating any of the
provisions of this act shall, on conviction thereof, pay a fine of not less than fifty nor more than
two hundred dollars, together with the cost of prosecution, and upon failure to pay said fine and
cost, be committed to jail and confined therein until such fine and costs are paid, or for the period
of sixty days, whichever shall first occur.




                                                 16
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 121 of 174
                                         PageID.521


1904 Md. Laws 295, An Act to Prohibit all Persons Under Fifteen Years of Age from Carrying
or Having in Their Possession Firearms of any Description Within the Limits of Garrett County,
ch. 177, §§ 1-2
§ 1. Be it enacted by the General Assembly of Maryland, That it shall be unlawful for all persons
under the age of fifteen years to carry or have in his or her possession any shot gun, rifle,
revolver or other firearm of any description within the limits of Garrett County. § 2. And be it
enacted, That any person convicted of violating this Act before any court of competent
jurisdiction shall be fined not less than five dollars nor more than twenty dollars, or be
imprisoned in the county jail for not less than ten nor more than thirty days for each and every
offense.

1908 Md. Laws 397, § 31.
It shall be unlawful for any person under the age of twenty-one years to fire a gun, cat rifle,
pistol, or any explosive instrument of metal, within one mile in any direction of the Library Hall
in Catonsville, Baltimore county; and any person under said age of twenty-one years, violating
this section, shall upon conviction before the Circuit Court, or any justice of the peace for said
county, be fined a sum not less than one dollar nor more than ten dollars, or be imprisoned in the
county jail for not less than five days nor more than thirty days, or be both fined and imprisoned,
in the discretion of the court or the justice of the peace.

MASSACHUSETTS

Report of Commissioners on Revision of Ordinances Page 141, Image 146 (1882) available at
The Making of Modern Law: Primary Sources. 1882
Of Explosive Compounds. Penalty for selling guns, pistols, cartridges, etc., to children. § 1.
Whoever sells to a child under the age of sixteen years, without the written consent of its parent
or guardian, any cartridge or fixed ammunition of which any fulminate is a component part, or a
gun, pistol, or other mechanical contrivance arranged for the explosion of such cartridge or of
any fulminate, shall be liable to a penalty of not less than five nor more than fifty dollars.

The Revised Ordinances of 1885, of the City of Boston, as Passed and Approved December 14,
1885. (With Amendments Thereto, Passed and Approved, to May 1, 1886): Being the Ninth
Revision. To Which are Added the Revised Standing Regulations of the Board of Aldermen. 9th
Rev. Page 172, Image 182 (1886) available at The Making of Modern Law: Primary Sources.
1884
Ordinances of the City of Boston. Of Fire-Arms, Bonfires, and Brick-Kilns. § 4. No person shall
sell to any child under the age of sixteen years without the written consent of a parent or
guardian of such child, any cartridge or fixed ammunition of which any fulminate is a component
part, or any gun, pistol, or other mechanical contrivance arranged for the explosion of such
cartridge, or of any fulminate. But the provisions of this section shall not apply to paper caps of
which the only component parts are chlorate of potash and sulphide of antimony, nor to any
appliance for exploding the same. The provisions of this section shall be inserted in every license
granted for the sale of gunpowder.

1909 Mass. Acts 148, An Act to Prohibit the Sale of Air Guns to Certain Minors



                                                17
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 122 of 174
                                          PageID.522


Section ninety-two of chapter one hundred and two of the Revised Laws is hereby amended by
inserting after the word “firearms”, in the second line, the words — air guns, — so as to read as
follows: Section 92. Whoever sells or furnishes to a minor under the age of fifteen years any
firearms, air guns or other dangerous weapon shall be punished by a fine of not less than ten nor
more than fifty dollars for each offence; but instructors and teachers may furnish military
weapons to pupils for instruction and drill.

1922 Mass. Acts 563, ch. 485, An Act Relative to the Sale and Carrying of Firearms, ch. 485, § 8
(amending § 130)
§ 8 (amending § 130). Whoever sells or furnishes to a minor under the age of fifteen, or to an
unnaturalized foreign born person who has who has not a permit to carry firearms under section
one hundred and thirty-one, any firearm, air gun or other dangerous weapon or ammunition
therefor shall be punished by a fine of not less than ten nor more than fifty dollars, but instructors
and teachers may furnish military weapons to pupils for instruction and drill.

MICHIGAN

1883 Mich. Pub. Acts 144, An Act To Prevent The Sale And Use Of Toy Pistols, § 1.
That no person shall sell, give, or furnish to any child under the age of thirteen years, any
cartridge of any form or material, or any pistol, gun, or other mechanical contrivance, specially
arranged or designated for the explosion of the same. . . . § 3. It shall be unlawful for any person
under the age of thirteen years, to have in possession, or use any of the articles named in section
one of this Act.

MINNESOTA

Making, selling, etc., dangerous weapons; Carrying, using, etc., certain weapons, §§ 333-334,
The Penal Code of the State of Minnesota (1885). 1885, MN, The Penal Code of the State of
Minnesota, Title 12, Of Crimes Against the Public Health and Safety §§ 333-334. The Penal
Code of the State of Minnesota, To Take Effect January 1, A.D. 1886 (St. Paul, MN: The
Pioneer Press Company, 1885), 127. Title 12, Of Crimes Against the Public Health and Safety, §
333 Making, selling, etc., dangerous weapons; § 334 Carrying, using, etc., certain weapons.
Undated.
Sec. 333. Making, selling, etc., dangerous weapons.—A person who manufactures or causes to
be manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any instrument or
weapon of the kind usually known as slung-shot, sand-club, or metal knuckles, or who, in any
city of this state, without the written consent of a magistrate, sells or gives any pistol or firearm
to any person under the age of eighteen (18) years, is guilty of a misdemeanor.
Sec. 334. Carrying, using, etc., certain weapons.—A person who attempts to use against another,
or who, with intent so to use, carries, conceals or possesses any instrument or weapon of the kind
commonly known as slung-shot, sand-club or metal knuckles, or a dagger, dirk, knife, pistol or
other firearm, or any dangerous weapon, is guilty of a misdemeanor.

George Brooks Young. General Statutes of the State of Minnesota in Force January 1, 1889 Page
1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern Law: Primary Sources.
1888.

                                                 18
Case 1:24-cv-00496-JAO-WRP               Document 35-3        Filed 12/23/24       Page 123 of 174
                                           PageID.523


Making, Selling, etc., Dangerous Weapons, § 333. A person who manufactures, or causes to be
manufactured, or sells, or keeps for sale, or offers or gives or disposes of any instrument or
weapon of the kind usually known as slung-shot, sand-club, or metal knuckles, or who, in any
city of this state, without the written consent of a magistrate, sells or gives any pistol or fire-arm
to any person under the age of eighteen years, is guilty of a misdemeanor. Carrying, using, etc.,
certain Weapons, § 334. A person who attempts to use against another, or who, with intent so to
use, carries, conceals, or possesses any instrument or weapon of the kind commonly known as a
slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol or other fire-arm, or any
dangerous weapon, is guilty of a misdemeanor.

MISSISSIPPI

1878 Miss. Laws 175-76, An Act To Prevent The Carrying Of Concealed Weapons And For
Other Purposes, ch. 46, §§ 2-3.
§ 2. It shall not be lawful for any person to sell to any minor or person intoxicated, knowing him
to be a minor or in a state of intoxication, any weapon of the kind or description in the first
section of this Act described [pistols, various knives etc.], or any pistol cartridge, and on
conviction shall be punished by a fine not exceeding two hundred dollars, and if the fine and
costs are not paid, be condemned to hard labor under the direction of the board of supervisors or
of the court, not exceeding six months. § 3. Any father, who shall knowingly suffer or permit any
minor son under the age of sixteen years to carry concealed, in whole or in part, any weapon of
the kind or description in the first section of this act described [pistols, knives, etc.], shall be
deemed guilty of a misdemeanor, and on conviction, shall be fined not less than twenty dollars,
nor more than two hundred dollars, and if the fine and costs are not paid, shall be condemned to
hard labor under the direction of the board of supervisors or of the court.

Josiah A.Patterson Campbell, The Revised Code of the Statute Laws of the State of Mississippi:
With References to Decisions of the High Court of Errors and Appeals, and of the Supreme
Court, Applicable to the Statutes Page 776-777, Image 776-777 (1880) available at The Making
of Modern Law: Primary Sources. 1880
Carrying Concealed Weapons, § 2986. It shall not be lawful for any person to sell to any minor
or person intoxicated knowing him to a minor or in a state of intoxication, any weapons of the
kind or description in the foregoing section described, or any pistol cartridge and on conviction
he shall be punished by a fine not exceeding two hundred dollars, and if the fine and costs are not
paid, be condemned to hard labor under the direction of the board of supervisors or of the court
not exceeding six months. § 2987. Any father who shall knowingly suffer or permit any minor
son under the age of sixteen years to carry concealed, in whole or in part, any person of the kind
or description in the forgoing section described, shall be deemed guilty of a misdemeanor, and
on conviction, shall be fined not less than twenty dollars, nor more than two hundred dollars, and
if the fine and costs are not paid, shall be condemned to hard labor as provided in the proceeding
section. § 2988. Any student of any university, college, or school, who shall carry concealed, in
whole or in part, any weapon of the kind or description in the foregoing section described, or any
teacher, instructor or professor who shall knowingly, suffer or permit any such weapon to be
carried by any student or pupil, shall be deemed guilty of a misdemeanor and on conviction be
fined not exceeding three hundred dollars, and if the fine and costs are not paid, be condemned to
hard labor as above provided.

                                                  19
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 124 of 174
                                          PageID.524



MISSOURI

MO. REV. STAT. § 1274 (1879), reprinted in 1 The Revised Statutes of the State of Missouri
1879 224 (John A. Hockaday et al. eds. 1879); 1 Mo. Rev. Stat. ch. 24, Art. II, § 1274, at 224
(1879).
1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The Revised
Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure,” § 1.
If any person shall carry concealed, upon or about his person, any deadly or dangerous weapon,
or shall go into any church or place where people have assembled for religious worship, or into
any school room or place where people are assembled for educational, literary or social purposes,
or to any election precinct on any election day, or into any court room during the sitting of court,
or into any other public assemblage of persons met for any lawful purpose other than for militia
drill or meetings called under the militia law of this state, having upon or about his person any
kind of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly weapon, or shall in the
presence of one or more persons shall exhibit any such weapon in a rude, angry or threatening
manner, or shall have or carry any such weapon upon or about his person when intoxicated or
under the influence of intoxicating drinks, or shall directly or indirectly sell or deliver, loan or
barter to any minor any such weapon, without the consent of the parent or guardian of such
minor, he shall, upon conviction, be punished by a fine of not less than twenty-five nor more
than two hundred dollars, or by imprisonment in the county jail not exceeding six months, or by
both such fine and imprisonment.

Chester H. Krum, Reviser, The Revised Ordinance City of St. Louis. No. 17188. Approved April
7, 1893 Page 885, Image 894 (1895) available at The Making of Modern Law: Primary Sources.
1887
Ordinances of the City of St. Louis. Minors – Conditions of Sale to, of Ammunition. – No person
shall sell to any child under the age of sixteen years, without the written consent of the parents or
guardian of such child, any cartridge of fixed ammunition of which any fulminate is a component
part, or any gun, pistol or other mechanical contrivance arranged for the explosion of such
cartridge, or of any fulminate.

Joplin Code of 1917, Art. 67, § 1201. Weapons; Deadly. 1917
If any person shall carry concealed upon or about his person a dangerous or deadly weapon of
any kind or description, or shall go into any church or place where people have assembled for
religious worship, or into any school room or place where people are assembled for educational,
political, literary or social purposes, or to any election precinct on any election day, or into any
court room during the sitting of court, or into any other public assemblage of persons met for any
lawful purpose other than for militia drill, or meetings called under militia law of this state,
having upon or about his person, concealed or exposed, any kind of firearms, bowie knife,
spring-back knife, razor, knuckles, bill, sword cane, dirk, dagger, slung shot, or other similar
deadly weapons, or shall, in the presence of one or more persons, exhibit any such weapon in a
rude, angry or threatening manner, or shall have any such weapons in his possession when
intoxicated, or directly or indirectly shall sell or deliver, loan or barter, to any minor any such
weapon, without the consent of the parent or guardian of such minor, he shall be deemed guilty
of a misdemeanor. Provided, that nothing contained in this section shall apply to legally qualified

                                                 20
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 125 of 174
                                          PageID.525


sheriffs, police officers, and other persons whose bona fide duty is to execute process, civil or
criminal, make arrests, or aid in conserving the public peace, nor to persons traveling in a
continuous journey peaceably through this state.

NEBRASKA

1895 Neb. Laws 237-38, Laws of Nebraska Relating to the City of Lincoln, An Ordinance
Regulating and Prohibiting the Use of Fire-arms, Fire-works and Cannon in the City of Lincoln .
. . Prescribing Penalties for Violation of the Provisions of This Ordinance, and Repealing
Ordinances in Conflict Herewith, Art. XXVI, §§ 2, 5.
§ 2. No person shall sell, loan, or furnish, to any minor, any gun, fowling-piece, or other fire-
arm, within the limits of the city, under penalty of a fine of fifty dollars for each offense. § 5. It
shall be unlawful for any parent, guardian, or other person having the care and custody of any
minor, to purchase for or give to any such minor or knowingly to permit any minor to have any
toy pistol, toy gun, or other toy arm or arms, or sling shot, out of which any leaden or other
dangerous missiles may be discharged. Any such person so offending shall, upon conviction
thereof, be fined in any amount not exceeding twenty dollars, and stand committed until such
fine and costs are paid and secured.

NEVADA

David E. Baily, The General Statutes of the State of Nevada. In Force. From 1861 to 1885,
Inclusive. With Citations of the Decisions of the Supreme Court Relating Thereto Page 1077,
Image 1085 (1885) available at The Making of Modern Law: Primary Sources. 1881
An Act to prohibit the carrying of concealed weapons by minors. § 1. Every person under the age
of twenty-one (21) years who shall wear or carry any dirk, pistol, sword in case, slung shot, or
other dangerous or deadly weapon concealed upon his person, shall be deemed guilty of a
misdemeanor, and shall, upon conviction thereof, be fined not less than twenty nor more than
two hundred ($200) dollars, or by imprisonment in the county jail not less than thirty days nor
more than six months or by both such fine and imprisonment. See also NEV. REV. STAT. §
4864 (1885).

Ordinance no. 67: An Ordinance to Prohibit the Selling of Dangerous Weapons to Minors,
MORNING APPEAL, Apr. 18, 1885, at 1 (Carson City, Nevada).
"ORDINANCE NO. 67
AN ORDINANCE TO PROHIBIT the Selling of Dangerous Weapons to Minors:
The Board of Trustees of Carson City do ordain:
   SECTION 1—It shall be unlawful for any person, firm or association to sell or dispose of any
dirk, dirk knife, sword, sword cane, billy, slung shot, revolver pistol, gun or other dangerous or
deadly weapon, to any person under the age o 21 years.
   SECTION 2—Any person violating any o the provisions of this ordinance shal be deemed
guilty of a misdemeanor and upon conviction thereof shall be fined in any sum not exceeding
twenty dollars, or imprisonment in the city Jail not exceeding ten days, or by both such fine and
imprisonment.
Full Text: 1885, Carson City, NV, Morning Appeal, An Ordinance to Prohibit the Selling of
Dangerous Weapons to Minors

                                                  21
Case 1:24-cv-00496-JAO-WRP               Document 35-3         Filed 12/23/24       Page 126 of 174
                                           PageID.526



NEW HAMPSHIRE

William Martin Chase, The Public Statutes of the State of New Hampshire, To which are
Prefixed the Constitutions of the United States and State of New Hampshire with a Glossary and
Digested Index Page 713, Image 732 (1891) available at The Making of Modern Law: Primary
Sources. 1883
Offenses Against Minors. § 4. If any person shall have in his possession a toy pistol, toy
revolver, or other toy firearms, for the explosion of percussion caps or blank cartridges, with
intent to sell the same, or shall sell, or offer to sell or to give away the same, he shall be fined not
more than fifty dollars; and he shall be liable for all damages resulting from the use of the toy
pistol, revolver, or other firearms by him sold or given away, to be recovered in an action on the
case.

NEW JERSEY

Act of Feb. 10, 1882, ch. 4, §§ 1-2, 1882 N.J. Acts 13-14.
CHAPTER IV.
An Act to prevent vending, using or exploding, of guns, pistols, toy pistols, or other firearms, to
or by persons under the age of fifteen years in this state.
1. BE IT ENACTED. . .That it shall not be lawful for any person or persons, to sell, barter, or
exchange, or to offer or exhibit for sale, barter or exchange, any gun, pistol, toy pistol, or other
firearms in this state, to any person under the age of fifteen years.
2. And be it enacted, That it shall not be lawful for any person to sell, hire or loan to any person
under the age of fifteen years, any gun, pistol, toy pistol or other firearms, or for any person
under the age of fifteen years to purchase, barter or exchange, or carry, fire or use any gun,
pistol, toy pistol or other firearms in this state.
3. And be it enacted, That any person offending against the provisions of this act shall be deemed
guilty of a, misdemeanor, and on being thereof convicted shall be punished by a fine not
exceeding one hundred dollars, or imprisonment at hard labor for any term not exceeding
three months, or both, at the discretion of the court.
Approved February 10, 1882.

1885 N.J. Laws 52, An Amendment to an Act to Prevent Vending, Using, or Exploding of Guns,
Pistols, Toy Pistols, or Other Fire-Arms to or by Persons under the Age of Fifteen Years in this
State, ch. 44, § 2.
That it shall not be lawful to sell, hire or loan to any person under the age of fifteen years any
gun, pistol, toy pistol, or other fire-arms; or for any person under the age of fifteen years to
purchase, barter or exchange any gun, pistol, toy pistol or other fire-arms; nor for any person
under the age of fifteen years to carry, fire or use any gun, pistol, toy pistol or other fire-arms,
except in the presence of his father or guardian, or for the purpose of military drill in accordance
with the rules of a school.

1903 N.J. Laws 337-38, An Act to Amend an Act Entitled “An Act for the Punishment of
Crimes,” ch. 169, § 1.



                                                  22
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 127 of 174
                                          PageID.527


It shall not be lawful to sell, barter, exchange, hire or loan to any person under the age of fifteen
years, any gun, pistol, toy pistol, or other firearms, or for any person under the age of fifteen
years to purchase, barter or exchange any gun, pistol, toy pistol or other firearms, nor for any
person under the age of fifteen years to carry, fire or use a gun, pistol¸ toy pistol or other
firearms, except in the presence of his father or guardian, or for the purpose of military drill in
accordance with the rules of a school; it shall be the duty of all persons selling, hiring, bartering
or exchanging pistols, revolvers, guns or other firearms, to keep and maintain a book of registry
of the same, in which said book of registry shall be entered the number of the article sold, if any,
the name of the maker, together with such other means of identification as may be obtainable
concerning the same, and also the name and address of the person to whom such pistol, revolver,
gun or other firearm is sold, bartered, exchanged or hired[.]

1914 N.J. Laws 65, Supplement to an Act Entitled “An Act to License Citizens of this State to
Hunt and Pursue Wild Animals and Fowl,” ch. 43, § 1.
No license to hunt, pursue or kill with a gun or any fire-arm any of the game birds¸ wild animals
or fowl of this State, shall be issued to any person under the age of fourteen years, and if any
applicant for license shall misrepresent his age he shall be liable to a penalty of twenty dollars, to
be sued for and recovered as other penalties under the fish and game laws.

NEW YORK

Laws, Statutes, Ordinances and Constitutions, Ordained, Made and Established, by the Mayor,
Aldermen, and Commonalty, of the City of New York, Convened in Common-Council, for the
Good Rule and Government of the Inhabitants and Residents of the Said City Page 11, Image 12
(1763) available at The Making of Modern Law: Primary Sources. 1763.
Ordinances of the City of New York, § VI. And be it further ordained by the authority aforesaid,
That if any Children, Youth, apprentices, Servants, or other persons, do fire and discharge any
gun, pistol, leaden-gun, rockets, crackers, squibs, or other fire works, at any mark, or at random
against any fence, pales or other place in any street, lane or alley, or within any orchard, garden
or other inclosure, or in any place where persons frequent to walk, such person so offending shall
forfeit for every such offense, the sum of forty shillings, current money of New York; and on
refusal to pay the same, shall be committed to the House of Correction, at the discretion of the
Mayor, recorder or aldermen, or any one of them before whom such offender shall be convicted,
there to remain committed, not exceeding Twenty days; unless such forfeiture as aforesaid, be
sooner paid with the lawful fees of commitment; one half thereof to the informer with costs, and
the other half to the church wardens of this City, for the use of the poor thereof.

Edward Livingston, Laws and Ordinances, Ordained and Established by the Mayor, Aldermen,
and Commonalty of the City of New-York, in Common-Council Convened, for the Good Rule
and Government of the Inhabitants and Residents of Said City Page 83-84, Image 84-85 (1803)
available at The Making of Modern Law: Primary Sources. 1803.
Ordinances of the City of New York, To Prevent the Firing of guns in the City of New York, § 1.
Whereas the firing of guns and the practice of fowling in the public streets and in the roads or
highways in the vicinity of this city, are frequently productive of accidents and dangerous
consequences are always to be apprehended therefrom: Be it therefore ordained by the Mayor,
Aldermen, and Commonality of the City of New York, in the Common Council convened, That

                                                 23
Case 1:24-cv-00496-JAO-WRP             Document 35-3         Filed 12/23/24     Page 128 of 174
                                         PageID.528


no person shall hereafter be permitted to fire or discharge any gun, pistol, fowling piece, or fire-
arm, at any place on the island of New York, within the distance of four miles from the City
Hall, under the penalty of five dollars upon each offender, to be recovered with costs. And if the
person so offending shall be a minor, apprentice, servant or slave, the said fine shall be
recoverable form his father, mother, master or mistress, together with costs. Provided always,
that nothing contained in this ordinance shall be constructed to extend to the reviews or exercises
of any military company, or of the State Prison Guards.

D. T. Valentine, Ordinances of the Mayor, Aldermen and Commonalty of the City of New York:
Revised A. D. 1859 Adopted by the Common Council Page 235, Image 243 (1859) available at
The Making of Modern Law: Primary Sources. 1859.
Ordinances of the City of New York. Firing of Fire-Arms, Cannons and Fireworks. § 6. No
tavern-keeper, keeper of a public house, garden or place of resort, nor any other person, shall
suffer or permit any person to practice with or fire off any pistol, gun, fowling-piece or other
fire-arms, in or upon his or her premises, nor shall suffer or permit any pistol gallery, erected in
his or her house, or upon his or her premises, to be used for the purpose of practicing with any
pistol gun, fowling-piece or other fire-arms, upon the first day of the week, called Sunday, under
the penalty of fifty dollars for each offense, to be sued for and recovered from the person keeping
such public house, tavern, public garden, pistol gallery, place of resort or premises; and also the
further penalty of fifty dollars for each offense, to be sued for and recovered from the person
firing off or practicing with a pistol, gun, fowling-piece, or other fire-arms; and in case of such
person so offending shall be an apprentice, such penalty shall be sued for and recovered from the
master of such apprentice, or in case such person so offending shall be a minor and not an
apprentice, the same shall be sued for and recovered from the father of, or in case of the death of
the father, then from the mother or guardian of such minor.

Act of May 10, 1883, § 1, ch. 375, 1883 N.Y. Laws 556.
CHAP. 375. AN ACT to limit the carrying and sale of pistols and other fire-arms in the cities of
this state. PASSED May 10, 1883.
SECTION 1. No person under the age of eighteen years shall have, carry or have in his
possession in any public street, highway or place in any of the cities of this state, any pistol or
other fire-arms of any kind, and no person shall in such cities sell or give any pistol or other
fire-arms to any person under such age.
§ 2. Any person violating any of the provisions of this act shall be guilty of a misdemeanor, and
in all trials or examinations for said offense the appearance of the person so alleged or claimed to
be under the age of eighteen years shall be evidence to the magistrate or jury as to the age of
such person.
§ 3. Nothing herein contained shall apply to the regular and ordinary transportation of pistols or
fire-arms as articles of merchandise in said cities, or to the carrying of a gun or rifle through a
street or highway of any city, with the intent to use the same outside of said city; nor to any
person under the age carrying any pistol or other firearms under a license given by the mayor of
said cities; but no licenses so given shall be in force more than one year from its date, and all
such licenses may be revoked at the pleasure of the mayor, and a full, complete and public record
shall be kept by the mayor of said cities of all such licenses, and the terms and date thereof.




                                                24
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 129 of 174
                                          PageID.529


George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of New
York as Amended 1882-5 Page 172, Image 699 (1885) available at The Making of Modern Law:
Primary Sources. 1884
Carrying, Using, Etc., Certain Weapons, § 410. A person who attempts to use against another, or
who, with intent so to use, carries, conceals or possesses any instrument or weapon of the kind
commonly known as the slung-shot, billy, sand –club or metal knuckles, or a dagger, dirk or
dangerous knife, is guilty of a felony. Any person under the age of eighteen years who shall
have, carry or have in his possession in any public street, highway or place in any city of this
state, without a written license from a police magistrate of such city, any pistol or other fire-arm
of any kind, shall be guilty of a misdemeanor. This section shall not apply to the regular and
ordinary transportation of fire-arms as merchandise, or for use without the city limits. § 411.
Possession, Presumptive Evidence. The possession, by any person other than a public officer, of
any of the weapons specified in the last section, concealed or furtively carried on the person, is
presumptive evidence of carrying, or concealing, or possessing, with intent to use the same in
violation of that section.

George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of New
York as Amended 1882-5. Fourth Edition Page 172, image 699 (1885) available at The Making
of Modern Law: Primary Sources. 1885
Making Selling, Etc., Dangerous Weapons, § 409. A person who manufactures, or causes to be
manufactured, or sells or keeps for sale, or offers, or gives, or disposes of, any instrument or
weapon of the kind usually known as slung-shot, billy, sand club or metal knuckles, or who, in
any city in this state, without the written consent of a police magistrate, sells or gives any pistol
or other fire-arm to any person under the age of eighteen years is guilty of a misdemeanor.

George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of New
York as Amended 1882-5. Fourth Edition Page 298, Image 824 (1885) available at The Making
of Modern Law: Primary Sources. 1885
An Act to Limit the Carrying and Sale of Pistols and other fire arms in the cities of this state.
Chap. 375, § 1. No person under the age of eighteen years shall have, carry or have in his
possession in any public street, highway or place in any of the cities of this state, any pistol or
other firearms of any kind, and no person shall in such cities sell or give any pistol or other fire-
arms to any person under such age. § 2. Any person violating any of the provisions of this act
shall be guilty of a misdemeanor, and in all trials or examinations for said offense the appearance
of the person so alleged or claimed to be under the age of eighteen years shall be evidence to the
magistrate or jury as to the age of such person. § 3. Nothing herein contained shall apply to the
regular and ordinary transportation of pistols or fire-arms as articles of merchandise in said
cities, or to the carrying of a gun or rifle through a street or highway of any city, with the intent
to use the same outside the said city; nor to any person under such age carrying an pistol or
firearms under license given by the mayor of said cities; but no license so given shall be in force
more than one year from its date; and all such licenses may be revoked at the pleasure of the
mayor, and a full complete and public record shall be kept by the mayor of said cities of all such
licenses and the terms and date thereof.

1900 N.Y. Laws 459, An Act to Amend Section Four Hundred and Nine of the Penal Code,
Relative to Dangerous Weapons, ch. 222, § 1.

                                                  25
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 130 of 174
                                          PageID.530


Making, et cetera, dangerous weapons. – A person who manufactures, or causes to be
manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any instrument or
weapon of the kind usually known as slunghsot, billy, sand-club or metal knuckes, or who, in
any city or incorporated village in this state, without the written consent of the police magistrate,
sells or gives any pisol or other firearm, to any person under the age of eighteen years or without
a like consent sells or gives away any air-gun, or spring-gun, or other instrument or weapon in
which the propelling force is a spring or air to any person under ht age of twelve years, or who
sells or gives away any instrument or weapon commonly known as a toy pistol, in or upon which
any loaded or blank cartridges are used or may be used, to any person under the age of sixteen
years, is guilty of a misdemeanor.

1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale and Carrying
of Dangerous Weapons. ch. 195, §1.
Section . . . eighteen hundred and ninety-seven . . . [is] hereby amended to read as follows: §
1897. Carrying and use of dangerous weapons. A person who attempts to use against another, or
who carries, or possesses any instrument or weapon of the kind commonly known as a blackjack,
slunghsot, billy, sandclub, sandbag, metal knuckles or bludgeon, or who with intent to use the
same unlawfully against another, carries or possesses a dagger, dirk, dangerous knife, razor,
stiletto, or any other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
under the age of sixteen years, who shall have, carry, or have in his possession, any of the
articles named or described in the last section, which is forbidden therein to offer, sell, loan,
lease or give to him, shall be guilty of a misdemeanor. . . . Any person over the age of sixteen
years, who shall have or carry concealed upon his person in any city, village, or town of this
state, any pistol, revolver, or other firearm without a written license therefor, theretofore issued
to him by a police magistrate of such city or village, or by a justice of the peace of such town, or
in such manner as may be prescribed by ordinance of such city, village or town, shall be guilty of
a felony.

1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to the Sale and Carrying of
Dangerous Weapons. ch. 195, § 1.
Section[] eighteen hundred and ninety-six . . . [is] hereby amended . . . § 1896. Making and
disposing of dangerous weapons. A person who manufactures, or causes to be manufactured, or
sells or keeps for sale, or offers, or gives, or disposes of any instrument or weapon of the kind
usually known as a blackjack, slungshot, billy, sandclub, sandbag, bludgeon, or metal knuckles,
to any person; or a person who offers, sells, loans, leases or gives any gun, revolver, pistol or
other firearm or any airgun, spring-gun or other instrument or weapon in which the propelling
force is a spring or air or any instrument or weapon commonly known as a toy pistol or in or
upon which any loaded or blank cartridges are used, or may be used, or any loaded or blank
cartridges or ammunition therefor, to any person under the age of sixteen years, is guilty of a
misdemeanor.

1913 N.Y. Laws 1627-30, Vol. III, Ch. 608
AN ACT to amend the penal law generally, in relation to the carrying, use and sale of dangerous
weapons.
Became a law May 21, 1913



                                                 26
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 131 of 174
                                         PageID.531


§ 1897. Carrying and use of dangerous weapons. A person who attempts to use against another,
or who carries, or possesses, any instrument or weapon of the kind commonly known as a
blackjack, slungshot, billy, sandclub, sandbag, metal knuckles, bludgeon, bomb or bombshell, or
who, with intent to use the same unlawfully against another, carries or possesses a dagger, dirk,
dangerous knife, razor, stiletto, or any other dangerous or deadly instrument or weapon, is guilty
of a felony.
Any person under the age of sixteen years, who shall have, carry, or have in his possession, any
of the articles named or described in the last section, which is forbidden therein to offer, sell,
loan, lease or give to him, shall be guilty of a misdemeanor.
Any person over the age of sixteen years, who shall have in his possession in any city, village or
town of this state, any pistol, revolver or other firearm of a size which may be concealed upon
the person, without a written license therefor, issued to him as hereinafter prescribed, shall be
guilty of a misdemeanor.
Any person over the age of sixteen years, who shall have or carry concealed upon his person in
any city, village, or town of this state, any pistol, revolver, or other firearm without a written
license therefor, issued as hereinafter prescribed and licensing such possession and concealment,
shall be guilty of a felony.
Any person not a citizen of the United States, who shall have or carry firearms, or any dangerous
or deadly weapons in any place, at any time, shall be guilty of a felony, unless authorized
by license issued as hereinafter prescribed.

NORTH CAROLINA

1893 N.C. Sess. Laws 468–69
Section 1: That it shall be unlawful for any person, corporation or firm knowingly to sell or offer
for sale, give or in any way dispose of to a minor any pistol or pistol cartridge, brass knucks,
bowie-knife, dirk, loaded cane, or sling shot. Sec. 2. That any person, corporation or firm
violating this act shall be guilty of a misdemeanor, and upon conviction for each and every
offense shall be fined or imprisoned, one or both, in the discretion of the court.

1913 N.C. Sess. Laws 57, Pub. Laws, An Act to Prevent the Use of Firearms by Children, ch. 32
§ 1.
That any person being the parent or guardian of, or standing in loco parentis to, any child under
the age of twelve years who shall knowlingly permit such child to have the possession or custody
of, or use in any manner whatever, any gun, pistol, or other dangerous firearm, whether such
firearm be loaded or unloaded, or any other person, who shall knowingly furnish such child any
such firearm, shall be guilty of a misdemeanor, and upon conviction shall be fined not exceeding
fifty dollars, or imprisoned not exceeding thirty days.

NORTH DAKOTA

GRAND FORKS, THE MUNICIPAL CHARTER ACT AND THE ORDINANCES OF THE
CITY, tit. 2, ch. 12, § 181 (sine nomine 1908).
“CHAPTER XII
PUBLIC SAFETY REGULATIONS



                                                27
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 132 of 174
                                          PageID.532


§ 181. Firearms Not to Be Furnished to Minors. It shall be unlawful for any person, firm or
corporation to sell or rent firearms to minors within the limits of the city of Grand Forks. Any
person, firm or corporation violating the provisions hereof shall be deemed guilty of a
misdemeanor and upon conviction thereof, shall be liable to a fine of not less than ten dollars nor
more than fifty dollars for each offense. (Ord. 158.)”
Scott Rex, ed., The Municipal Charter Act and the Ordinances of the City of Grand Forks, N.
Dak.: Comprising All Ordinances in Force on March 4, 1908: Compiled by Order of the City
Council (Grand Forks, ND: s.n., 1908), 127. Title 2—Ordinances, Chapter 12—Public Safety
Regulations, § 181. Undated.

Ordinance no. 86, §§ 1-6, NORTH DAKOTA RECORD, Jun. 16, 1910, at 6 (Ellendale, North
Dakota).
“Ordinance No. 86.
   An ordinance relating to the use of firearms in the city of Ellendale, N.D., and prohibiting the
use[,] firing, burning or exploding of fire-works in said city and providing penalties for the
violation thereof.
   BE IT ORDAINED, by the City Council of the city of Ellendale, N.D.
   Section 1[.] It shall be unlawful for any person to fire or discharge within the limits of
Ellendale, N.D., any gun, pistol or firearms of any description or to use, burn, fire or explode any
giant fire crackers, skyrockets, roman candles or anything that contains powder or other
dangerous explosives.
   Provided that it shall be lawful to burn or explode bunch firecrackers, torpedoes or other infant
fireworks within the city limits[.]
   And provided further that nothing in this section must be construed as meaning that the
customary salute of guns on the fourth of July in any year is prohibited or the firing of any gun
when done in the case of actual necessity, or in the performance of lawful duty, or by military
companies when on parade, is unlawful or prohibited by this Ordinance.
   Section 2[.] It shall be unlawful for any person, firm or corporation to sell, trade, lend or give
to any minor residing within the limits of the city of Ellendale, any gun, pistol, revolver or other
kinds of firearms.
   Section 3. It shall be the duty of the Mayor and Chief of Police to see that the provisions of
this Ordinance are rigidly enforced, but the Mayor may modify any of its provisions or
conditions on the Fourth of July or any day of general rejoicing.
   Section 4. PENALTIES. Any person violating any of the provisions of Section 1 of this
Ordinance shall be fined a sum of not less than $5.00 nor more than $10.00 for each offence.
Any one violating Section 2 of this Ordinance shall be fined a sum of not less than $10.00 nor
more than $10.00[1] at the discretion of the Court.
   Section 5. All Ordinances or parts of Ordinances in conflict herewith are hereby repealed.
   Section 6. This Ordinance shall take effect from and after its passage, approval and
publication.
“Ordinance no. 86.” North Dakota Record, June 16, 1910, p. 6. Volume 16; Number 44.[1]
Ordinance no. 86—An Ordinance Relating to the Use of Firearms in the City of Ellendale, N.D.,
and Prohibiting the Use[,] Firing, Burning or Exploding of Fire-Works in Said City and
Providing Penalties for the Violation Thereof, §§ 1-6. 1st Reading, June 7, 1910; 2nd Reading,
June 14, 1910; Passed, June 14, 1910; Approved, June 14, 1910.



                                                 28
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 133 of 174
                                          PageID.533


1923 N.D. Laws 381, Pistols and Revolvers, ch. 266, § 9.
Sec. 9. Selling to Minors. Any person or persons who shall sell, barter, hire, lend or give to any
minor under the age of eighteen years any pistol or revolver shall be deemed guilty of a
misdemeanor, and shall upon conviction thereof be fined not less than $100, nor more than
$1,000, or be imprisoned not less than three months, nor more than one year, or both.

OHIO

Act of Mar. 25, 1880, § 1, 1880 Ohio Laws 79-80.
Section 6986a. That whoever sells, barters, or gives away to any minor under the age of fourteen
years, any air-gun, musket, rifle-gun, shot-gun, revolver, pistol, or other fire-arm, of any kind or
description whatever, or ammunition for the same, or whoever being the owner, or having charge
or control of any such air-gun, musket, rifle-gun, shot-gun, revolver, pistol or other fire-arm
knowingly permits the same to be used by such minor, shall be deemed guilty of a misdemeanor,
and upon conviction thereof shall be fined in any sum not exceeding one hundred dollars, or be
imprisoned in jail not exceeding thirty days or both.
Passed March 25, 1880.

1883 Ohio Laws 222, An Act to Prohibit the Sale of Toy Pistols in the State of Ohio, § 1.
That it shall be unlawful for any firm, company or person in the state of Ohio, to sell or exhibit
for sale any pistol manufactured out of any metallic or hard substance, commonly known as the
“toy pistol”; to a minor under the age of fourteen years; any firm company or person violating
the provisions of this act, shall be deemed guilty of a misdemeanor, and upon conviction thereof
shall be fined not less than ten nor more than fifty dollars, or be imprisoned not less than ten days
nor more than twenty days, or both, and shall be liable to a civil action in damages ot any person
injured by such sale.

1913 Ohio Laws 906, An Act: A Bill to Amend and Supplement [Certain] Sections . . . and to
Repeal [Certain] Sections of the General Code; Relating to Children and to Females under
Twenty-One Years of Age and to Organizations which Include within Their Objects Matters
Relating to Children, ch. 11, §§ 12966-67.
§ 12966. Whoever sells or exhibits for sale, to a minor under sixteen years of age, a pistol
manufactured of a metallic or hard substance, commonly known as a “toy pistol” or air gun, or
any form of explosive gun ,shall be fined not less than ten dollars nor more than fifty dollars or
imprisoned not less than ten days nor more than twenty days, or both, and be liable in damages to
any person injured by such sale. § 12967. Whoever sells, barters, furnishes or gives to a minor
under the age of seventeen years, an air-gun, musket, rifle, shotgun, revolver, pistol, or other fire-
arm, or ammunition therefor, or, being the owner or having charge or control thereof, knowingly
permits it to be used by a minor under such age, shall be fined not more than one hundred dollars
or imprisoned in jail not more than thirty days, or both.

OKLAHOMA

1890 Okla. Laws 495, art. 47
Sec. 1. It shall be unlawful for any person in the Territory of Oklahoma to carry concealed on or
about his person, saddle, or saddle bags, any pistol, revolver, bowie knife, dirk, dagger, slung-

                                                 29
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 134 of 174
                                          PageID.534


shot, sword cane, spear, metal knuckles, or any other kind of knife or instrument manufactured
or sold for the purpose of defense except as in this article provided.
Sec. 2. It shall be unlawful for any person in the Territory of Oklahoma, to carry upon or about
his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy, metal knuckles, or any
other offensive or defensive weapon, except as in this article provided.
Sec. 3. It shall be unlawful for any person within this Territory, to sell or give to any minor any
of the arms or weapons designated in sections one and two of this article.
Sec. 4. Public officers while in the discharge of their duties or while going from their homes to
their place of duty, or returning therefrom, shall be permitted to carry arms, but at no other time
and under to other circumstances: Provided, however, That if any public officer be found
carrying such arms while under the influence of intoxicating drinks, he shall be deemed guilty of
a violation of this article as though he were a private person.
Sec. 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of hunting, having
them repaired, or for killing animals, or for the purpose of using the same in public muster or
military drills, or while traveling or removing from one place to another, and not otherwise.
...
Sec. 7. It shall be unlawful for any person, except a peace officer, to carry into any church or
religious assembly, any school room or other place where persons are assembled for public
worship, for amusement, or for educational or scientific purposes, or into any circus, show or
public exhibition of any kind, or into any ball room, or to any social party or social gathering, or
to any election, or to any place where intoxicating liquors are sold, or to any political convention,
or to any other public assembly, any of the weapons designated in sections one and two of this
article.
Sec. 8. It shall be unlawful for any person in this Territory to carry or wear any deadly weapons
or dangerous instrument whatsoever, openly or secretly, with the intent or for the avowed
purpose of injuring his fellow man.
Sec. 9. It shall be unlawful for any person to point any pistol or any other deadly weapon
whether loaded or not, at any other person or persons either in anger or otherwise.

OREGON

1868 Or. Laws 18-19, An Act to Protect the Owners of Firearms, §§ 1-2.
Whereas, the constitution of the United States, in article second of amendments to the
constitution, declares that “the right to the people to keep and bear arms shall not be infringed;”
and the constitution for the state of Oregon, in article first, section twenty-seven, declares that
“the people shall have the right to bear arms for the defense of themselves and the state;”
therefore . . . § 1. Every white male citizen of this state above the age of sixteen years, shall be
entitled to have, hold, and keep, for his own use and defense, the following firearms, to wit:
either or any one of the following-named guns, and one revolving pistol: a rifle, shot-gun (double
or single barrel), yager, or musket; the same to be exempt from execution, in all cases, under the
laws of Oregon. § 2. No officer, civil or military, or other person, shall take from or demand of
the owner any fire-arms mentioned in this act, except where the services of the owner are also
required to keep the peace or defend the state.




                                                 30
Case 1:24-cv-00496-JAO-WRP               Document 35-3        Filed 12/23/24       Page 135 of 174
                                           PageID.535


1903 Or. Laws 309-10, An Act to Regulate and Prohibit the Sale, Barter, Exchange, or Gift of
Explosives, Firearms or Other Articles of a Like Kind, to Children Under the Age of Fourteen
Years, and to Punish the Violation of the Provisions of this Act. §§ 1-2.
§ 1. It shall be unlawful to sell, exchange, barter, or give to any child, under the age of fourteen
years, any explosive article or substance, other than an ordinary firecracker, containing ten grains
of gunpowder; or to sell, exchange, barter, or give to any such child any firearms, or other device
of a like kind, ordinarily used or ordinarily capable of being used in discharging gunpowder in a
greater quantity than ten grains; and it is herby made unlawful in any event to sell, exchange,
barter, or give to any child, under the age of fourteen years, any instrument or apparatus, the
chief utility of which consists in the fact that it is used, or is ordinarily capable of being used, as
an article or device to increase the force or intensity of such explosive, or to direct or control the
discharge of any such explosive. § 2. Any person violating the provisions of this act shall be
guilty of a misdemeanor.

1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale, possession, carrying, or
use of any blackjack, slungshot, billy, sandclub, sandbag, metal knuckles, dirk, dagger or stiletto,
and regulating the carrying and sale of certain firearms, and defining the duties of certain
executive officers, and providing penalties for violation of the provisions of this Act, § 10.
Section 10. It shall be unlawful for any person, firm or corporation to sell, offer for sale, give or
dispose of any pistol, revolver or other firearm of a size which may be concealed upon the
person, to any minor under the age of twenty-one years. A violation of this section is a
misdemeanor and punishable by imprisonment in the county jail for a period not exceeding six
months, or by a fine not exceeding Five Hundred Dollars, or both such fine and imprisonment.

PENNSYLVANIA

Act of June 10, 1881, § 1
makes any person, “who shall knowingly and willfully sell or cause to be sold, to any person
under sixteen years of age, any cannon, revolver, pistol or other such deadly weapon, … shall, in
every such case, be guilty of a misdemeanor, and upon conviction thereof shall be sentenced to
pay a fine not exceeding three hundred dollars.”

John Purdon, A Digest of the Laws of Pennsylvania: From the Year One Thousand Seven
Hundred to the Sixth Day of July, One Thousand Eight Hundred and Eighty-Three.11th Edition
Page 423-424, Image 472-473 (Vol. 1, 1885) available at The Making of Modern Law: Primary
Sources. 1883
Crimes, Carrying and Sale of Explosives, § 113. Any person who shall knowingly and willfully
sell or cause to be sold to any person under sixteen years of age, any cannon, revolver, pistol or
other such deadly weapon, or who shall knowingly and willfully sell, or cause to be sold, to any
such minor, any imitation or toy cannon, revolver or pistol so made, constructed or arranged as
to be capable of being loaded with gunpowder or other explosive substance, cartridges, shot,
slugs or balls and being exploded, fired off and discharged, and thereby become a dangerous or
deadly weapon, or who shall knowingly and willfully sell, or cause to be sold to any such minor,
any cartridge, gunpowder or other dangerous and explosive substance, shall in every such case,
be guilty of a misdemeanor, and upon conviction thereof shall be sentenced to pay a fine not
exceeding three hundred dollars.

                                                  31
Case 1:24-cv-00496-JAO-WRP             Document 35-3         Filed 12/23/24      Page 136 of 174
                                         PageID.536



RHODE ISLAND

1883 R.I. Pub. Laws 157, An Act In Amendment Of And in Addition To Chapter 92 Of The
Public Statutes “Of Fire-arms and Fire-works”, § 1
§ 1. No person shall sell to any child under the age of fifteen years, without the written consent
of a parent or guardian of such child, any cartridge or fixed ammunition of which any fulminate
is a component part, or any gun, pistol or other mechanical contrivance arranged for the
explosion of such cartridge or of any fulminate. . . .
Firearms and Fire-works. § 7. No person shall sell to any child under the age of fifteen years,
without the written consent of a parent or guardian of such child, any cartridge or fixed
ammunition of which any fulminate is a component part, or any gun, pistol or other mechanical
contrivance arranged for the explosion of such cartridge or of any fulminate. § 8. Every person
violating the provisions of the foregoing section shall be fined not less than ten dollars nor more
than twenty dollars for each offence.

SOUTH CAROLINA

Ordinances, of the Town of Columbia, (S. C.) Passed Since the Incorporation of Said Town: To
Which are Prefixed, the Acts of the General Assembly, for Incorporating the Said Town, and
Others in Relation Thereto Page 61-61, Image 61-62 (1823) available at The Making of Modern
Law: Primary Sources. 1817.
[Ordinances of the Town of Columbia, An Ordinance for Prohibiting the Firing of Guns in the
Town of Columbia (1817). Whereas the practice of firing small arms within the town of
Columbia is extremely dangerous to the lives; as well as the property of the inhabitants thereof,
and ought to be strictly prohibited: Be it ordained by the Intendent and Municipal Wardens of the
towns aforesaid, in council assembled, and it is hereby ordained by the authority of the same,
That hereafter it shall not be lawful for any person to fire or discharge any gun, pistol or other
small arms within the limits bounded by Henderson, Blossom, Lincoln and Upper streets; and if
any person shall wantonly, knowingly, and willfully fire or discharge any gun, pistol, or other
small arms within the said limits, such person shall forfeit and pay to the use of the town
aforesaid, a sum not exceeding five dollars, for each and every such offence, to be sued for and
recovered according to law. And whereas, offences of this kind may be committed by minors or
other disorderly persons, who have no ostensible property whereof the said penalty can be levied.
Be it therefore ordained by the authority aforesaid, That any gun, pistol or other small arms, fired
or discharged by any such person in breach of this ordinance, shall be liable for the payment of
the penalty or penalties aforesaid; and it shall be lawful for the intendant, either of the Wardens
or constables, who shall see such person offending against this ordinance, to seize and take into
possession the gun or pistol, or other small arms so fired or discharged, and despite the same
with the Intendant or either of the Wardens; and if the person charged with the said offense, and
convicted thereof, shall not within ten days after conviction pay the penalty incurred and the
costs of prosecution, the same shall be sold to discharge the said penalty and costs: Provided
nevertheless, That nothing in this ordinance contained shall extend to prohibit or restrain the
usual exercises or duties of the military on muster or parade days, or in performance of patrol or
other duties enjoined by law, or to prohibit or restrain any of the inhabitants of said town from
shooting any mad dog, or any other dangerous animal found within the same, or from firing guns

                                                32
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 137 of 174
                                          PageID.537


on the fourth of July, Christmas and New-Years days, or on any other day of general rejoicing of
said town.]

1923 S.C. Acts 221
If any person shall knowingly sell, offer for sale, give, or in any way dispose of to a minor any
pistol or pistol cartridge, brass knucks, bowie knife, dirk, loaded cane or sling shot, he shall be
guilty of a misdemeanor. Any person being the parent or guardian, of or attending in loco
parentis to any child under the age of twelve years who shall knowingly permit such child to
have the possession or custody of, or use in any manner whatever any gun, pistol, or other
dangerous firearm, whether such firearm be loaded or unloaded, or any person who shall
knowingly furnish such child any firearm, shall be guilty of a misdemeanor, and, upon
conviction, shall be fined not exceeding Fifty Dollars or imprisoned not exceeding thirty days.

SOUTH DAKOTA

1903 S.D. Sess. Laws 168-69, Prohibiting the Use of Fire Arms by Persons under Fifteen Years
of Age, ch. 144, §§ 1-3.
§1. It shall be unlawful for any person under the age of fifteen years to carry, use or discharge
any rifle, shot gun, revolver or other fire arms except with the consent and knowledge of their
parents or guardians. § 2. It shall be unlawful for any parent or guardian, having the legal charge
or control of any minor under the age of fifteen years, to allow or permit such minor to use or
carry while loaded any of the arms mentioned in section one of this act within the platted portion
or within the distance of one mile of the platted portion of any city, town or village. § 3. Any
person or persons violating the provisions of this act shall be deemed guilty of a misdemeanor
and upon conviction thereof shall be fined in a sum not exceeding Fifty Dollars.

TENNESSEE

John M. Lea, The Revised Laws of the City of Nashville, with the Various Acts of Incorporation
and Laws Applicable to the Town and City of Nashville, and a List of the Different Boards of
Mayor and Aldermen, and Other Officers of Said City from the Year 1806 to 1850, Inclusive
Page 68, Image 69 (1850) available at The Making of Modern Law: Primary Sources. 1850.
[An Act to Provide for the Prevention and Extinguishment of Fires within the City of
Nashville,]§ 11. Be it enacted, That if any person or persons shall fire any gun or pistol, cast,
throw, or fire any squib, rocket, cracker, or other combustible fire-works within the limits of the
corporation, every such person, for every such offence, shall forfeit and pay the sum of five
dollars; and if a slave, he, she or they shall receive not less than five, nor more than twenty
lashes, any person or persons shall vend, manufacture, give away, deal in or have in his
possession any squib, rocket, cracker, powder, or other combustible fire-works within the limits
of the corporation of Nashville for the purpose of disposing of the same to minors or slaves,
every such person, for every such offence, shall forfeit and pay the sum of twenty dollars.

An Act to Amend the Criminal Laws of this State, ch. 81, §§ 2-3, 1856 Tenn. Acts 92, 92.
"CHAPTER 81.
AN ACT to Amend the Criminal Laws of this State...



                                                 33
Case 1:24-cv-00496-JAO-WRP               Document 35-3        Filed 12/23/24       Page 138 of 174
                                           PageID.538


   SEC. 2. Be it enacted, That, hereafter, it shall be unlawful for any person to sell, loan, or give,
to any minor a pistol, bowie-knife, dirk, or Arkansas tooth-pick, or hunter's knife; and whoever
shall so sell, loan, or give, to any minor any such weapon, on conviction thereof, upon
indictment or presentment, shall be fined not less than twenty-five dollars, and be liable to
imprisonment, at the discretion of the Court: Provided, that this act shall not be construed so as
to prevent the sale, loan, or gift, to any minor of a gun for hunting.
   SEC. 3. Be it enacted, That it shall be the duty of the Circuit Judges and the Judges of the
Criminal Courts to give this act in charge to the Grand Juries: Provided, said minor be travelling
on a journey, he shall be exempted.
   SEC. 3. Be it enacted, That this act shall be in force from and after its passage."

Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of Tennessee, of a
General and Permanent Nature, Compiled on the Basis of the Code of Tennessee, With Notes
and References, Including Acts of Session of 1870-’71 Page 125, Image 794 (Vol. 2, 1873)
available at The Making of Modern Law: Primary Sources. 1856
Offences Against Public Policy and Economy. § 4864. Any person who sells, loans, or gives, to
any minor a pistol, bowie-knife, dirk, Arkansas tooth-pick, hunter’s knife, or like dangerous
weapon, except a gun for hunting or weapon for defense in traveling, is guilty of a misdemeanor,
and shall be fined not less than twenty-five dollars, and be imprisoned in the county jail at the
discretion of the court.

The Code of Tennessee Enacted by the General Assembly of 1857-8, 871 (Return J. Meigs &
William F. Cooper eds. 1858). Chapter 9, Article II, Selling Liquors or Weapons to Minors or
Slaves. Page 871. 1858.
4864. Any person who sells, loans, or gives to any minor [under 21*] a pistol, bowie-knife, dirk,
Arkansas tooth-pick, hunter's knife, or like dangerous weapon, except a gun for hunting or
weapon for defence in travelling, is guilty of a misdemeanor, and shall be fined not less than
twenty-five dollars, and be imprisoned in the county jail at the discretion of the court.
https://heinonline-
org.proxy.wm.edu/HOL/Page?collection=sstatutes&handle=hein.sstatutes/ctengas0001&id=903
&men_tab=srchresults
*Warwick v. Cooper, 37 Tenn. 659, 660–61 (1858) (describing “an infant under the age of
twenty-one”)

William H. Bridges, Digest of the Charters and Ordinances of the City of Memphis, Together
with the Acts of the Legislature Relating to the City, with an Appendix Page 148-149, Image
149-150 (1863) available at The Making of Modern Law: Primary Sources. 1863.
[Ordinances of the City of Memphis, Shooting Galleries, § 1. That no person or persons shall set
up or use any pistol gallery, or place for the discharging of pistols, guns or other firearms in the
first story of any building in the city; nor shall any gallery be used in any manner involving risk
or danger to any person in the city; nor shall any person setting up or using such pistol gallery be
exempt from the ordinance and penalties now in force, for discharging or shooting any pistol,
gun or firearms within the city limits, until such person or persons have applied and paid for
license to set up and use such pistol gallery, according to the provisions of this ordinance. § 2.
That the person or persons applying for license to keep such pistol gallery, shall, at the time of
obtaining such license, enter into bond with good security, to be approved by the City Register,

                                                  34
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 139 of 174
                                          PageID.539


in the sum of three thousand dollars, payable as other city bonds, conditioned that no gambling
of any kind be permitted in such pistol gallery, or in the room used for such pistol gallery, or any
room adjacent thereto, under the control and connected with said pistol gallery, or its proprietors
or keepers; and that all shooting or discharging of firearms shall be done only with the perfect
security against any harm to persons or property in the vicinity of such pistol gallery; such
penalty to be recoverable for every violation of this section of this ordinance, and of the
conditions of said bond. § 3. That the proprietors or persons keeping such pistol gallery shall not
permit any minors to shoot in such gallery without the written consent of the lawful guardian of
such minor, unless such guardian be personally present, and consenting to such shooting; nor
shall the proprietors or keepers of such gallery permit any shooting in the same after eleven
o’clock at night, or on Sunday, nor shall such shooting gallery be allowed to be kept open for
shooting after eleven o’clock at night or on Sunday. Any violation of this ordinance is hereby
declared a misdemeanor, and each offender, on conviction shall be fined in any sum not less than
five nor more than fifty dollars for any violation of this ordinance, recoverable as other fines. § 4.
Any person or persons shall before putting up or using such pistol or shooting gallery, first apply
for, and obtain license, as other licenses are obtained, and shall pay for such license the sum of
one hundred dollars per annum for each and every pistol or shooting gallery establishment under
the provision of this ordinance. § 5. That the board of Mayor and Aldermen retain the power and
right to, at any time, repeal this ordinance and revoke and recall any license to keep a pistol
gallery, by refunding a pro rata part of the amount paid for any license then outstanding.]

William H. Bridges, Digest of the Charters and Ordinances of the City of Memphis, from 1826
to 1867, Inclusive, Together with the Acts of the Legislature Relating to the City, with an
Appendix Page 50, Image 50 (1867) available at The Making of Modern Law: Primary Sources.
1867
Police Regulations of the State. Selling Liquors or Weapons to Minors. § 4864. Any person who
sells, loans or gives to any minor a pistol, bowie-knife, dirk, Arkansas toothpick, hunter’s knife,
or like dangerous weapon, except a gun for hunting or weapon for defense in traveling, is guilty
of a misdemeanor and shall be fined not less than twenty-five dollars, and imprisoned in the
county jail at the discretion of the court.

TEXAS

1897 Tex. Gen. Laws 221-22, An Act to Prevent the Barter, Sale and Gift of Any Pistol, Dirk,
Dagger, Slung Shot, Sword Cane, Spear, or Knuckles Made of Any Metal or Hard Substance to
Any Minor Without the Written Consent of the Parent or Guardian of Such Minor. . . , ch. 155, §
1.
That if any person in this State shall knowingly sell, give or barter, or cause to be sold, given or
bartered to any minor, any pistol, dirk, dagger, slung shot, sword-cane, spear or knuckles made
of any metal or hard substance, bowie knife or any other knife manufactured or sold for the
purpose of offense or defense, without the written consent of the parent or guardian of such
minor, or of someone standing in lieu thereof, he shall be punished by fine of not less then
twenty-five nor more than two hundred dollars, or by imprisonment in the county jail not less
than ten nor more than thirty days, or by both such fine and imprisonment. And during the time
of such imprisonment such offender may be put to work upon any public work in the county in
which such offense is committed.

                                                 35
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 140 of 174
                                          PageID.540



UTAH

1905 Utah Laws 60, An Act to Prohibit the Sale of Firearms to Minors and the Carrying of
Firearms by Minors, and Prescribing Penalties for Violation Thereof, ch. 52, §§ 1-2.
§ 1. Selling or giving firearms to minors under fourteen. Any person who sells, gives or disposes
of, or offers to sell, give or dispose of any pistol, gun, target gun, or other firearm, to any person
under the age of fourteen years, is guilty of a misdemeanor. § 2. Minor under fourteen must not
carry firearms. Any person under the ager of fourteen years who shall carry, or have in his
possession, any pistol, gun, target gun or other firearm, unless accompanied by a parent or
guardian, shall be guilty of a misdemeanor.

VERMONT

Act of Nov. 16, 1896, No. 111, § 1, 1896 Vt. Acts & Resolves 83.
No. III.-AN ACT RELATING TO THE SALE, DISTRIBUTION AND USE OF FIRE-ARMS.
It is hereby enacted by the General Assembly of the State of Vermont:
SECTION I. No person shall sell, loan, furnish or give any pistol, revolver or other firearm,
constructed or designed for the use of gunpowder or other explosive substance, with leaden
bullets or shot, to a child under the age of twelve years, and any person so offending, on
conviction thereof, shall be punished by fine not exceeding fifty dollars, together with the costs
of prosecution.
SEC. 2. No child under the age of twelve years shall have in his control or possession any pistol
or revolver, constructed or designed for the use of gunpowder or other explosive substance with
leaden bullets or shot, and any person so offending shall, on conviction thereof, be fined not
exceeding twenty dollars and pay costs of prosecution.
Approved November 6, 1896.

1912 Vt. Acts and Resolves 306, An Act . . . Relating to Firearms, §§ 1-2.
§ 1. A person, other than a parent or guardian, who sells or furnishes to a minor under the age of
sixteen years a firearm or other dangerous weapon, shall be fined not more than fifty dollars nor
less than ten dollars. This section shall not apply to an instructor or teacher who furnishes
military weapons to pupils for instruction and drill. § 2. A child under the age of sixteen years
who, without the consent of his parent or guardian, has in his possession or control a pistol or
revolver constructed or designed for the use of gunpowder or other explosive substance with
leaden ball or shot shall be fined not more than twenty dollars.

VIRGINIA

The Charter and General Ordinances of the Town of Lexington, Virginia Page 87, Image 107
(1892) available at The Making of Modern Law: Primary Sources. 1869
Ordinances of the town of Lexington. Of Concealed Weapons and Cigarettes. § 2. If any person
sell, barter, give or furnish, or cause to be sold, bartered, given or furnished to any minor under
sixteen years of age, cigarettes, or pistols, or dirks, or bowie knives, having good cause to
believe him or her to be a minor under sixteen years of age, shall be fined not less than ten
dollars nor more than one hundred dollars.

                                                  36
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 141 of 174
                                          PageID.541



1902-1904 Va. Acts 261, An Act to Prevent the Sale or Gift of Toy Firearms to Persons Under
Twelve Years of Age, and to Provide a Penalty Therefor, ch. 186, §§ 1-2. 1903
1. Be it enacted by the general assembly of Virginia, That it shall be unlawful for any person,
firm, corporation, or association, to sell, barter, exchange, furnish, or dispose of by purchase,
gift, or in any other manner, any toy gun, pistol, rifle, or other toy firearm, if the same shall, by
means of powder or other explosive discharge blank or ball charges, to any person under the age
of twelve years. Any firm, corporation, or association violating the provisions of this act shall be
deemed guilty of a misdemeanor, and, upon conviction thereof, shall be fined not less than fifty
dollars nor more than one hundred dollars, or confined in jail for a period not less than thirty, nor
more than ninety days, either or both. 2. Each sale of any of the articles hereinbefore specified to
any person under the age mentioned shall constitute a separate offense, and any person over the
age of twelve years who shall purchase, accept, or in any manner acquire any of the toy articles
of the kind hereinbefore enumerated for any person under the age of twelve years, shall be
deemed guilty of a misdemeanor, and, upon conviction thereof, shall be fined not less than one
hundred dollars nor more than two hundred dollars, or confined in jail for a period not less than
thirty days nor more than six months, either or both.

WASHINGTON

Edward D. McLaughlin, The Revised Statutes and Codes of the State of Washington Page 1042,
Image 1094 (1896) available at The Making of Modern Law: Primary Sources. 1883
Sale of Toy Pistols to Children, It shall be unlawful for any person or persons to sell or offer for
sale, any toy pistols within this state, and every person who shall sell, give, furnish, or cause to
be furnished to any person under the age of sixteen years, any pistol, toy pistol or other pocket
weapon, in which explosives may be used, shall be deemed guilty of a misdemeanor, and upon
conviction, shall be fined in any sum not less than five, nor more than twenty-five dollars.

1909 Wash. Sess. Laws 984, An Act Relating to Crimes and Punishments and the Rights and
Custody of Persons Accused or Convicted of Crime, and Repealing Certain Acts, ch. 249, ch. 8,
§ 308.
Use of Firearms by Minor. No minor under the age of fourteen years shall handle or have in his
possession or under his control, except while accompanied by or under his control, except while
accompanied by or under the immediate charge of his parent or guardian, any firearm of any
kind for hunting or target practice or for other purposes. Every person violating any of the
foregoing provisions, or aiding or knowingly permitting any such minor to violate the same, shall
be guilty of a misdemeanor.

WEST VIRGINIA

1882 W. Va. Acts 421–22
If a person carry about his person any revolver or other pistol, dirk, bowie knife, razor, slung
shot, billy, metalic or other false knuckles, or any other dangerous or deadly weapon of like kind
or character, he shall be guilty of a misdemeanor, and fined not less that twenty-five nor more
than two hundred dollars, and may, at the discretion of the court, be confined in jail not less than
one, nor more than twelve months; and if any person shall sell or furnish any such weapon as is

                                                 37
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 142 of 174
                                          PageID.542


hereinbefore mentioned to a person whom he knows, or has reason, from his appearance or
otherwise, to believe to be under the age of twenty-one years, he shall be punished as
hereinbefore provided; but nothing herein contained shall be so construed as to prevent any
person from keeping or carrying about his dwelling house or premises any such revolver or other
pistol, or from carrying the same from the place of purchase to his dwelling house, or from his
dwelling house to any place where repairing is done, to have it repaired, and back again. And if
upon the trial of an indictment for carrying any such pistol, dirk, razor or bowie knife, the
defendant shall prove to the satisfaction of the jury that he is a quiet and peacable citizen, of
good character and standing in the community in which he lives, and at the time he was found
with such pistol, dirk, razor or bowie knife, as charged in the indictment, he had good cause to
believe and did believe that he was in danger of death or great bodily harm at the hands of
another person, and that he was, in good faith, carrying such weapon for self-defense and for no
other purpose, the jury shall find him not guilty. But nothing in this section contained shall be
construed as to prevent any officer charged with the execution of the laws of the state from
carrying a revolver or other pistol, dirk or bowie knife.

See State v. Workman, 14 L.R.A. 600 (1891): John Augustus Warth, The Code of West Virginia.
Containing the Constitution and Naturalization of the United States – the Constitution of the
State – the Code, as Amended by Legislation to and Including the Year 1891 and Marginal Notes
to all Prior Laws and Applicable Decisions, with an Appendix, Containing all the Statutes of the
State in Force, of a General and Prospective Nature, not Enacted or Inserted in the Several
Chapters of the Code Page 915-916, Image 920-921 (1891) available at The Making of Modern
Law: Primary Sources. 1891
Offenses Against the Peace, § 7. If a person carry about his person any revolver or other pistol,
dirk, bowie knife, razor, slung shot, billy, metallic or other false knuckles, or any other
dangerous or deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
fined not less than twenty-five nor more than two hundred dollars, and may, at the discretion of
the court, be confined in jail not less than one nor more than twelve months; and if any person
shall sell or furnish any such weapon as is hereinbefore mentioned to a person whom he knows,
or has reason, from his appearance or otherwise, to believe to be under the age of twenty-one
years, he shall be punished as hereinbefore provided; but nothing herein contained shall be so
construed as to prevent any person from keeping or carrying about his dwelling house or
premises, any such revolver or other pistol, or from carrying the same from the place of purchase
to his dwelling house, or from his dwelling house to any place where repairing is done, to have it
repaired and back again. And if upon the trial of an indictment for carrying any such pistol, dirk,
razor or bowie knife, the defendant shall prove to the satisfaction of the jury that he is a quiet and
peaceable citizen, of good character and standing in the community in which he lives, and at the
time he was found with such pistol, dirk, razor or bowie knife, as charged in the indictment he
had good cause to believe and did believe that he was in danger of death or great bodily harm at
the hands of another person, and that he was in good faith, carrying such weapon for self-defense
and for no other purpose, the jury shall find him not guilty. But nothing in this section contained
shall be so construed as to prevent any officer charged with the execution of the laws of the
State, from carrying a revolver or other pistol, dirk or bowie knife.

1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact Section Seven
. . . Relating to Offenses Against the Peace; Providing for the Granting and Revoking of Licenses

                                                 38
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 143 of 174
                                          PageID.543


and Permits Respecting the Use, Transportation and Possession of Weapons and Fire Arms. . . ,
ch. 3, § 7, pt. a.
Section 7 (a). If any person, without a state license therefor, carry about his person any revolver
or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other false knuckles, or any
other dangerous or deadly weapon of like kind or character, he shall be guilty of a misdemeanor
and upon conviction thereof be confined in the county jail for a period of not less than six nor
more than twelve months for the first offense; but upon conviction of the same person for the
second offense in this state, he shall be guilty of a felony and be confined in the penitentiary not
less than one or more than five years, and in either case fined not less than fifty nor more than
two hundred dollars, in the discretion of the court; and it shall be the duty of the prosecuting
attorney in all cases to ascertain whether or not the charge made by the grand jury is the first or
second offense, and if it shall be the second offense, it shall be so stated in the indictment
returned, and the prosecuting attorney shall introduce the record evidence before the trial court of
said second offense, and shall not be permitted to use his discretion in charging said second
offense nor in introducing evidence to prove the same on the trial; provided, that boys or girls
under the age of eighteen years, upon the second conviction, may, at the discretion of the court,
be sent to the industrial homes for boys and girls, respectively, of the state. Any person desiring
to obtain a state license to carry any such weapon within one or more counties in this state shall
first publish a notice in some newspaper, published in the county in which he resides, setting
forth his name, residence and occupation, and that on a certain day he will apply to the circuit
court of his county for such state license; and after the publication of such notice for at least ten
days before said application is made and at the time stated in said notice upon application to said
court, it may grant such person a license in the following manner, to-wit: The applicant shall file
with said court his application in writing, duly verified, which said application shall show: First:
That said applicant is a citizen of the United States of America. Second: That such applicant has
been a bona fide resident of this state for at least one year next prior to the date of such
application, and of the county sixty days next prior thereto. Third: That such applicant is over
twenty-one years of age; that he is a person of good moral character, of temperate habits, not
addicted to intoxication, and has not been convicted of a felony nor of any offense involving the
use on his part of such weapon in an unlawful manner. Fourth: The purpose or purposes for
which the applicant desires to carry such weapon and the necessity therefor and the county or
counties in which said license is desired to be effective. Upon the hearing of such application the
court shall hear evidence upon all matters stated in such application and upon any other matter
deemed pertinent by the court, and if such court be satisfied from the proof that there is good
reason and cause for such person to carry such weapon, and all of the other conditions of this act
be complied with, said circuit court or the judge thereof in vacation, may grant said license for
such purposes, and no other, as said a circuit court may set out in the said license (and the word
“court” as used in this act shall include the circuit judge thereof, acting in vacation); but before
the said license shall be effective such person shall pay to the sheriff, and the court shall so
certify in its order granting the license, the sum of twenty dollars, and shall also file a bond with
the clerk of said court, in the penalty of three thousand five hundred dollars, with good security,
signed by a responsible person or persons, or by some surety company, authorized to do business
in this state, conditioned that such applicant will not carry such weapon except in accordance
with his said application and as authorized by the court, and that he will pay all costs and
damages accruing to any person by the accidental discharge or improper, negligent or illegal use
of said weapon or weapons. Any such license granted after this act becomes effective shall be

                                                 39
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 144 of 174
                                          PageID.544


good for one year, unless sooner revoked, as hereinafter provided, and be co-extensive with the
county in which granted, and such other county or counties as the court shall designate in the
order granting such license; except that regularly appointed deputy sheriffs having license shall
be permitted to carry such revolver or other weapons at any place, within the state, while in the
performance of their duties as such deputy sheriffs and except that any such license granted to
regularly appointed railway police shall be co-extensive with the state, and all license fees
collected hereunder shall be paid by the sheriff and accounted for to the auditor as other license
taxes are collected and paid, and the state tax commissioner shall prepare all suitable forms for
licenses and bonds and certificates showing that such license has been granted and to do
anything else in the premises to protect the state and see to the enforcement of this act. The clerk
of the court shall immediately after license is granted as aforesaid, furnish the superintendent of
the department of public safety a certified copy of the order of the court granting such license,
for which service the clerk shall be paid a fee of two dollars which shall be taxed as cost in the
proceeding; within thirty days after this act becomes effective it shall be the duty of the clerks of
each court in this state having jurisdiction to issue pistol licenses to certify to the superintendent
of the department of public safety a list of all such licenses issued in his county. Provided, that
nothing herein shall prevent any person from carrying any such weapon, in good faith and not for
a felonious purpose, upon his own premises, nor shall anything herein prevent a person from
carrying any such weapon (unloaded) from the place of purchase to his home or place of
residence, or to a place of repair and back to his home or residence; but nothing herein shall be
construed to authorize any employee of any person, firm or corporation doing business in this
state to carry on or about the premises of such employer any such pistol, or other weapon
mentioned in this act for which a license is herein required, without having first obtained the
license and given the bond as herein provided; and, provided, further, that nothing herein shall
prevent agents, messengers and other employees of express companies doing business as
common carriers, whose duties require such agents, messengers and other employees to have the
care, custody or protection of money, valuables and other property for such express companies,
from carrying any such weapon while actually engaged in such duties, or in doing anything
reasonably incident to such duties; provided, such express company shall execute a continuing
bond in the penalty of thirty thousand dollars, payable unto the state of West Virginia, and with
security to be approved by the secretary of state of the state of West Virginia, conditioned that
said express company will pay all damages, accruing to anyone by the accidental discharge or
improper, negligent or illegal discharge or use of such weapon or weapons by such agent,
messenger or other employee while actually engaged in such duties for such express company, in
doing anything that is reasonably incident to such duties; but the amount which may be
recovered for breach of such condition shall not exceed the sum of three thousand five hundred
dollars in any one case, and such bond shall be filed with and held by the said secretary of state,
for the purpose aforesaid, but upon the trial of any cause for the recovery of damages upon said
bond, the burden of proof shall be upon such express company to establish that such agent,
messenger or other employee was not actually employed in such duties for such express
company nor in doing anything that was reasonably incident to such duties at the time such
damages were sustained; and, provided further, that nothing herein shall prevent railroad police
officers duly appointed and qualified under authority of section thirty-one of chapter one
hundred forty-five of Barnes’ code or duly qualified under the laws of any other state, from
carrying any such weapon while actually engaged in their duties or in doing anything reasonably
incident to such duties; provided, such railroad company shall execute a continuing bond in the

                                                 40
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 145 of 174
                                          PageID.545


penalty of ten thousand dollars payable unto the state of West Virginia and with security to be
approved by the secretary of state of the state of West Virginia conditioned that said railroad
company will pay all damages accruing to anyone by the accidental discharge or improper,
negligent or illegal discharge or use of such weapon or weapons by such railroad special police
officer whether appointed in this or some other state while actually engaged in such duties for
such railroad company, in doing anything that is reasonably incident to such duties, but the
amount which may be recovered for breach of such condition shall not exceed the sum of three
thousand five hundred dollars in any one case, and such bond shall be filed with and held by the
said secretary of state for the purpose aforesaid but upon the trial of any cause for the recovery of
damages upon said bond, the burden of proof shall be upon such railroad company to establish
that such railroad police officer was not actually employed in such duties for such railroad
company nor in doing anything that was reasonably incident to such duties at the time such
damages were sustained; and provided, further, that in case of riot, public danger and emergency,
a justice of the peace, or other person issuing a warrant, may authorize a special constable and
his posse whose names shall be set forth in said warrant, to carry weapons for the purpose of
executing a process, and a sheriff in such cases may authorize a deputy or posse to carry
weapons, but the justice shall write in his docket the cause and reasons for such authority and the
name of the person, or persons, so authorized, and index the same, and the sheriff or other officer
shall write out and file with the clerk of the county court the reasons and causes for such
authority and the name, or names of the persons so authorized, and the same shall always be
open to public inspection, and such authority shall authorize such special constable, deputies and
posses to carry weapons in good faith only for the specific purposes and times named in such
authority, and upon the trial of every indictment the jury shall inquire into the good faith of the
person attempting to defend such indictment under the authority granted by any such justice,
sheriff or other officer, and any such person or persons so authorized shall be personally liable
for the injury caused to any person by the negligent or unlawful use of any such weapon or
weapons. It shall be the duty of all ministerial officers, consisting of the justices of the peace,
notaries public and other conservators of the peace of this state, to report to the prosecuting
attorney of the county the names of all persons guilty of violating this section, and any person
willfully failing so to do, shall be guilty of a misdemeanor and shall be fined not exceeding two
hundred dollars, and shall, moreover, be liable to removal from office for such willful failure;
and it shall likewise be the duty of every person having knowledge of the violation of this act, to
report the same to the prosecuting attorney, and to freely and fully give evidence concerning the
same, and any one failing so to do, shall be guilty of a misdemeanor and upon conviction thereof
shall be fined not exceeding one hundred dollars; provided, further, that nothing herein contained
shall be so construed as to prohibit sheriffs, their regularly appointed deputies, who actually
collect taxes in each county, and all constables in their respective counties and districts, and all
regularly appointed police officers of their respective cities, towns or villages, all jailors and
game protectors who have been duly appointed as such, and members of the department of
public safety of this state, from carrying such weapons as they are now authorized by law to
carry, who shall have given bond in the penalty of not less than three thousand five hundred
dollars, conditioned for the faithful performance of their respective duties, which said officers
shall be liable upon their said official bond, for the damages done by the unlawful or careless use
of any such weapon or weapons, whether such bond is so conditioned or not. It shall be unlawful
for any person armed with a pistol, gun, or other dangerous or deadly weapon, whether licensed
to carry same or not, to carry, expose, brandish, or use, such weapon in a way or manner to

                                                 41
Case 1:24-cv-00496-JAO-WRP               Document 35-3         Filed 12/23/24       Page 146 of 174
                                           PageID.546


cause, or threaten, a breach of the peace. Any person violating this provision of this act shall be
guilty of a misdemeanor, and upon conviction, shall be fined not less than fifty nor more than
three hundred dollars or imprisoned in the county jail not less than thirty nor more than ninety
days, or be punished by both fine and imprisonment in the discretion of the court. Any circuit
court granting any such license to carry any of the weapons mentioned in this act, the governor,
or the superintendent of the department of public safety, with the consent of the governor, may,
for any cause deemed sufficient by said court, or by the governor or by the superintendent of the
department of public safety with the approval of the governor aforesaid, as the case may be,
revoke any such license to carry a pistol or other weapon mentioned in this act for which a
license is required, and immediate notice of such revocation shall be given such licensee in
person, by registered mail or in the same manner as provided by law for the service of other
notices, and no person whose license has been so revoked shall be re-licensed within one year
thereafter; provided, that the authority so revoking such license may, after a hearing, sooner
reinstate such licensee.

WISCONSIN

Supplement to the Revised Statutes of the State of Wisconsin, 1878, Containing the General
Laws from 1879 to 1883, with the Revisers’ Notes to the Statutes of 1878 and Notes to Cases
Construing and Applying These and Similar Statutes by the Supreme Court of Wisconsin and the
Courts of Other States Page 847, Image 889 (1883) available at The Making of Modern Law:
Primary Sources. 1882
Offenses Against Lives and Persons of Individuals. §4397a. (1) It shall be unlawful for any
person to sell or use, or have in his possession, for the purpose of exposing for sale or use, any
toy pistol, toy revolver, or other toy fire-arm. (2) Any person violating any of the provisions of
this act, on conviction thereof, shall be punished by imprisonment in the county jail not
exceeding six months, or by fine not exceeding one hundred dollars, or by both fine and
imprisonment, in the discretion of the court. § 4397b. (1) It shall be unlawful for any minor,
within this state, to go armed with any pistol or revolver, and it shall be the duty of all sheriffs,
constables, or other public police officers, to take from any minor any pistol or revolver, found in
his possession. (2) It shall be unlawful for any dealer in pistols or revolvers, or any other person
to sell, loan or give any pistol or revolver to any minor in this state.

1883 Wis. Sess. Laws 290
Section 1. It shall be unlawful for any minor, within this state, to go armed with any pistol or
revolver, and it shall be the duty of all sheriffs, constables, or other public police officers, to take
from any minor, any pistol or revolver, found in his possession. Section 2. It shall be unlawful
for any dealer in pistols or revolvers, or any other person, to sell, loan, or give any pistol or
revolver to any minor in this state. Section 3. It shall be unlawful for any person in a state of
intoxication, to go armed with any pistol or revolver. Any person violating the provisions of this
act, shall be punished by imprisonment in the county jail not exceeding six months, or by fine
not exceeding one hundred dollars ($100).

WYOMING




                                                   42
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 147 of 174
                                         PageID.547


1890 Wyo. Terr. Sess. Laws 140. Josiah A. Van Orsdel, Attorney General, Revised Statutes of
Wyoming, in Force December 1, 1899 Including the Magna Charta, Declaration of
Independence, Articles of Confederation, Organic Act of Territory of Wyoming, Act of
Admission of the State of Wyoming, Constitution of the United States and of Wyoming, and the
Rules of the Supreme Court Page 1253, Image 1253 (1899) available at The Making of Modern
Law: Primary Sources. 1890.
Furnishing Deadly Weapons to Minor. § 5052. It shall be unlawful for any person to sell, barter
or give to any other person under the age of twenty-one years any pistol, dirk or bowie knife,
slung-shot, knucks or other deadly weapon that can be worn or carried concealed upon or about
the person, or to sell, barter or give to any person under the age of sixteen years any cartridges
manufactured and designed for use in a pistol; and any person who shall violate any of the
provisions of this section shall be fined in any sum not more than fifty dollars.

Source unless otherwise noted: Duke Center for Firearms Law,
https://firearmslaw.duke.edu/repository/search-the-repository/ Note that the unit of analysis is the
law, not the state, though the laws are organized by state for the sake of clarity.

*Cites from: Brief for the United States, U.S. v. Rahimi, August 2023, 24-25, fn. 16.




                                                43
Case 1:24-cv-00496-JAO-WRP   Document 35-3   Filed 12/23/24   Page 148 of 174
                               PageID.548




       EXHIBIT
Case 1:24-cv-00496-JAO-WRP    Document 35-3        Filed 12/23/24   Page 149 of 174
                                PageID.549


                               EXHIBIT C

  TABLE OF STATE LAWS RESTRICTING WEAPONS TO MINORS
                STATE         YEAR*                 OTHERS
                                                    BARRED IN
                                                    SAME LAW
                Alabama       1855/1856 (minors
                              21#); 1866 (under
                              18); 1876 (under
                              18)
                Alaska
                Arizona       1901 (under 14)       Indians
                                                    (1901)
                Arkansas
                California    1896 (18)
                Colorado
                Connecticut   1835 (minors);
                              1871 (minors);
                              1881 (16)
                Delaware      1812 (child); 1881    Intoxicated
                              (minors 21); 1881     (1911, 1919)
                              (21); 1911 (21);
                              1918 (no hunt
                              under 15); 1919
                              (21)
                District of   1892 (under 21);      no drug
                Columbia      1932 (under 18)       addicts,
                                                    unsound
                                                    mind,
                                                    convicts
                                                    (1932)
                Florida       1881 (under 16)       Unsound
                                                    mind (1881)
                Georgia       1876 (minors 21);
                              1920 (21)
                Hawaii        1927 (minors);
                              1933 (under 20; no
                              shotguns under 16)
                Idaho         1909 (under 16)       Intoxicated
                                                    (1909)
                Illinois      1873 (minors);
                              1881 (minors 21);
                              1914 (21); 1917
                              (21)
Case 1:24-cv-00496-JAO-WRP     Document 35-3       Filed 12/23/24   Page 150 of 174
                                 PageID.550


                Indiana       1875 (under 21);
                              1881 (under 21);
                              1905 (under 21);
                              1925 (under 21)
                              1929 (sentence
                              enhanced if
                              commit weapon
                              crime over 16)
                Iowa          1884 (minors 21);
                              1887 (21); 1897
                              (21)
                Kansas        1883 (minors 21);     Unsound
                              1887 (21)             mind (1887)
                Kentucky      1853 (under 15);      Free colored,
                              1859/60 (minors       enslaved
                              21); 1873 (minors     persons
                              21)                   (1853, 1859)
                Louisiana     1890 (under 21);
                              1893 under 18)
                Maine         1892 (under 16)
                Maryland      1882 (under 21);
                              1904 (under 15);
                              1908 (under 21)
                Massachusetts 1882 (under 16);      Unnaturalized
                              1884 (under 16);      or foreign
                              1909 (under 15);      born (1922)
                              1922 (under 15)
                Michigan      1883 (under 13)
                Minnesota     1885 (under 18),
                              1888 (under 18)
                Mississippi   1878 (minors 21,      Intoxicated
                              parents under 16);    (1878, 1880)
                              1880 (minors 21,
                              parents under 16)
                Missouri      1883 (minors 21);     Intoxicated
                              1887 (no ammo         (1883, 1917)
                              under 16); 1917
                              (21)
                Montana
                Nebraska      1895 (minors)
                Nevada        1881 (under 21).
                              1885 (under 21)
                New           1883 (minors)
                Hampshire
                New Jersey    1882 (under 15);
Case 1:24-cv-00496-JAO-WRP     Document 35-3        Filed 12/23/24    Page 151 of 174
                                 PageID.551


                               1885 (under 15);
                               1903 (under 15);
                               1914 (no hunt
                               under 14);
                New Mexico
                New York       1763 (no children,    Apprentices,
                               youth); 1803          Servants
                               (minors); 1859        (1763);
                               (minors); 1884        apprentices,
                               (under 18); 1885      servants,
                               (under 18); 1885      slaves (1803)
                               (under 18); 1900
                               (under 18; no
                               spring/air gun
                               under 16; no toy
                               pistol under 16);
                               1911 (under 16);
                               1911 (under 16)
                North          1893 (minors 21);
                Carolina       1913 (under 12)
                North Dakota   1908 (minors)
                               1910 (minors)
                               1923 (under 18)
                Ohio           1883 (under 14);
                               1913 (no toy gun
                               under 16; no gun
                               under 17)
                Oklahoma       1890 (minors)         Intoxicated
                                                     (1890)
                Oregon         1868 (rt. to have
                               guns over 16);
                               1903 (under 14);
                               1917 (under 21)
                Pennsylvania   1881 (under 16);
                               1883 (under 16)
                Rhode Island   1883 (under 15)
                South          1817 (minors);        Disorderly
                Carolina       1923 (minors; no      persons, those
                               parents to child      w/o property
                               under 12)
                South Dakota   1903 (under 15)
                Tennessee      1850 (explosives);    Enslaved
                               1856 (no minors       (1850)
                               except hunting,
                               defense); 1858
Case 1:24-cv-00496-JAO-WRP            Document 35-3         Filed 12/23/24    Page 152 of 174
                                        PageID.552


                                       (under 21); 1863
                                       (21);
                                       1867 (no minors
                                       21 exc. hunting)
                      Texas            1897 (minors 21)
                      Utah             1905 (under 14)
                      Vermont          1912 (under 16)
                      Virginia         1869 (under 16);
                                       1903 (under 12)
                      Washington       1883 (under 16);
                      State            1909 (under 14)
                      West Virginia    1882 (under 21);      Intoxicated
                                       1891 (21); 1925       (1925)
                                       (under 18 lesser
                                       penalty; “over 21”
                                       to get license)
                      Wisconsin        1882 (minors 21);     Intoxicated
                                       1883 (21)             (1883)
                      Wyoming          1890 (no
                                       concealed weapon
                                       under 21; no
                                       cartridges under
                                       16)
                       TOTAL           46                       15
                       STATES
                       TOTAL             104
                       LAWS
*Source: https://firearmslaw.duke.edu/repository-of-historical-gun-laws/advanced-search
Designation “minors” after years of law means the laws restrict weapons from this category
without specifying an age. Years with numbers following them are ages defined in the laws as
age of majority. Note that the unit of analysis is the law, not the state, though the laws are
organized by state for the sake of clarity.
#The designations “minors 21” refer to laws that say only “minors” without listing an age, but
where state court rulings define minors as those under 21. See NRA v. Bondi, No. 21-12314,
United States District Court for the Northern District of Florida, D.C. Docket No. 4:18-cv-
00137-MW-MAF, March 9, 2023, Appendix.
Case 1:24-cv-00496-JAO-WRP   Document 35-3   Filed 12/23/24   Page 153 of 174
                               PageID.553




       EXHIBIT
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24       Page 154 of 174
                                          PageID.554


                                           EXHIBIT D

                COLLEGE CAMPUS WEAPONS RESTRICTIONS

PUBLIC INSTITUTIONS

UNIVERSITY OF NORTH CAROLINA, PUBLIC COLLEGES AND UNIVERSITIES, 1799,
1829
“8. No student shall keep a dog or fire-arms; nor shall he use fire-arms without permission from
some one of the Faculty.” (1799, p. 12)
https://docsouth.unc.edu/unc/uncbk1018/uncbk1018.html

1829 Laws of the University of North Carolina, ch. 3, § 13.
“13. No student shall keep a dog, or fire arms, or gunpowder. He shall not carry, keep, or own at
the College, a sword, dirk, sword-cane, or any dead-ly weapon; nor shall he use fire arms without
permission from some member of the Faculty.”
https://firearmslaw.duke.edu/wp-content/uploads/2023/08/1829-UNC.pdf
Acts of the General Assembly and Ordinances of the Trustees, for the Organization and
Government of the University of North Carolina, Laws for the Government of the University, at
15 Chapter V (1838)

UNIVERSITY OF SOUTH CAROLINA, 1807
“Of Misdemeanors and Criminal Offences:
   1. If any student shall be guilty of any blasphemy, robbery, duelling, fornication, forgery, or
      any such atrocious crime, he shall be expelled.
   2. All the students are strictly forbidden to play at cards, or any unlawful game; to use
      profane or obscene language; to strike or insult any person; to associate with persons of
      known bad character; to visit taverns without liberty; to appear in indecent dress, or in
      woman’s apparel; to lie, steal, get drunk, or be guilty of other gross immoralities. If any
      student shall transgress in any of these respects, he shall be admonished, suspended,
      degraded or expelled, as the case may require.
   3. No student may keep in his room any kind of firearms or gun powder; nor fire any in or
      near the College, in any manner whatever; and any student who shall violate this law,
      shall be liable to admonition, suspension, or expulsion.”
Edwin L. Green, A History of the University of South Carolina (Columbia, SC: The State
Company, 1916), p. 220.

South Carolina College, 1848
“CHAPTER XVI.
Of Offences, Rewards and Punishments…
  …202. Any student who shall be guilty of any infamous or atrocious offence, or shall fight a
duel, or give or accept a challenge to fight a duel, or shall carry any challenge to fight a duel, or
act as a second to those who shall give or accept a challenge, shall be forthwith suspended from
the College and reported for expulsion…



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Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 155 of 174
                                         PageID.555


   …205. If any student shall keep in his room, or within the College, or in the town of
Columbia, or its vicinity, any pistol, dirk, sword-cane, bowie knife, or other deadly weapon, he
shall be forthwith suspended and reported for expulsion.”
Laws of the South Carolina College, Adopted by the Board of Trustees, at Their Annual Meeting
in December, 1847: To Which Are Prefixed the Act of Incorporation, and the Subsequent Acts
Passed in Amendment Thereof; Various Resolutions of the Legislature, Extracts from Governors'
Messages, and Other Important Matters Relating to the College (Columbia, SC: A. S. Johnston,
1848), 40-41. Chapter 16—Of Offences, Rewards and Punishments, §§ 202 & 205.
https://firearmslaw.duke.edu/assets/1848,-sc,-laws-of-the-south-carolina-college,-ch.-16,--202-
&-205..pdf
https://firearmslaw.duke.edu/assets/1853,-sc,-by-laws-of-the-south-carolina-college,-ch.-17,--3,-
nos.-3-4,-&--4,-no.-1.pdf

GEORGIA PUBLIC COLLEGES AND UNIVERSITIES, 1810
The Minutes of the Senatus Academicus of the State of Georgia, 1799–1842, at 86 (1810)
And be it further ordained that no student shall be allowed to keep any gun, pistol, Dagger, Dirk
sword cane or any other offensive weapon in College or elsewhere, neither shall they or either of
them be allowed to be possessed of the same out of the college in any case whatsoever.
https://dlg.galileo.usg.edu/guan/ua0148/pdfs/ua0148-002-004-001.pdf

OHIO UNIVERSITY, 1814
“What is Required of Students in the Ohio University”
“It will be deemed a Transgression. . .
2. To carry a dirk, or a knife to be used as such.
3. To keep fire-arms, gun-powder, or any preparation thereof in the College, or to discharge any
fire-arms in or near it.”
Thomas N. Hoover, The History of Ohio University (Athens, OH: Ohio University Press, 1954),
57. https://ohiomemory.org/digital/collection/p267401coll36/id/16772

VIRGINIA PUBLIC COLLEGES AND UNIVERSITIES, 1824
University of Virginia Board of Visitors Minutes, 6-7 (October 4–5, 1824)
No Student shall, within the precincts of the University, introduce, keep or use any spirituous or
vinous liquors, keep or use weapons or arms of any kind, or gunpowder, keep a servant, horse or
dog, appear in school with a stick, or any weapon, nor, while in school, be covered without
permission of the Professor, nor use tobacco by smoking or chewing, on pain of any of the minor
punishments, at the discretion of the Faculty, or of the board of Censors, approved by the
Faculty.

UNIVERSITY OF DELAWARE, 1828
John A. Munroe, The University of Delaware: A History (Newark, DE: University of Delaware,
1983).
Chap. 2
“The rules for deportment sound very strict. The students were to act like ‘young gentlemen,’
treating their teachers with ‘profound respect.’ They were forbidden to swear, riot, strike anyone,
or associate with immoral persons, as well as to play cards, dice, or other games of chance.
Drinking alcoholic beverages was not forbidden, but becoming intoxicated was, and students

                                                 3
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 156 of 174
                                          PageID.556


could be suspended or dismissed for possessing liquor, except for medicinal purposes, or for
frequenting a tavern. Students were not permitted to keep a horse or a dog or to have a gun or
ammunition (except with the rector’s approval), or a sword, dirk, sword cane, or any deadly
weapon. Only the trustees could expel a student, and he could not then be readmitted.”
Cite: Academy minutes, April 17, 1828; American Watchman, August 1, 1828.
https://sites.udel.edu/uarm/the-university-of-delaware-chapter-2/

COLLEGE OF WILLIAM AND MARY, VIRGINIA
Laws and Regulations of the College of William and Mary, Volume 276 (1830)
Regulations of the Society.
29. Students are strictly forbidden to keep, or to have about their person, any dirk, sword or
pistol. Firing squibs or crackers in and about College or elsewhere is also strictly forbidden.

MIAMI UNIVERSITY OF OHIO, 1843
Chapter XI, Misdemeanors
“12. No student shall bring into any of the buildings or on the College premises any cannon,
musket, pistol, or other species of fire-arms, or powder in any mode of preparation, without the
consent of the Faculty.”
The Laws of Miami University, for The Government of the Faculty and Students (Rossville, OH:
J.M. Christy, 1843), p. 15.
https://digital.lib.miamioh.edu/digital/collection/univdocs/id/3116/rec/3

UNIVERSITY OF IOWA, 1848
“. . .University of Iowa . . . prohibit[ed] students from carrying pistols and knives.” [pre-Civil
War period]
Merle Curti and Vernon Carstensen, The University of Wisconsin: A History, 1848-1925
(Madison, WI: University of Wisconsin Press, 1949), 196.
file:///C:/Users/Bob/Downloads/AXUYZPH27KIWLQ8R-E-file-83c7a-1.pdf

COLLEGE OF NEW JERSEY/RUTGERS COLLEGE/DREW UNIVERSITY, NEW JERSEY,
1853, 1854, 1871
1853 Laws of New Jersey, Ch. CXXVIII, 326; 1854 Laws of New Jersey, Ch. XLIV, 109;
Mercer Beasley Revision of the Statutes of New Jersey: Published under the Authority of the
Legislature; by Virtue of an Act Approved April 4 1871. Page 236-237, Image 282-283
(Trenton, 1877) available at The Making of Modern Law: Primary Sources. 1871
Crimes Against Public Morals and the Institution of Marriage, § 54. The opening or keeping of
any room or place for playing billiards, or A. B. C. or E. O. Table or tables or at tennis, bowls, or
shuffle-board, or at faro banks, or other bank or l, or of like kind, under any denomination
whatever, or for playing at nine-pins, or any other number of pins, or for cock-fighting, or for
pistol shooting, either for money or without money, within three miles of the main building of
the College of New Jersey, or of “Rutgers College” or of Drew Seminary or University, in New
Jersey, shall be and hereby are declared to be offences against this state; and the owner, tenant,
keeper, or attendant, of such room or place shall be prosecuted and proceeded against by
indictment, and upon conviction shall be fined in a sum not exceeding two hundred dollars, or by
imprisonment for a period not exceeding six months, or both at the discretion of the court.



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Case 1:24-cv-00496-JAO-WRP             Document 35-3         Filed 12/23/24     Page 157 of 174
                                         PageID.557


UNIVERSITY OF ALABAMA, 1861
1861, Regulations for the University of Alabama, art. 11, nos. 131-132 & art. 13, nos. 175-179
(Southern Methodist Publishing House).
“ARTICLE XI.
DISCIPLINE…
   …131. No Cadet shall send or accept a challenge to fight, nor be the bearer of such challenge,
written or verbal; nor in any way, directly or indirectly, countenance or promote a duel, nor
upbraid another for declining to fight, on pain of being dismissed.
   132. Every Cadet who knows that a challenge to fight has been or is about to be sent or
accepted by any other Cadet, shall, without delay, give information thereof to the
Superintendent….
…ARTICLE XIII.
REGULATIONS FOR THE INTERIOR POLICE AND DISCIPLINE OF THE UNIVERSITY
OF ALABAMA…
…ARMS, ETC.
   175. No Cadet shall lend or exchange his arms or accoutrements, or use those of any other
Cadet.
   176. The arms and accoutrements issued to Cadets will not be taken from their quarters except
for duty.
   177. No Cadet shall alter his musket by scraping, filing, or varnishing the stock, barrel, or any
other portion of it; nor shall the lock be removed or taken apart.
   178. If a Cadet allows his musket to get out of order, he shall get permission from the
Commandant for it to be put in order by the Ordnance Sergeant, and the price of the repairs
charged to him.
   179. Cadets are prohibited from haying in their possession any description of firearms, or
other weapon, not issued to them by proper authority.”
Regulations for the University of Alabama, at Tuscaloosa: With an Appendix, Containing
Extracts from the Army Regulations, and from the Rules and Articles of War (Nashville, TN:
Southern Methodist Publishing House, 1861), 56 & 65. Article 11—Discipline, nos. 131-132 &
Article 13—Regulations for the Interior Police and Discipline of the University of Alabama, nos.
175-179. Undated.
https://firearmslaw.duke.edu/assets/1861,-al,-regulations-for-the-university-of-alabama,-art.-11,-
nos.-131-132-&-art.-13,-nos.-175-179.pdf

UNIVERSITY OF KENTUCKY, 1865, 1890-1891
Rules, Board of Trustees:
“156. Students are forbidden to have in their possession any description of firearms or other
deadly weapons not issued to them by proper authority.”
James F. Hopkins, The University of Kentucky: Origins and Early Years (Lexington, KY:
University of Kentucky Press, 1951), p. 167.

University of Kentucky, 1890-1891
Kentucky University, Catalogue of Kentucky University, Lexington, Kentucky, 1890-1891, 23.
Prohibited students from keeping or using “fire-arms, a dirk, a bowie-knife, or any other deadly
weapon.”



                                                 5
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 158 of 174
                                         PageID.558


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com.libproxy.cortland.edu/ps/i.do?id=GALE%7CA393875922&sid=googleScholar&v=2.1&it=r
&linkaccess=abs&issn=08954852&p=AONE&sw=w&enforceAuth=true&linkSource=delayedA
uthFullText&userGroupName=sunycort_main&u=sunycort_main

PURDUE UNIVERSITY, INDIANA, 1874
“The carrying of firearms, especially to class, was banned. But, though it was discouraged,
students then could spit on the floor without fear of faculty retribution.”
Robert W. Topping, A Century and Beyond: The History of Purdue University (West Lafayette,
IN: Purdue University Press, 1988), p. 86.

UNIVERSITY OF MISSISSIPPI, 1878, 1892 (1880: ALL COLLEGES & UNIVERSITIES IN
MISSISSIPPI)
1878 Miss. Laws 176, An Act To Prevent The Carrying Of Concealed Weapons And For Other
Purposes, ch. 46, § 4.
[A]ny student of any university, college or school, who shall carry concealed, in whole or in part,
any weapon of the kind or description in the first section of this Act described, or any teacher,
instructor, or professor who shall, knowingly, suffer or permit any such weapon to be carried by
any student or pupil, shall be deemed guilty of a misdemeanor, and, on conviction, be fined not
exceeding three hundred dollars, and if the fine and costs are not paid, condemned to hard labor
under the direction of the board of supervisors or of the court.

Josiah A.Patterson Campbell, The Revised Code of the Statute Laws of the State of Mississippi:
With References to Decisions of the High Court of Errors and Appeals, and of the Supreme
Court, Applicable to the Statutes Page 776-777, Image 776-777 (1880) available at The Making
of Modern Law: Primary Sources. 1880
Carrying Concealed Weapons, § 2986. It shall not be lawful for any person to sell to any minor
or person intoxicated knowing him to a minor or in a state of intoxication, any weapons of the
kind or description in the foregoing section described, or any pistol cartridge and on conviction
he shall be punished by a fine not exceeding two hundred dollars, and if the fine and costs are not
paid, be condemned to hard labor under the direction of the board of supervisors or of the court
not exceeding six months. § 2987. Any father who shall knowingly suffer or permit any minor
son under the age of sixteen years to carry concealed, in whole or in part, any person of the kind
or description in the forgoing section described, shall be deemed guilty of a misdemeanor, and
on conviction, shall be fined not less than twenty dollars, nor more than two hundred dollars, and
if the fine and costs are not paid, shall be condemned to hard labor as provided in the proceeding
section. § 2988. Any student of any university, college, or school, who shall carry concealed, in
whole or in part, any weapon of the kind or description in the foregoing section described, or any
teacher, instructor or professor who shall knowingly, suffer or permit any such weapon to be
carried by any student or pupil, shall be deemed guilty of a misdemeanor and on conviction be
fined not exceeding three hundred dollars, and if the fine and costs are not paid, be condemned to
hard labor as above provided.

R.H. Thompson, The Annotated Code of the General Statute Laws of the State of Mississippi
327, § 1030 (1892)



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Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 159 of 174
                                         PageID.559


1030 (2988). The same; college students not to have, etc.-A student of any university, college, or
school, who shall carry, bring, receive, own, or have on the campus, college or school grounds,
or within two miles thereof, any weapon the carrying of which concealed is prohibited, or a
teacher, instructor, or professor who shall knowingly suffer or permit any such weapon to be
carried, or so brought, received, owned, or had by a student or pupil, shall be guilty of a
misdemeanor, and, on conviction, be fined not exceeding three hundred dollars or imprisoned in
the county jail not exceeding three months, or both.

UNIVERSITY OF VERMONT, 1885
1885 Laws of the University of Vermont, ch. 4, § 4234; ch. 6, §§ 4, 9.
“CHAPTER IV.
OF STUDENTS AS UNDER CIVIL LAW.
   In all matters relating to good order and quietness: to the treatment of property public or
private: and in general to the rights and obligations of citizens in a community, the students will
be regarded and treated as amenable to the laws of the land and to the police regulations of the
city in all respects like other citizens: and in case of any violations of such laws or regulations
the Faculty will not shield students from the ordinary processes of justice, but will seek rather to
put the Institution under the protection, and to secure for students the wholesome educating
influence, of public law.
Extracts from the Revised Statutes of Vermont…
   …SECT. 4234. A person who between sunset and sunrise disturbs and breaks the public peace
by firing guns, blowing horns, or by other unnecessary and offensive noise, shall be fined not
more than fifty dollars…
CHAPTER VI.
OF ROOMS, BUILDINGS AND GROUNDS…
   …SECT. 4. Rooms shall be held by students subject to the condition that all rules, for securing
quiet, order, and cleanliness in the rooms, halls, and premises, are strictly observed… the
keeping of fire-arms or gunpowder except under direction of the Military Instructor: bringing
into the rooms any fermented or distilled liquors: are prohibited…
   …SECT. 9. No student shall use gun powder or fire-arms in the buildings, or on the adjacent
grounds of the University, except under direction of the Military Instructor.”

MICHIGAN STATE AGRICULTURAL COLLEGE, 1891
1891, Michigan State Agricultural College Rules and Laws, “Order,” nos. 67 & 69 (sine
nomine).
“COLLEGE RULES.
[Adopted by the Faculty, March 3, 1891.]…
…RULES ON GENERAL CONDUCT…
…ORDER…
  …67. No student shall keep a pistol in his room, or carry concealed weapons on his person.
  68. No student shall sell or keep for sale in rooms on the College premises anything except
books, stationery and supplies for athletic sports.
  69. Shooting with guns or pistols on any part of the College grounds, farm or fields is
prohibited, except under military orders…”
Michigan State Agricultural College Rules and Laws, 1891 (s.l.: s.n., 1891), 6. “Order,” nos. 67
& 69. Adopted March 3, 1891.

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Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 160 of 174
                                          PageID.560


https://firearmslaw.duke.edu/assets/1891,-mi,-michigan-state-agricultural-college-rules-and-
laws,-order,-nos.-67-&-69.pdf

PRIVATE INSTITUTIONS

HARVARD COLLEGE, MASSACHUSETTS, 1655, 1790, 1824
A Copy of the Laws of Harvard College, 1655, at 10
Thirdly concerneing penall lawes. . . .
8. No undergraduate shall buy, sell, barter, or exchange books, apparrell or any thing of
considerable value ; but by the leave of the President or his Tutor, Guardian or Parent, or If he
shall sell or pawne any thing to any scholler, the President shall make the bargaine and
admoni[sh] [the] student noe students shall be suffered to have [a g]un in his or theire chambers
or studies, or keepeing for theire use any where else in the town, or If they be found to have such
by the President or Theire Tutors, then they shall be admonished by the President or theire
Tutors to put it away : which If they shall refuse to doe, the President shall have power to take it
quite away from them, and If they resist the President herein, they shall upon due proofe be
expelled out of the Colledge by the advise of the Colledge overseers : the same penalty is
appointed to any student that shall make resistance against or offer violence unto the President or
fellows.

The Laws of Harvard College, 1790 (Boston: Samuel Hall, 1790), 25:
XIV. No Undergraduate shall keep a gun or pistol, or any gun-powder, in the College, without
leave of the President; nor shall he go gunning, fishing, or seating over deep waters, without
leave of the President. . . .And if any Scholar shall fire a gun or pistol within the College walls,
yard, or near the College, he shall be fined not exceeding two shillings and six pence, or be
admonished, degraded, suspended, or rusticated, according to the aggravation of the offense.
https://archive.org/details/bim_eighteenth-century_the-laws-of-harvard-coll_harvard-
university_1790/page/24/mode/2up?q=gun

1824, Laws of Harvard College, ch. 6, § 1, no. 2.
“CHAPTER VI.
MISDEMEANORS AND CRIMINAL OFFENCES.
   1. For either of the following offences, Students may be punished by any of the college
censures, at the discretion of the Immediate Government, viz.
   (1.) Profane language; intoxication; falsehood; gaming; extravagance; dissipation; indecency
in language, dress, or behaviour; the offering of violence to the person or the chamber of a
student; also violations of the respect due to the instructers and officers of the College.
   (2.) Making or being present at any festive entertainment, except at Commencement season, or
on Exhibition days with the permission of the President; or going into any tavern or victualling
house in Cambridge for the purpose of eating or drinking.
   Making noises to the disturbance of the College, or of any of the inhabitants of the town.
   Having any concern in bonfires, fire-works, or illuminations.
   Being an actor or spectator in any theatrical entertainment, or being present at any ball,
assembly, or party of pleasure, in term time, without leave from the President, at the request of a
parent, guardian, or patron.
   Playing at cards or dice.

                                                  8
Case 1:24-cv-00496-JAO-WRP             Document 35-3         Filed 12/23/24      Page 161 of 174
                                         PageID.561


   Buying, selling, or bartering books, apparel, furniture, or any other property, without leave
from the President, or a written permission from a parent or guardian.
   Keeping a gun or pistol, or gunpowder, or firing a gun or pistol.”

YALE COLLEGE, CONNECTICUT 1745, 1795
Franklin Bowditch Dexter, Biographical Sketches of the Graduates of Yale College: May 1745-
May 1763, Annals, at 8 (1745)
14. If any Scholar Shall keep a Gun or Pistol, or Fire one in the College-Yard or College, or
Shall Go a Gunning, Fishing, or Sailing, or Shall Go more than Two Miles from College upon
any Occasion whatsoever : or Shall be Present at any Court, Election, Town-Meeting, Wedding
or Meeting of young People for Diversion or any Such-like Meeting which may Occasion
Mispence of precious Time without Liberty first obtain’d from the President or his Tutor, in any
of the cases abovesaid he Shall be fined not exceeding Two Shillings.

The Laws of Yale-College, in New-Haven, in Connecticut, Enacted by the President and Fellows,
the Sixth Day of October, A.D. 1795 (New Haven: Thomas Green and Son, 1800), Chapter VIII.
p. 26
XIV. No Scholar is allowed to keep any kind of fire-arms, or gun-powder, upon penalty of
seventeen cents and if any Scholar shall fire any gun-powder in or near the College-yard, he shall
be fined fifty cents and if it be done near the dwelling- house or the person of the President, a
Professor or a Tutor, he shall also be punished as for contempt.
https://books.googleusercontent.com/books/content?req=AKW5QacZ072t6HI4cXTbvEQOGUx
wiBNVM6QFESvPa9aGFq2zCyG2wo45ENwKxrD6qr_0G-
A89YxadU21Z1wu8Udiftxdhjiljbg8QYism7QJn_5tWpqK4eQgDV69irc4W3ERAFBNbTlnjAN
mhdOYgoEfPSyRNmLEIUt1fjlIWbQTy2SaICy9vtrzYf54H1GZEjHur-
Ma4q33F_8E7BrvwCx38aa-
wUyb4ls7xk7v2H57k2kHb3aleg3LYnNd4908RFWBr8CLjWtWvJQHXfxRWmuq66jkV4_atpL
Cm9MLrsM4NGMGzCDbqwY

UNION COLLEGE, NEW YORK, 1802
“Keeping guns or gunpowder has likewise been forbidden since 1802; other ‘deadly weapons’
have been proscribed since `1832.”
Wayne Somers, Encyclopedia of Union College History (Schenectady, NY: Union College Press,
2003), p. 533.

BROWN UNIVERSITY, RHODE ISLAND [Rhode-Island College], 1803
From the college rules for the conduct of students, Laws of 1803, “Of Criminal Offenses”:
“3. No student shall keep any kind of fire-arms or gunpowder in his room, nor fire gunpowder in
or near the College, in any manner whatever.” (p. 183)
Walter C. Bronson, The History of Brown University, 1714-1914 (Boston: D.B. Updike, The
Merrymount Press, 1914)
https://books.googleusercontent.com/books/content?req=AKW5Qad1qkztopftoq5ctcQoijLFt4Vn
ZLvsCK8EPwy8IqNErJWPne_qJmP4JAsFly3xpMQlH5JN1EB5xRlnvY1p7BK62ylggMoctbzE
dO1CxZnvIB7AVTfHLT7jVD2Wa5R5cUppkzwiIb2FC2LqrbvWy6qZydbtVU2HmidbRbk2Dgn
VCU4pKzPID0CY6rTdDvXCcrsa-



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Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 162 of 174
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6aCELgkuDL-71k50RZ8CWa4PvzIXP4kuQGgzCyiZg

1865 Laws of Brown University, § 5, no. 4.
 “No student is permitted to use camphene or any burning fluid, to keep in his room gunpowder,
fire arms, or any dangerous weapon, or any intoxicating liquor, or allow noise or any disturbance
in his apartment.”
The Laws of Brown University (Providence, RI: Knowles, Anthony & Co., 1865), 16-17. § 5—
Of Discipline, no. 4.
https://firearmslaw.duke.edu/wp-content/uploads/2023/08/1865-Brown-University.pdf

MIDDLEBURY COLLEGE, VERMONT, 1803, 1839
“10. No scholar is allowed to keep any kind of firearms or gunpowder in College, nor to fire a
gun or pistol within the College-walls on penalty of twelve cents for every such offense.”
The Laws of Middlebury-College, 1803 (Middlebury, VT: Huntington & Fitch, 1804), p. 16.
https://www.jstor.org/stable/community.28479483?seq=16

1839 Laws Of Middlebury College, ch. 7, §§ 1, 11.
“CHAPTER VII.
OF CRIMES AND MISDEMEANORS.
   1. If any student shall be guilty of blasphemy, or robbery, fornication, theft, forgery, duelling,
or any other crime for which an infamous punishment may be inflicted by the laws of the State,
he shall be expelled…
   11. No student is allowed to keep any kind of fire-arms or gunpowder in his room or in any
part of the College buildings, nor to fire a gun or pistol within or near said buildings.”
The Laws Of Middlebury College (Middlebury, VT: People’s Press, 1839), 16-18. Chapter 7—Of
Crimes and Misdemeanors, §§ 1, 11.

HAMPDEN-SIDNEY COLLEGE, VIRGINIA, 1805
“The equally ineffectual outlawing of dogs and guns, both being the cause of ‘great
inconvenience,’ would be repeated and expanded: in 1805 the reaffirmed rule on guns was
supplemented with a prohibition on dueling or promoting a duel.”
John L. Brinkley, On this Hill: A Narrative History of Hampden-Sydney College, 1774-1994
(Hampden-Sidney, VA: Hampden-Sidney, 1994), p. 65.

HAMILTON COLLEGE, NEW YORK, 1813, 1867
The Laws of Hamilton College, 1813
Chapter VIII, Of Crimes and Misdemeanors.
XII. If any student shall keep any kind of firearms or gunpowder, or shall fire any gun-powder in
or near the college-yard, or near the dwellinghouse or the person of the president, a professor or
tutor, he shall be admonished, rusticated, or otherwise punished as the case may require.
Documentary History of Hamilton College (Clinton, NY: Hamilton College, 1922), p. 151.
https://babel.hathitrust.org/cgi/pt?id=mdp.39015035550865&view=1up&seq=163&q1=gun

1867, The Laws of Hamilton College, ch. 12, pt. 2, § 1, no. 1 (D. P. White).
“CHAPTER XII.

                                                 10
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24     Page 163 of 174
                                         PageID.563


OF DELINQUENCIES AND EXCUSES—OF OFFENCES AND THEIR PUNISHMENTS…
   …2d. Of Offences.—The Students in this Institution, are expected to manifest in speech and
action, all proper respect and obedience to the Government of the College; a gentlemanly
deportment toward each other; and in all their conduct, a practical compliance with the dictates
of morality and the laws of the land.
   § 1. In addition to these general rules the following things are particularly[1] prohibited.
   1. The keeping or using fire arms or gunpowder; kindling fires in the College yard or near the
College buildings, and use of fire-works of every kind.”
[1] Spelled “particularlarly” in original source document.
The Laws of Hamilton College: Published January, 1861 (Utica, NY: D. P. White, 1867), 17.
Chapter 12—Of Delinquencies and Excuses—Of Offences and Their Punishments, pt. 2, § 1, no.
1. Undated.
https://firearmslaw.duke.edu/assets/1867,-ny,-the-laws-of-hamilton-college,-ch.-12,-pt.-2,--1,-
no.-1.pdf

BOWDOIN COLLEGE, MAINE, 1817
Laws of Bowdoin College, 1817
“He [the student] was not permitted to keep a gun or pistol in his room without permission of the
president, nor could he go ‘a gunning or fishing’ without permission of some member of the
faculty. He was not to fire a gun or pistol within or near a college building, make any bonfire or
illumination, or set off fireworks.”
Ernst Christian Helmreich, Religion at Bowdoin College: A History (Brunswick, ME: Bowdoin
College, 1981), 39.
https://digitalcommons.bowdoin.edu/cgi/viewcontent.cgi?article=1005&context=bowdoin-
histories

PRINCETON UNIVERSITY (then known as the College of New Jersey), NEW JERSEY, 1819
1819, Laws of the College of New Jersey, ch. 17, § 9; ch. 19, § 10.
“CHAPTER XVII.
OF RELIGIOUS WORSHIP, AND MORAL CONDUCT…
…9. Any student convicted of sending or receiving a challenge to fight a duel, or who shall carry
such challenge, or be a second in a duel, or in any wise aid or abet it, shall immediately be
dismissed by the faculty, and as soon as practicable expelled by the trustees.”
“CHAPTER XIX.
MISCELLANEOUS REGULATIONS…
…10. No student shall keep for his use or pleasure any horse or riding beast; nor shall any
student keep a dog, or gun, or fire-arms and ammunition of any kind, nor any sword, dirk, sword-
cane, or any deadly weapon whatever.”
Laws of the College of New Jersey; Revised, Amended, and Adopted by the Board of Trustees,
April 14th, 1819 (Trenton, NJ: George Sherman, 1819), 21-26. Chapter 17—Of Religious
Worship and Moral Conduct, § 9; Chapter 19—Miscellaneous Regulations, § 10. Adopted April
14th, 1819.
https://firearmslaw.duke.edu/wp-content/uploads/2023/08/1819-College-of-NJ.pdf

COLUMBIAN COLLEGE (now GEORGE WASHINGTON UNIVERSITY), DISTRICT OF
COLUMBIA, 1824

                                                11
Case 1:24-cv-00496-JAO-WRP              Document 35-3         Filed 12/23/24      Page 164 of 174
                                          PageID.564


1824, Laws of the Columbian College, ch. 5, § 2, no. 10.
“10th. No student shall keep a servant, nor shall he keep fire arms, or any deadly weapon
whatever. He shall bring no gun-powder upon the College premises; nor shall horses or dogs be
kept by students for their private use or pleasure.”

UNIVERSITY IN CAMBRIDGE, MASSACHUSETTS, 1825
1825, Statutes and Laws of the University in Cambridge, ch. 7, § 76, no. 3.
“CHAP. VII.
HIGH OFFENCES AND MISDEMEANORS.
76. High offences may be punished at the discretion of the Faculty with any of the College
punishments…
The following are deemed high offences: . . . .
3. Keeping any gun, pistol, or gun-powder, or firing or using the same in the town of
Cambridge.—Being concerned in any bonfire, fireworks, or unauthorized illuminations.—Being
an actor or spectator at any theatrical entertainment in term time…”

CUMBERLAND COLLEGE, TENNESSEE, 1825
1825, Laws of Cumberland College, ch. 12, §§ 6 & 7 (Office of the Whig).
“CHAPTER XII.
Of moral conduct and criminal offences.
   6. If any student shall fight a duel, or send or accept a challenge to fight a duel, or carry such
challenge, or be a second in a duel or in any wise aid or abet it, or abuse or ridicule a fellow-
student for refusing to fight or be concerned in a duel, he shall be immediately expelled.
   7. No student shall bring, or cause to be brought into College, or, on any occasion, keep in his
room, any spirituous or fermented liquors; nor any fire-arms or ammunition of any kind; nor a
sword, dirk, sword-cane or any deadly weapon whatever, upon penalty of such censure or
punishment as the Faculty may judge the offence to deserve.”
Laws of Cumberland College, in Nashville, Tennessee: Enacted by the Board of Trustees,
November 5, 1825 (Nashville, TN: Office of the Whig, 1825), 16-17. Chapter 12—Of Moral
Conduct and Criminal Offences, §§ 6 & 7. Undated.
https://firearmslaw.duke.edu/assets/1825,-tn,-laws-of-cumberland-college,-ch.-12,--6-&-7..pdf

FURMAN UNIVERSITY, SOUTH CAROLINA, 1826
“. . .they were forbidden to use or possess intoxicating liquor or frequent bar rooms, to accept a
challenge or in any way aid, abet or promote a duel, to carry or have in their rooms firearms,
W.J. McGlothlin, Baptist Beginnings in Education: A History of Furman University (Nashville,
TN: Sunday School Board of the Southern Baptist Convention, 1926), p. 115.

TRINITY COLLEGE, CONNECTICUT, 1826
Chap. IV, p. 10
“Sec. 3. . . Keeping any gun, pistol, or gunpowder, or firing, or using the same in the City of
Hartford; or having in possession any dirk, sword-cane, or ·other offensive weapon, unless in
case of military exercises being allowed by the Faculty.”
Laws of Washington College [renamed Trinity College in 1845]
https://digitalrepository.trincoll.edu/cgi/viewcontent.cgi?article=1414&context=bulletin



                                                 12
Case 1:24-cv-00496-JAO-WRP               Document 35-3        Filed 12/23/24       Page 165 of 174
                                           PageID.565


McKENDREE COLLEGE, ILLINOIS, 1828
“The Faculty are determined that the college shall not be infested, and the whole community
embarrassed and perhaps corrupted by idle and dissolute members.” There is an interesting list of
requirements: . . . “using profane or obscene language; visiting circuses or shows; keeping
pistols, dirk knives or any unlawful weapons. . . .”
Centennial, McKendree College With St. Clair County History, 1828-1928 (Lebanon, IL:
McKendree College, 1928), p. 238.
https://archive.org/details/centennialmckend00mcke/page/238/mode/2up?q=gambling

CENTENARY COLLEGE OF LOUISIANA, 1830, 1839
“Soon after a student tried to stab a professor the trustees, the date was March 12, 1830, passed
another Article for the By-Laws which would take care of the situation in the future. They also
passed a rule that no student could keep a riding animal, or dog, or gun, or other firearms.”
William Hamilton Nelson, A Burning Torch and a Flaming Fire: The Story of Centenary College
of Louisiana (Nashville, TN: Methodist Publishing House, 1931), p. 81.
https://archive.org/details/burningtorchandf00nels/page/n7/mode/2up?q=gun

Laws for the Government of the College of Louisiana, 1839
“CHAPTER IX.
OF PUNISHMENTS, AND OF MISDEMEANORS AND OTHER OFFENCES…
   …Art. 7. Dueling,[1] or any concern in promoting or abetting it, shall in all cases be punished
by expulsion.
   Art. 8. No student shall be permitted to carry a dirk, sword cane, or any deadly concealed
weapon whatsoever.
   Art. 9. No student shall keep, for his use or pleasure, any horse or other riding animal, or dog,
or gun or other fire arms; nor shall any student ride, or go beyond such limits as the Faculty shall
designate, for any purpose, except by permission of some member of the Faculty…”
https://firearmslaw.duke.edu/assets/1839,-la,-laws-for-the-government-of-the-college-of-
louisiana,-ch.-9,-arts.-7-9.pdf

DICKINSON COLLEGE, PENNSYLVANIA, 1830
The statutes of Dickinson College, as revised and adopted by the Board of Trustees, April 16,
1830, 22-23.
Chapter VI. Of the deportment of the students, of misdemeanors and their punishment
Section 1. . . . 12.–If any student shall keep for his use or pleasure any riding beast, dog, gun, fire
arms or ammunition, sword-dirk, sword-cane, or any deadly weapon whatever, or shall ride out
unless the Principal may think his health or any special circumstance may require it, and grant
him permission to do so, he shall be publicly admonished, suspended, or dismissed.

MISSISSIPPI PRESBYTERY, OAKLAND COLLEGE, MISSISSIPPI, 1831
Constitution & Laws of the Institution of Learning Under the Care of the Mississippi Presbytery,
Oakland College (Miss.), at 10 (1831)
Chapter XI. Of Misdemeanors, Offences and Punishments.
Sec. 1. Neglect of study-interrupting the studies of others-profaneness-playing at games of cards
or chance-duelling, or aiding or abetting it-wearing or carrying a dirk or other deadly weapon-
intemperance in any degree-keeping company with persons of known immoral character-

                                                  13
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 166 of 174
                                         PageID.566


resorting to places of expensive amusement, & every other species of immoral conduct, of which
the Faculty are the sole judges, are offences; and shall be punished as hereinafter directed.

COLBY COLLEGE, MAINE (founded as Waterville College), 1832
6. No student shall keep firearms, or any deadly weapon whatever. He shall bring no gunpowder
upon the College premises. . . .
Waterville College, Laws of Waterville College, Maine (Hallowell, ME: Glazier, Masters, &
Co., 1832), 11.
https://www.google.com/books/edition/Laws_of_Waterville_College_Maine/n0wMAQAAMAA
J?hl=en&gbpv=1&dq=Waterville+College,+Laws+of+Waterville+College,+Maine+(Hallowell,
+ME:+Glazier,+Masters,+%26+Co.,+1832),&pg=PA1&printsec=frontcover

ALLEGHENY COLLEGE, PENNSYLVANIA, 1834
Ernest Ashton Smith, Allegheny—A Century of Education, 1815-1915 (Meadville, PA: The
Allegheny College History Company, 1916), p. 401.
Adopted 1834 (printed in the Annual Catalog starting in 1840):
“Art. III, Sect. 12. No student shall bring or cause to be brought gunpowder, firearms, or any
deadly weapon within the College premises; nor shall any one engage in any species of hunting
during the college term without permission from the Faculty. No student shall be allowed to
smoke tobacco in any form within the college enclosures.”
https://books.googleusercontent.com/books/content?req=AKW5QadC9Mb3YgQwvgNd85fNiTq
zRMDGkW3x5vKIB_nq46GrUPRMPxXftjaeLXwOnTyc-
_6vho0bcCaH72dIaYTrbfImGjLWJgBADFHIx9gY183akY30Htm0gbgWT6xc_BcSzkySAH5K
_62VpZkkeWFrsO_aojPtnK9yoGcwFSgGNhwPzBoROwVcuFammCUD3ZkBX1aJQlnflioVWf
6eMecUpfXD6EcvC2LYAS7pB76rUDsZAgEowZjXIf3TF2OKbaSIxUas8GdV2R3gN51Vcmw
22hBw2MCYBg
Bylaws of 1841 barred “possession of guns or tobacco on College premises.”
Jonathan E. Helmreich, All Through the Years: A History of Allegheny College (Meadville, PA:
Allegheny College, 2005), 64.

WAKE FOREST UNIVERSITY, NORTH CAROLINA, 1834
Students “not to keep any dirk, sword-cane, fire arms or any other weapon of defense.”
George Washington Paschal, History of Wake Forest College (Wake Forest, NC: Wake Forest
College, 1935), p. 136.
https://wakespace.lib.wfu.edu/bitstream/handle/10339/33244/wf_history_v1.pdf

LAFAYETTE COLLEGE, PENNSYLVANIA, 1837
“Section 14. No student shall wear about his person any pistol, dirk, stiletto, or other dangerous
weapon.”
David B. Skillman, The Biography of a College: Being the History of the First Century of the
Life of Lafayette College (Easton, PA: Lafayette College, 1932), p. 130.

LaGRANGE COLLEGE, ALABAMA, 1837
Laws of the College, Chap. X, Sec. 7.
“No student shall bring or cause to be brought into College, or on any occasion, keep in his
room, any spiritous or fermented liquors, nor any fire-arms, or ammunition of any kind; nor a

                                                14
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 167 of 174
                                         PageID.567


sword, dirk, sword-cane, or any deadly weapon whatever; upon penalty of such censure or
punishment as the Faculty may judge offence to deserve.”
“Circular Letter of the Faculty of La Grange College” (Tuscumbia), North Alabamian, May 5,
1837. Stated purpose of this provision, “afford all the protection against intemperance and
bloodshed which can be had.”
https://www.newspapers.com/image/308403735/?terms=%22the%20faculty%22&match=1

UNIVERSITY OF NASHVILLE, TENNESSEE, 1837
Law of the University of Nashville for the moral conduct of the students, in American Annals of
Education and Instruction for the Year 1837, at 185 (1837)
No student shall bring, or cause to be brought into College, or, on any occasion, keep in his
room, any spirituous or fermented liquors; nor any fire-arms or ammunition of any kind; nor a
sword, dirk, sword-cane or any deadly weapon whatever, upon penalty of such censure or
punishment as the Faculty may judge the offence to deserve.

GEORGETOWN UNIVERSITY, WASHINGTON, D.C., 1839
“A school rule forbade students from possessing any sort of weapon, including ‘pistols, Guns,
swords, daggers, &c.’”
Robert E. Curran, A History of Georgetown University, 3 vols. (Washington, D.C.: Georgetown
University Press, 2010), I, p. 195.

RANDOLPH-MACON COLLEGE, VIRGINIA (1839)
“no prep. schollar [sic] be permitted to possess or use any fire arms, dirks or other dangerous
weapons, but that the Principal be allowed on Saturday afternoon at his discretion to give
permission to them to use guns in hunting.”
James Edward Scanlon, Randolph-Macon College: A Southern History (Charlottesville, VA:
University Press of Virginia, 1983), p. 63-64.

KEMPER COLLEGE, MISSOURI, 1840
The Laws of Kemper College, Near St. Louis, Missouri 9 (1840)
Chapter VIII. Miscellaneous. . . .
6. No Student shall keep arms of any sort, or keep or fire powder on the College premises.

MARIETTA COLLEGE, OHIO, 1840
1840, Laws of Marietta College, ch. 7, no. 15 (G. W. Tyler & Co.).
“CHAPTER VII
CRIMES AND MISDEMEANORS…
   …15. No student shall keep any kind of fire arms, or gunpowder, nor shall he fire or cause to
be fired any gunpowder in or near the College buildings or College yards…”
Laws of Marietta College, and a Catalogue of the Library (Marietta, OH: G. W. Tyler & Co.,
1840), 10. Chapter 7—Crimes and Misdemeanors, no. 15. Undated.
https://firearmslaw.duke.edu/assets/1840,-oh,-laws-of-marietta-college,-ch.-7,-no.-15.pdf

DAVIDSON COLLEGE, NORTH CAROLINA, 1845-46
APPENDIX IX, OLD RULES, from the second catalog issued, that for 1845-46. . . .



                                                15
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24     Page 168 of 174
                                         PageID.568


4. No Student shall play at cards, dice, or any other immoral game; or buy, keep, or use in his
room or elsewhere any intoxicating liquors; or keep a dirk, pistol, or any deadly weapon; or visit
the tippling houses, or other places of ill-fame; or use profane language; or be guilty of any
grossly immoral conduct whatever, under severe penalties.
Cornelia Rebekah Shaw, Davidson College (NY: Fleming H. Revell Press, 1923), p. 300.
https://babel.hathitrust.org/cgi/pt?id=njp.32101068568573&view=1up&seq=360&q1=pistol

DENISON UNIVERSITY, OHIO, 1847
Laws of Granville College [renamed Denison University in 1850s], 1847
“6—No student shall play at cards or other games of hazard; keep in his room or use intoxicating
liquors of any kind, except when prescribed by a physician; associate with persons of known
immoral character; loiter around taverns or other places of public resort in the village; use
profane or obscene language; keep in his room fire-arms or other deadly weapons; or be absent
from his room without permission after the evening bell for study hours.”
Francis W. Shepherdson, Denison University: 1831-1931 (Granville, OH: Denison University,
1931), p. 55; https://babel.hathitrust.org/cgi/pt?id=mdp.39015058689640&seq=69&q1=fire

EMORY UNIVERSITY, GEORGIA, 1847
“The possession of firearms was strictly forbidden. . . .”
Henry M. Bullock, A History of Emory University (Atlanta, GA: Cherokee Publishing Co.,
1972), p. 134.

DARTMOUTH COLLEGE, NEW HAMPSHIRE, 1849
Laws of Dartmouth College
Chapter Six: Crimes and Misdemeanors
IV. No student shall purchase, or have in his room, any spirituous or vinous liquor, or play at
cards, dice, or any cards, dice, or any unlawful game, or keep fire-arms or gun-powder in his
room arms, unlawful combinations without permission, or fire; gun-powder in or near the
College premises, or meet with any forbidden club or society, or join in any combination or
agreement for unlawful purposes, or commit any vexatious or injurious act upon the person or
property of a fellow student. Violations of this law shall be punished at the discretion of the
Faculty. [A version of these Laws first appeared in 1819.]
Laws of Dartmouth College (Hanover, NH: Dartmouth Press, 1849), p. 11;
https://babel.hathitrust.org/cgi/pt?id=umn.31951002082852o&seq=7&q1=fire

BELOIT COLLEGE, WISCONSIN, 1850
1850* Laws of Beloit College, ch. 4, § 2.
“…Therefore, no student shall be allowed to have in his room, spirituous, vinous or malt liquor;
to play at cards, dice, or any similar game; to use or keep upon the College premises, fire-arms,
or gunpowder; to attend assemblies for dancing or theatrical amusements; or to give or attend
convivial entertainments, either in students’ rooms or in public houses….”
The Laws of Beloit College (s.l.: s.n., 1850*), 4. Chapter 4—Of the Deportment of the Students,
§ 2.
*The publication date is not on the monograph itself, and sources differ. Some give the vague
date of 185? (i.e., eighteen-fifty-“something”); others plainly state 1850.



                                                16
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 169 of 174
                                          PageID.569


ILLINOIS COLLEGE, ILLINOIS, 1850
Laws of Illinois College, 1850, in Transactions of the Illinois State Historical Society for the
Year 1906, at 245. 1850
Chapter XII. Of Crimes and Immoralities.
Sec. 5. No student shall carry deadly weapons upon his person, on penalty of admonition,
dismission or expulsion, according to the aggravation of the offense.

GETTYSBURG COLLEGE, PENNSYLVANIA [formerly Pennsylvania College], 1839, 1852
Regulations of Pennsylvania College, 1839
“No Student shall keep or fire any gunpowder in or near the College premises; nor play at any
unlawful game, or at any time game for a wager.”
https://firearmslaw.duke.edu/assets/1839,-pa,-regulations-of-pennsylvania-college,-p.-6,-para.-
5.pdf

“Any student was courting trouble by. . .keeping a pistol in his room (1852). . . .”
Charles H. Glatfelter, A Salutary Influence: Gettysburg College, 1832-1985, 2 vols. (Gettysburg,
PA: Gettysburg College, 1987), I, p. 153.
https://gettysburg.contentdm.oclc.org/digital/collection/GBNP01/id/64513/rec/1

NEW YORK CONFERENCE SEMINARY, CHARLOTTEVILLE, N.Y. 1851
1851, Catalogue of the Officers and Students in the New York Conference Seminary, “By-Laws,”
no. 11 (Gray & Sprague).
“By-Laws...
   ...11. No student shall be permitted to carry around him fire arms or other deadly weapons, nor
to have or use gunpowder in or about the Seminary…”
Catalogue of the Officers and Students in the New York Conference Seminary, Charlotteville,
Schoharie Co., N.Y., During the First Year 1850-1 (Albany, NY: Gray & Sprague, 1851), 22.
“By-Laws,” Number 11.
https://firearmslaw.duke.edu/assets/1851,-ny,-catalogue-of-the-officers-and-students-in-the-new-
york-conference-seminary,-by-laws,-no.-11.pdf

TUFTS UNIVERSITY, MASSACHUSETTS, 1852
“The first incident requiring faculty disciplinary action occurred shortly after the College
opened, when a freshman allegedly attempted ‘to use a pistol upon a room-mate.’. . .The culprit
was suspended for a year for ‘intemperance, falsehood, disobedience, and for having dangerous
weapons in the college and for using them.’”
Russell E. Miller, Light on the Hill: A History of Tufts College 1852-1952 (Boston, MA: Beacon
Press, 1966), p. 397.

WESTMINSTER COLLEGE, MISSOURI, 1852
“q. No student is allowed to have or carry weapons, sword canes, pistols, and other than pen
knives; and the sending or accepting of a challenge subjects to the highest penalty.”
M.M. Fisher, History of Westminster College, 1851-1903 (Columbia, MO: E.W. Stephens, 1903),
p. 85; https://tile.loc.gov/storage-
services/public/gdcmassbookdig/historyofwestmin00fish/historyofwestmin00fish.pdf



                                                 17
Case 1:24-cv-00496-JAO-WRP            Document 35-3        Filed 12/23/24     Page 170 of 174
                                        PageID.570


FRANKLIN AND MARSHALL COLLEGE, PENNSYLVANIA, 1853
From earliest printed copy of the College Laws:
“No student shall keep for his use or pleasure any horse, dog, gun, or fire-arms and ammunition
of any description, or any dirk, sword, or any other deadly weapon.”
Joseph Henry Dubbs, History of Franklin and Marshall College (Lancaster, PA: Franklin and
Marshall College, 1903), p. 229.

JEFFERSON COUNTY INSTITUTE, WATERTOWN, N.Y. 1853
1853, Catalogue of the Officers and Students of the Jefferson County Institute, “Abstract of By-
Laws,” no. 12 (Clark & Fayel).
“ABSTRACT OF BY-LAWS…
   …12. All abusive and insulting conduct towards a fellow student or other person—visiting
groceries, taverns or other places for the purpose of entertainment—using immodest or profane
language—playing cards or other games of chance—the use of intoxicating liquors— keeping or
using fire-arms or gun-powder in the Institute buildings, and all other practices calculated to
injure the morals or disturb the good order of the School, are forbidden…”
Catalogue of the Officers and Students of the Jefferson County Institute for the Year Ending
December, 1853 (Watertown, NY: Clark & Fayel, 1853), 27. “Abstract of By-Laws,” no. 12.
Undated.
https://firearmslaw.duke.edu/assets/1853,-ny,-watertown,-catalogue-of-the-officers-and-students-
of-the-jefferson-county-institute,-abstract-of-by-laws,-no.-12.pdf

AMHERST COLLEGE, MASSACHUSETTS, 1855
1855, The Laws and Regulations of Amherst College, ch. 9, § 7.
“CHAPTER IX.
DAMAGES AND REPAIRS.
VII. In no case shall a student bring into the College premises, any cannon, musket, pistol, or
other species of fire-arms, or any gunpowder in any mode of preparation; and in no case, in term
time, shall any student be concerned in the discharge of any fire-arms or fire-works in the town
of Amherst.”
https://firearmslaw.duke.edu/wp-content/uploads/2023/08/1855-Amherst.pdf

NORTH-WESTERN CHRISTIAN UNIVERSITY, INDIANAPOLIS, IN, 1857
1857, Charter and By-Laws of the North-Western Christian University, “An Ordinance for the
Government of the University,” § 20, no. 5 (Indianapolis Journal Company).
“AN ORDINANCE FOR THE GOVERNMENT OF THE UNIVERSITY…
   …Sec. 20. To remain a Student, in connection with the University, every Student is required
to observe the following regulations…
   …5th. That the Student do not bring, or use, upon said premises any fire arms, dirk, bowie
knife, or any other kind of deadly weapon.”
Charter and By-Laws of the North-Western Christian University, and an Ordinance for the
Government of the Institution (Indianapolis, IN: Indianapolis Journal Company, 1857), 33. An
Ordinance for the Government of the University, § 20, no. 5. Undated.
https://firearmslaw.duke.edu/assets/1857,-in,-charter-and-by-laws-of-the-north-western-
christian-university,-an-ordinance-for-the-government-of-the-university,--20,-no.-5.pdf



                                               18
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24      Page 171 of 174
                                         PageID.571


LaGRANGE SYNODICAL COLLEGE, TENNESSEE, 1859
1859, Code of Laws for the Government of La Grange Synodical College, ch. 10, §§ 2-9.
“CHAPTER X.
DISCIPLINE.
SEC. 1. The penalties which may be imposed are, admonition, reprimand, private dismission,
suspension, and expulsion.
SEC. 2. No student shall be condemned without an opportunity for explanation of his conduct.
SEC. 3. Any student charged and proved guilty of carrying about his person, or keeping in his
possession, fire-arms, or any deadly weapon, shall be suspended.
SEC. 4. A student using, or threatening to use, a weapon in a quarrel, shall be expelled.
SEC. 5. A student sending, or accepting, or bearing a challenge in a duel, shall be expelled.
SEC. 6. A student guilty of a flagrant offence against morality shall be expelled.
SEC. 7. No student shall be permitted to keep a pistol or gun, or other deadly weapon, at his
room, under any circumstances.
SEC. 8. Students may not use a gun in hours of recreation, for hunting, without permission from
the President.
SEC. 9. All guns owned by students (save those who reside with their parents) must be
deposited with the President, and kept under his control…”
https://firearmslaw.duke.edu/wp-content/uploads/2023/08/1859-La-Grange-Synodical-
College.pdf

OBERLIN COLLEGE, OHIO, 1859
Oberlin College, Laws and Regulations of Oberlin College, 11th ed. (Oberlin, OH: Shankland
and Harmon, 1859), 11.
“22. No student when in Town, shall use firearms, or burn gun-powder in any way, without
permission from a member of the Faculty.”
https://books.googleusercontent.com/books/content?req=AKW5QadX44K_x7mxEEi-
hFccZ5kz0v4vq8C6a5ZIzWZ-r9gkALZCLRu9rB7Pc5I4YrgE4yIty6O2ip3Kh-
vHrpJokW30GQ_fsxTdiCzB1T_82mumGZ3Vs-
H7BaULGWUaXEhj2JSiQlMpKnLPGbw0a5wD5F3t3BZDPFURlMhXefoeUddg0EFoROy8Y6
BNimrEHd5NnR4hGFzsXInGCnZ5OMl_Ak3io4YoUdP1TSKkvL8crdkMV6dRduIERpTRvXu
M3LPnq-DqGO17Bxk7Okln1Ihr3jAfaTdt3agB3IZ-bnpJT2AJu8Mayjg

ALBION COLLEGE AND WESLEYAN SEMINARY, MICHIGAN, 1860
Eighteenth Annual Catalogue of the Officers and Students of the Albion Female College, and
Wesleyan Seminary (Michigan) 32 (1860-1861). 1860
PROHIBITIONS. . . . Gunpowder, firearms, or deadly weapons of any kind on the premises.

McKENZIE COLLEGE, TEXAS, 1860
"Laws of McKenzie College," in Education in Texas: Source Materials, comp. Fredrick Eby,
University of Texas Bulletin, Education Series No. 2 (April 25, 1918): 391-93.
“VIII. The following are among the things forbidden by the laws of the College:. . . .
7. Keeping gunpowder, firearms, or deadly weapons of any kind, about the person, or in the
room. . . .
5. A student, on entrance. . .will be required to deliver up to the President all fire-arms, or
weapons of any kind, in his possession, to be returned at the close of the College year.”

                                                19
Case 1:24-cv-00496-JAO-WRP             Document 35-3       Filed 12/23/24      Page 172 of 174
                                         PageID.572


Annual Catalogue of the Students and Faculty of McKenzie College, 1860-61.

CENTRE COLLEGE, KENTUCKY, 1861
Ch. VI, Misdemeanors
“4. No student shall be guilty of insulting or striking a fellow student, nor of keeping in his
possession any pistol, sword-cane, or other deadly weapon, And if he shall draw, or attempt to
use, such deadly weapon upon a fellow student, or wear it for this purpose, he shall be forthwith
dismissed, and not restored without a vote of the Board of Trustees.”
Laws of the Centre College of Kentucky, Located at Danville (Frankfort, KY: A.G. Hodges &
Co., 1861), p. 5.
https://sc.centre.edu/sc/digital/pdf/laws1861.pdf

GRINNELL COLLEGE (FOUNDED AS IOWA COLLEGE), IOWA, 1865
“Of course dancing, cards, billiards, intoxicants, gambling, and tobacco were equally taboo at
Grinnell, and these indulgences were linked with ‘profanity, obscenity and lewdness’ in the
college rules, and with ‘keeping gunpowder, fire-arms and other dangerous weapons.’”
John Scholte Nollen, Grinnell College (Cedar Rapids, IA: The State Historical Society of Iowa,
1953) [ca. 1865], p. 72.

DUKE UNIVERSITY [formerly Trinity College], N.C., 1869
1869, Catalogue of Trinity College, “Discipline,” no. 4 (Episcopal Methodist Office).
“Discipline.
   We have laws and regulations to which all are required to yield obedience; but we do not think
that students should be left to themselves and the letter of the law. We endeavor by all proper
means, personal and public, religious and social, to make every one a successful and useful man.
No parent need suppose that his son is deprived of warnings, admonitions and affectionate
advice; we endeavor to cultivate as well as educate, and strive by all proper means to avoid the
evils so common to college life. So soon as we are convinced that any student will not do well,
or that he will deteriorate by remaining, we cause him to be taken home.
   The following general laws must be observed:
1. Every applicant must enter College as soon as possible after he arrives, and must consult the
President before making any engagements for board.
2. All moneys must be deposited with the President, and all expenses should be paid through
him.
3. All students under age should bring a letter from parent or guardian, and all others should
bring a letter of introduction or a certificate of character.
4. No student is permitted to have in his possession at College, any pistol, gun, or other weapon,
or to play at any game of chance, to drink any intoxicating liquors, or to use profane or indecent
language.
5. Every student must faithfully observe the general routine regulations, and must attend Sabbath
school and preaching in the College chapel on the Sabbath.”
* Trinity College is modern day Duke University. In 1869, it was located in the town of Trinity,
NC and known as Trinity College.
Catalogue of Trinity College, North Carolina, 1868-69 (Baltimore, MD: Episcopal Methodist
Office, 1869), 18. “Discipline,” no. 4.



                                               20
Case 1:24-cv-00496-JAO-WRP              Document 35-3        Filed 12/23/24      Page 173 of 174
                                          PageID.573


https://firearmslaw.duke.edu/assets/1869,-nc,-trinity,-catalogue-of-trinity-college,-discipline,-no.-
4.pdf

HOWARD COLLEGE, ALABAMA, 1870
Student dismissed from the college for “carrying firearms, drawing a pistol on one of the
students, and using profane language.” Dated Nov. 1, 1870
Mitchell B. Garrett, “Sixty Years of Howard College,” 1842-1902, Howard College Bulletin,
LXXXV (October 1927): 81.
https://archive.org/details/sixtyyearsofhowa00garr/page/n7/mode/2up

VANDERBILT UNIVERSITY, TENNESSEE, 1874
Rules of First Faculty
“4. No student, during his connection with the University shall carry about his person, anywhere,
any pistol, dirk, bowie knife or other deadly weapons.”
Edwin Mims, History of Vanderbilt University (Nashville, TN: Vanderbilt University Press,
1946), p. 126.

WILLIAMS COLLEGE, MASSACHUSETTS, 1878
1878, Laws of Williams College, ch. 3, § 3.
“No student shall have or keep any gunpowder or fire-arms in his room, or in any building or
other place on College grounds; nor shall he at any time use gunpowder or fire-arms within half
a mile of the College grounds.”
Laws of Williams College, Authorized by the Trustees at Their Meeting in July, 1878 (North
Adams, MA: James T. Robinson & Son, 1878), 13. Chapter 3—Of Deportment and Discipline, §
3.
https://firearmslaw.duke.edu/wp-content/uploads/2023/08/1878-Williams-College.pdf

AGRICULTURAL & MECHANICAL COLLEGE OF KENTUCKY, 1882
1882, Regulations of the Agricultural & Mechanical College of Kentucky, art. 7, no. 156 (Major,
Johnston & Barrett).
“ARTICLE VII.
Discipline and Police…
…Uniform, Arms and Accoutrements…
   …156. Students are forbidden to have in their possession any description of fire-arms or other
deadly weapons not issued to them by proper authority.”
Regulations of the Agricultural & Mechanical College of Kentucky: Adopted June 30, 1883
(Frankfort, KY: Major, Johnston & Barrett, 1882), 37. Article 7—Discipline and Police, no. 156.
Adopted June 30, 1883.
https://firearmslaw.duke.edu/assets/1882,-ky,-regulations-of-the-agricultural-&-mechanical-
college-of-kentucky,-art.-7,-no.-156.pdf

AGRICULTURAL AND MECHANICAL COLLEGE FOR THE COLORED RACE, N.C.,
1896
1896, By-Laws Ordained by the Board of Trustees of the Agricultural and Mechanical College
for the Colored Race, Admission and Deportment of Students, no. 14 (Reece & Elam).
“Admission and Deportment of Students…

                                                 21
Case 1:24-cv-00496-JAO-WRP             Document 35-3        Filed 12/23/24     Page 174 of 174
                                         PageID.574


   …14. All games of hazard, wagers and betting are strictly forbidden within College limits.
Students guilty of intoxication while connected with the College shall be dismissed. Students
guilty of profane or obscene language shall be punished in such manner as the faculty may see
proper. No student will be allowed to carry or keep in possession a deadly weapon while
attending the College. Use of intoxicants is strictly forbidden, under pain of severe punishment.”
By-Laws Ordained by the Board of Trustees of the Agricultural and Mechanical College for the
Colored Race: Rules and Regulations Made by the Trustees for the Organization and
Government of the Agricultural and Mechanical College for the Colored Race (Greensboro, NC:
Reece & Elam, 1896), 16. Admission and Deportment of Students, no. 14. Undated.
https://firearmslaw.duke.edu/assets/1896,-nc,-by-laws-ordained-by-the-board-of-trustees-of-the-
agricultural-and-mechanical-college-for-the-colored-race,-admission-and-deportment-of-
students,-no.-14.pdf

SOURCE (unless otherwise noted): https://firearmslaw.duke.edu/repository/search-the-
repository/




                                                22
